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    UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF
                             TEXAS, DALLAS DIVISION
In Re: Highland Capital Management, L.P § Case No. 19-34054-SGJ11
Charitable DAF Fund, L.P et al
                          Appellant       §
vs.                                       §         21-03067
Highland Capital Management, L.P          §

                            Appellee              §           3:23-CV-01503-B
  [167] Order granting Defendant Highland Capital Management, L.P.'s Renewed motion to dismiss
adversary proceeding (related document # 122) Entered on 6/25/2023.

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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                  §
 CHARITABLE DAF FUND, L.P., AND CLO
                                                  §
 HOLDCO LTD.,
                                                  §
                                                  §
                                    Plaintiff,
                                                  § Case No. 3:21-cv-00842-B
                                                  §
 vs.
                                                  §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                  §
 HIGHLAND HCF ADVISOR, LTD., AND
                                                  §
 HIGHLAND CLO FUNDING, LTD.
                                                  §
                                                  §
                                    Defendants.

        DEBTOR’S REPLY IN SUPPORT OF MOTION TO DISMISS COMPLAINT




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        Highland Capital Management, L.P., a defendant in the above-captioned case (the “Debtor”

or “Highland”), submits this reply (the “Reply”) in support of the Debtor’s Motion to Dismiss the

Original Complaint (the “Motion”).

                            I.       PRELIMINARY STATEMENT

        1.       In their response [Docket No. 38] (the “Response”), Plaintiffs attempt to cure the

deficiencies in their Complaint by mischaracterizing the facts of the Prior Proceeding and

misleading the Court as to the relevant issues. Plaintiffs contend that their Claims are not barred

by res judicata or judicial estoppel because (i) the Settlement does not “release” the Claims, and

(ii) Plaintiffs were not “successful” and the objections were not decided on the “merits.” That the

Settlement does not “release” the Debtor from liability has no bearing on whether the Claims arise

from the same core facts as those in the Prior Proceeding. That Plaintiffs did not succeed on their

objections has no relevance to whether Plaintiffs’ Claims are inconsistent with positions taken by

Plaintiffs during the Settlement hearing. Plaintiffs’ assertion that their state fiduciary claim can be

predicated on the Advisers Act fails because (i) there is no duty to CLOH; (ii) a private right of

action under the Advisers Act does not exist, and (iii) Plaintiffs fail to allege any state law claim.

Plaintiffs’ claim for breach of the Members Agreement fails because the Agreement and

Settlement Order, by their plain terms, authorize the Transfer of HCLOF assets. Plaintiffs’ new

theory of their breach of contract claim that the Settlement violated the “good faith” clause of the

Agreement, and constituted a “sale” to the Debtor because HCMLPI did not “pay” for the HCLOF

interests is frivolous. In support of their negligence and tortious interference claims, Plaintiffs

recite the elements thereof, while disregarding the Debtor’s arguments for dismissal. In support

of their RICO claim, Plaintiffs restate the same conclusory allegations that are insufficient to

support the heightened pleading standard under RICO. To the extent their RICO claim is premised



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on securities laws, any such claim fails because RICO forecloses securities fraud as a “predicate”

act.

             II.       PLAINTIFFS’ CLAIMS ARE BARRED BY RES JUDICATA

A.      Plaintiffs’ Argument that Settlement Does Not “Release” Claims Is Without Merit

        2.         Plaintiffs argue that their Claims are not barred because the Settlement Order does

not “release” Plaintiffs’ Claims. Response at 6-7. Plaintiffs’ citation to Applewood Chair Co. v.

Three Rivers Planning & Dev. Dist. (In re Applewood Chair Co.), 203 F.3d 914 (5th Cir. 2000) is

misguided. There, the court addressed whether a plan discharged creditors’ claims against

guarantors under section 524 of the Bankruptcy Code. Here, Plaintiffs do not seek to hold

guarantors liable for any of the Debtor’s debt, and section 524 of the Bankruptcy Code is not at

issue. The relevant question is whether all claims against the debtor Highland were fully and

finally resolved, and as set forth below and in the Motion, they were.

B.      The Settlement Is a Final Order That Resolved the Claims and Issues on the Merits

        3.         Plaintiffs’ contention that the Settlement Order “overrules objections en masse

without addressing the merits thereof” is simply false. See Response at 7. The Bankruptcy Court

overruled the objections after Plaintiffs had the opportunity to litigate their Claims and withdrew

the objection. Plaintiffs’ cite to Applewood is inapplicable for the reasons discussed supra.

Plaintiffs’ citation to Risby v. United States, CIV.A.3:04-CV-1414-H, 2006 WL 770428 (N.D.

Tex. Mar. 7, 2006) is misplaced. The court found that the government failed to establish that a

claim for the return of property was barred by res judicata where it “has not demonstrated the

finality” of the order at issue, and where the “procedural posture” of such an order was “not clear.”

Id. at *5. The court found that if the issue was “still pending on remand,” or had been previously

held as “moot,” the judgment “would not be final.” Id. at *6. Here, unlike in Risby, the Settlement

Order is clear and unambiguous. It is a final order entered after an evidentiary hearing on the

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proposed Settlement in which CLOH objected and fully participated. The order is not pending

before a court on remand, nor were the issues at hand ever deemed “moot.”

        4.       Plaintiffs contend that because CLOH’s withdrawal of its objection was not “with

prejudice,” it is not barred by res judicata. Response at 8. Plaintiffs misrepresent the facts.

Counsel for CLOH voluntarily withdrew its objection on the record after extensive litigation on

the issue. Plaintiffs’ citations to Chalmers v. Gavin, No. 3:01–CV–528–H, 2002 WL 511512, at

* 3 (N.D. Tex. Apr. 2, 2002) and Reynolds v. Tombone, No. 3:96-CV-3330-BC, 1999 WL 439088,

at *2 (N.D. Tex. June 24, 1999) are inapplicable. In Chalmers, the court held that res judicata did

not bar plaintiff from litigating his state law claims brought in a prior civil rights action where the

court “explicitly dismissed” the claim “without prejudice to [p]laintiff refiling his complaint after

the Texas courts had been given an opportunity to address the state law issues raised in the

complaint.” 2002 WL 511512, at * 3. In Reynolds, the court held that res judicata did not bar an

indigent plaintiff’s motion for return of property where it was “not adjudicated on the merits” and

was dismissed without prejudice pending compliance with the in forma pauperis provisions

pertaining to prisoner litigation.” Id. at *12 and n.5.

        5.       Plaintiffs’ contention that the bankruptcy court generally has “discretion” to

“overrule an objection,” Response at 8, is irrelevant, as are the cases Plaintiffs rely on in support

thereof. They involve direct appeals of 9019 settlements, where the reviewing court simply notes

the standard by which the bankruptcy court generally reviews such settlements. See Official Comm.

of Unsecured Creditors v. Moeller (In re Age Ref., Inc.), 801 F.3d 530, 541 (5th Cir. 2015)

(reviewing direct appeal of a 9019 settlement for abuse of discretion, noting that “[i]n evaluating

a Rule 9019 settlement, a bankruptcy court need not ‘conduct a mini-trial to determine the probable

outcome of any claims waived in the settlement.’ [] The bankruptcy court must ‘apprise [itself] of



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the relevant facts and law so that [it] can make an informed and intelligent decision.’”. 1 None of

these cases are relevant to Plaintiffs’ argument that their Claims are not barred by res judicata.

        6.       When evaluating the Settlement, the Bankruptcy Court determined that the

Settlement was fair and reasonable and in the best interest of the estate. The Bankruptcy Court

was presented with evidence regarding the merits of the Claims asserted by HarbourVest and the

value of the assets being conveyed to the estate. At no point did Plaintiffs raise the contention that

if the Debtor performed pursuant to the Settlement, they would sue the Debtor for its conduct,

giving rise to the possibility of a large administrative claim. To the extent there were any valid

claims (there are not), the Bankruptcy Court may have made a different determination with respect

to the Settlement. Plaintiffs sat on their hands until months after the Settlement Order was entered

and now attempt to retroactively gut the value of the Settlement. This gamesmanship is improper

and is foreclosed by res judicata.

C.      The Bankruptcy Court Possessed Jurisdiction to Hear the Claims

        7.       Plaintiffs contend without any legal support that the Bankruptcy Court lacked the

power under 28 U.S.C. § 157(d) to hear the Claims. See Response at 9-10. Plaintiffs request that

if the Court finds that, in accordance with the Debtor’s Motion for an Order to Enforce the Order

of Reference [Docket No. 22], “mandatory withdrawal applies, then it cannot find that the

bankruptcy court’s [] final judgment was rendered on Plaintiffs’ causes of action and had

jurisdiction to do so.” Id. Plaintiffs conflate two separate issues pending before this Court: (i)

whether the Complaint should be mandatorily withdrawn from this Court pursuant to 28 U.S.C. §

157(a), and (ii) whether the Claims in the Complaint are barred by res judicata. The concept of




1
  See also In re Alfonso, No. 16-51448-RBK, 2019 WL 4254329 (Bankr. W.D. Tex. Sept. 6, 2019) (same); Conn. Gen.
Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster Mortg. Corp.), 68 F.3d 914, 917 (5th Cir. 1995) (same).


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mandatory withdrawal has nothing to do with this Motion, and Plaintiffs’ arguments with respect

to same should be summarily rejected by the Court. 2

D.      The Claims Arise from the Same Common Nucleus of Operative Facts as Those
        Raised in the Prior Proceeding

        8.       Plaintiffs argue that this lawsuit and the matters adjudicated in the motion to

approve the Settlement do not arise from the same nucleus of operative facts. Plaintiffs assert that

a “different legal duty is implicated” in the current action than in the Prior Proceeding, Response

at 10, but offer no support for this contention other than one case, Travelers Ins. Co. v. St. Jude

Hosp. of Kenner, Louisiana, Inc., 37 F.3d 193, 196 (5th Cir. 1994), which is inapposite. Travelers

dealt with Louisiana’s “entity theory of partnership,” and whether a creditor’s claim against a

partner for his share of a judgment against the partnership arises out of the same nucleus of

operative facts as the partnership’s debt. Id. at 196. In holding that that res judicata did not bar an

action to collect against the partner, the court reasoned that the claim “does not rest on an identical

obligation” where the creditor was not pursuing a new theory of recovery or seeking to “relitigate”

any issues raised in the prior proceeding, but instead, “sought merely to collect a pre-existing

judgment in its favor.” Id. Here, by contrast, Plaintiffs do not seek to bring claims against the

Debtor to collect on a pre-existing judgment. Plaintiffs seek to relitigate the same Claims and

issues raised in the Prior Proceeding, including whether Plaintiffs held a valid right of first refusal,

a specious argument they asserted and then withdrew after they were shown it was baseless.

        9.       Plaintiffs also assert a due process argument that is nothing short of frivolous. They

contend that they “only” had “22 days” to bring the Claims and that this is a violation of their “due



  2
    The Court should first decide the Debtor’s Motion for an Order to Enforce the Order of Reference because if it
  grants that motion, this Motion will properly be before the Bankruptcy Court. See Payne v. Doe, 2017 U.S. Dist.
  LEXIS 49875, at *4-5 (E.D. Va. Mar. 31, 2017) (“[M]andatory abstention argument is addressed first [before res
  judicata] because in the event mandatory abstention is warranted, it is unnecessary to reach or decide the remaining
  issues.”)

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process rights.” Response at 11-12. The Debtor does not argue that Plaintiffs should have brought

the Claims prior to the Settlement hearing. Rather, the Debtor argues in its Motion that the Claims

arise from the same common nucleus of operative facts as those claims and issues raised during

the Prior Proceeding and are thus barred by res judicata. Motion ¶¶ 15-22. The valuation issues

asserted in the Complaint were central to the Prior Proceeding through objections, motion practice,

testimony, and extensive discovery. See id. ¶ 20; see also Complaint ¶ 34 (“HCM rationalized the

settlement value by allocating $22.5 million of the net value of the $45 million in unsecured claims

as consideration to purchase HarbourVest’s interests in HCLOF”); id. ¶ 43 (“Seery testified that

the fair market value of the HarbourVest HCLOF interests was $22.5 million”). Plaintiffs’ citation

to Benson and Ford, Inc. v. Wanda Petroleum Co., 833 F.2d 1172 (5th Cir. 1987), in support of

their due process argument provides no support. There, the court found that a party was not

prohibited from bringing an action where, in the prior suit, they did not “control” the litigation and

their interests were not “adequately” represented. Id. at 1174-75.              Unlike in Benson, Plaintiffs

fully participated in, and had control over their role in, protecting their interests throughout the

Settlement hearing where the very same matters were adjudicated. 3

        10.      Plaintiffs’ position that the “first time” they learned about the valuation of the

HLCOF interests was during the Settlement hearing is demonstrably false. The Settlement

Agreement disclosed (i) the valuation and (ii) the method of valuation. See Appx. 2, 3. Plaintiffs

were aware of the core facts underlying their current Claims throughout the Prior Proceeding and

had a full and fair opportunity to investigate and litigate them. This is precisely the type of

situation contemplated by the doctrine of res judicata. In re Paige, 610 F.3d 865, 874 (5th Cir.




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  For these same reasons, Plaintiffs’ statute of limitations argument is of no moment, see Response at 11-12, and
should be summarily disregarded by the Court.


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2010); Hall v. Hodgkins, 305 Fed.Appx. 224, 229 (5th Cir. 2008). 4 The Claims and issues arise

from the same nucleus of operative facts as those raised in the Prior Proceeding and are foreclosed

by res judicata.

          III      PLAINTIFFS’ CLAIMS ARE BARRED BY JUDICIAL ESTOPPEL

         11.      Plaintiffs maintain that the Debtor “has not met its burden” of showing that the

Claims are barred by judicial estoppel because (i) there has been “no decision on the merits” on

Plaintiffs’ Claims, and (ii) “withdrawing an objection and then raising the argument later” does

not constitute an “inconsistent position” and Plaintiffs were “clearly not successful” on the

objection. Response at 13. Plaintiffs’ arguments are without merit.

         12.      Both prongs of judicial estoppel are satisfied here. In re Coastal Plains Inc., 179

F.3d 197, 206 (5th Cir. 1999). Plaintiffs’ Claims are clearly inconsistent with the positions

Plaintiffs assumed during the Prior Proceeding. During the Settlement hearing, Plaintiff CLOH

expressly stated on the record that it withdrew its objection premised on the alleged “Right of First

Refusal” under the Members Agreement after it “had an opportunity to review the reply briefing”

and based on its “analysis” of applicable law. Appx. 9 at 7:20-8:6. Plaintiffs’ current Claim for

breach of contract is premised on this same “Right of First Refusal” under the Members

Agreement. Complaint xx 92-102. Plaintiffs offer no legal basis in support of the notion that

because they “withdrew an objection” during a hearing, this somehow does not constitute an



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  Plaintiffs argue that the Court should “refuse” to take judicial notice of the Record. Response at 11, n. 2. In deciding
whether claims are barred by res judicata on a 12(b)(6) motion, it is proper for the Court to consider the Record
submitted by the Debtor. Anderson v. Wells Fargo Bank, N.A., 953 F.3d 311, 314 (5th Cir. 2020); Meyers v. Textron,
Inc., 540 F. App'x 408, 409 (5th Cir. 2013). Plaintiffs’ case cites are misplaced. Reneker v. Offill, Civil Action No.
3:08-CV-1394-D, 2010 U.S. Dist. LEXIS 38526, at *12 (N.D. Tex. Apr. 19, 2010) did not involve a 12(b)(6) motion
premised on res judicata. The court held that where facts are in dispute, “courts must limit their inquiry to the facts
stated in the complaint.” Here, for purposes of the Motion, the Debtor does not dispute the facts alleged in the
Complaint. The Debtor relies on public documents to show the four elements of res judicata. Plaintiffs’ cites to
Lovelace v. Software Spectrum, 78 F.3d 1015, 1018 (5th Cir. 1996) and Taylor v. Charter Med. Corp., 162 F.3d 827,
829-30 (5th Cir. 1998) are distinguishable for these same reasons.

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“inconsistent” position if this same issue is raised in a subsequent proceeding. This is the type of

“self-contradiction” and forum shopping that the doctrine of judicial estoppel is designed to

prevent. In re Save Our Springs (S.O.S.) All., Inc., 393 B.R. 452, 458 (Bankr. W.D. Tex. 2008)

(judicial estoppel barred party from bringing position where party “expressly” assumed

contradictory position “on the record” in a prior hearing); Hall v. GE Plastic Pac. PTE Ltd., 327

F.3d 391, 398 (5th Cir. 2003).

        13.      The Bankruptcy Court accepted Plaintiffs’ withdrawal of its objection premised on

the Members Agreement. This was a central issue in the Prior Proceeding. Appx. 6 ¶¶ 3, 6, 9-22;

Appx. 7 at 140:7-25. The Bankruptcy Court expressly stated that such a withdrawal “eliminates

one of the major arguments” related to the proposed Settlement. Appx. 9 at 8:1-10; Save Our

Springs, 393 B.R. at 460 (bankruptcy court accepted party’s position in prior proceeding where “a

significant amount of the Court’s time and attention” at the hearing “were devoted to resolving the

issues” raised by that party). The Order explicitly authorized the transfer of the HCLOF assets

because of concerns that Mr. Dondero and his entities would “go to a different court somehow to

challenge the transfer.” Appx. 9 at 156:19-20. Plaintiffs’ argument that it was not “successful” on

its objection has no bearing on judicial estoppel. In re Coastal Plains, Inc., 179 F.3d 197, 206 (5th

Cir. 1999); Hall, 327 F.3d at 398. The Claims are barred by the doctrine of judicial estoppel.

               IV.          PLAINTIFFS FAIL TO STATE CLAIMS FOR RELIEF

A.      Plaintiffs Fail to State a Claim for Breach of Fiduciary Duty

        14.      There is no duty owed to CLOH. Rule 206 of the Advisers Act creates a fiduciary

duty to an investment adviser’s “client” (i.e. a counterparty to the investment management

agreement) but not an underlying investor in the “client.” Goldstein v. SEC, 451 F.3d 873,




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881(D.C. Cir. 2006). 5 The Debtor has never had a management agreement with CLOH; CLOH is

a shell entity through which DAF invested in HCLOF. The Debtor does not “owe[] a fiduciary

duty to [CLOH] as an investor in HCLOF [i.e., the “client”].” Complaint ¶ 62.

        15.      Plaintiffs acknowledge that there is no private right of action under the Advisers

Act for breach of duty. Response at 16. As a fallback, they attempt to manufacture a breach of

fiduciary duty claim under Texas state law premised on an imagined duty imported from the

Advisers Act, but they offer no credible legal support thereof. Plaintiffs broadly contend that

“[u]nder Texas law, an investment advisor / advisee client relationship is considered a formal

fiduciary relationship because it is a principal and agent relationship.” Response at 16. This does

not address Plaintiffs’ argument that such a state-law claim can be premised specifically on the

Advisers Act. Plaintiffs’ citation to Accord Lampkin v. UBS Painewebber, Inc. (In re Enron Corp.

Sec., Derivative & “ERISA” Litig.), 238 F. Supp. 3d 799, 851 (S.D. Tex. 2017) lends no support

for their argument either. That case dealt with federal claims–not state law claims–and fiduciary

duties owed by investment brokers–not investment advisors. See id.

        16.      Plaintiffs’ cite to Laird v. Integrated Res., 897 F.2d 826, 834 (5th Cir. 1990),

Response at 16, is also misplaced. Laird involves federal claims under RICO, the Advisers Act,

and the SEC, but not state-law fiduciary claims. Plaintiffs mischaracterize Douglass v. Beakley,

900 F. Supp. 2d 736, 751-52, n.16 (N.D. Tex. 2012) in support of their argument that “although

the Advisers Act does not itself create a cause of action, it is still actionable through state law

fiduciary claims.” Response at 16. In Douglass, the court held that a plaintiff stated a state law

fiduciary claim because they adequately pled such a claim under state law, not because it was




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  See also SEC v. Northshore Asset Mgmt., 2008 U.S. Dist. LEXIS 36160, at *18-20 (S.D.N.Y. May 5, 2008); SEC v.
Trabulse, 526 F.Supp.2d 1008, 1016 (N.D. Cal. 2007).


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premised on the Advisers Act. See id. at 751-52. The court noted that Transamerica set forth the

“federal fiduciary standards” under the Advisers Act, see id. at 751-52, n.16, but did not state that

the state law fiduciary claim was “predicated on the Advisers Act.” Response at 16-17. Here,

unlike in Douglass, Plaintiffs fail to adequately plead a state-law claim for breach of fiduciary

duty. 6

          17.     Plaintiffs fail to plausibly allege breach of fiduciary duty premised on either state

or securities laws.         Plaintiffs’ conclusory allegations regarding its state law claim fail to

sufficiently allege the: (1) nature of the fiduciary relationship; (2) the breach; and (3) any actual

injury to Plaintiffs as a result of any purported breach. Complaint ¶¶ 5-91. In re ATP Oil & Gas

Corp., 711 Fed. App'x 216, 221 (5th Cir. 2017). Plaintiffs’ allegation of damages in the form of

lost opportunity, see Complaint ¶ 88, is equally deficient. See Little v. KPMG LLP, No. SA-07-

CA-621-FB, 2008 WL 576226, at *5 (W.D. Tex. Jan. 22, 2008) (rejecting damages claim

consisting of “lost profits they would have received” had they know about the conduct at issue,

noting that allegations are “speculative and conjectural.”) To the extent Plaintiffs’ fiduciary claim

is premised on fraud, Plaintiffs necessarily fail to satisfy the heightened pleading standard required

under Rule 9(b). The allegations fail to state with particularity the specific omissions by the

Debtor, nor do they give rise to any “strong inference of scienter” or deceptive motive on the part

of the Debtor. Plaintiffs’ vague allegations regarding the Debtor’s “diversion of corporate


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  Plaintiffs’ remaining cites are unhelpful. See Strougo ex rel. Brazil Fund v. Scudder, Stevens & Clark, Inc., 964
F.Supp. 783, 799 (S.D.N.Y. 1997), (plaintiff sufficiently plead a state-law fiduciary claim under Maryland law; not
because claim arose from Advisers Act); Goldenson v. Steffens, No. 2:10-cv-00440-JAW, 2014 U.S. Dist. LEXIS
201258, at *137 (D. Me. Mar. 7, 2014) (“at a conceptual level, it is possible that the IAA could create a fiduciary
duty); State ex rel. Udall v. Colonial Penn Ins. Co., 112 N.M. 12 (applying NM law where there was contract between
parties); Belmont v. MB Inv. Partners, Inc., 708 F.3d 470, 502-06 (3d Cir. 2013) (applying PA law: “[w]e need not
resolve whether the Investors' fiduciary claims can properly be brought as a matter of state law”). Contrary to
Plaintiffs’ contention, Rule 206(4)-8 of the Advisers Act “does not create under the Advisers Act a fiduciary duty to
investors or prospective investors in a pooled investment vehicle not otherwise imposed by law” or “a private right of
action.” Inv. Adv. Act Rel. No. 2628 (Aug. 3, 2007).


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opportunity” is insufficient. See Southland Sec. Corp. v. INSpire Ins. Sols., Inc., 365 F.3d 353, 368

(5th Cir. 2004) (plaintiff must plead “more than allegations of motive and opportunity to withstand

dismissal” for claim of securities fraud).

B.      Plaintiffs Fail to State a Claim for Breach of Members Agreement

        18.      Plaintiffs note that Sections 6.1 and 6.2 of the Agreement “allow sales by members

of their interests in HCLOF to ‘affiliates’ of Members, but not members themselves, without

certain conditions precedent.” Response at 23. Plaintiffs fail to address the fact that the Settlement

Order explicitly authorized the transfer of the interests to “a wholly-owned and controlled

subsidiary of the Debtor” “without the need to obtain the consent of any party or to first offer such

interests to any other investor in HCLOF.” Appx. 10 ¶ 6. Moreover, the “conditions precedent,

i.e., that “other members have to be afforded the right to purchase their pro-rata portion,” do not

apply in these circumstances. Pursuant to Section 6.2 of the Members Agreement, the “Right of

First Refusal” does not apply where the Transfer of the HCLOF interests is to “affiliates of an

initial Member” from Members other than CLOH. Appx. 13. This is exactly what is contemplated

by the Settlement and authorized by the Bankruptcy Court. HarbourVest transferred its interest in

HCLOF to the HCMLPI, an “Affiliate” of the Debtor, an “initial Member.” In contending that (i)

such an argument is “outside the scope of a 12(b)(6)” motion and (ii) the Transfer was made in

“bad faith,” Response at 23-24, Plaintiffs willfully ignore the express ruling of the Bankruptcy

Court. The Debtor’s argument that the Members Agreement was not violated is well within the

scope of the Debtor’s 12(b)(6) Motion. The terms of the Settlement Order and Members

Agreement are appropriately considered by the Court in assessing the Motion because: (i) they

were referenced in the Complaint, (ii) they are central to Plaintiffs’ Claims, and (iii) the Debtor

attached them to the Motion. See In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.

2007); Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498–99 (5th Cir. 2000).

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           19.      Plaintiffs argue for the first time in their Response that HCMLPI “was not a party

to” the Settlement and “did not pay for those interests,” and that the Settlement “constitutes a sale

to Highland,” in violation of the “good faith” clause of the Members Agreement. Response at 24.

This is nonsense. There is no basis to argue that the Debtor violated the “good faith” clause by

complying with a federal court order. Pursuant to the Settlement Order, HarbourVest transferred

its interests in HCLOF to HCMLPI, consistent with the Members Agreement. Plaintiffs fail to

offer any legal or factual basis in support of their newly asserted theory of their breach of contract

claim. Based on the clear and unambiguous terms of the Members Agreement and Settlement

Order, Plaintiffs’ claim for breach of the Members Agreement fails as a matter of law.

           20.      Plaintiffs fail to sufficiently allege damages. Damages in the form of lost profits

must be plead with “reasonable certainty.” Baumstimler v. Rankin, 677 F.2d 1061, 1072 (5th Cir.

1982). 7 Plaintiffs’ cite to Basic Capital Mgmt. v. Dynex Commer., Inc., 402 S.W.3d 257, 268

(Tex. App.—Dallas 2013) is distinguishable. There, the court held that the evidence supported an

award for lost opportunity resulting from a lender’s breach of a commitment to provide investors

with $160 million in financing to purchase commercial properties, where, as a result of such

breach, the trusts could no longer purchase those properties because they did not have financing.

Id. at 266-77. Here, unlike in Basic Capital, there was no contract between Plaintiffs and the

Debtor pursuant to which the Plaintiffs were to purchase the HCLOF interests. Plaintiffs’

contention that “had plaintiff been allowed to do so, it would have obtained the interests” in

HCLOF, Complaint. ¶ 100, is precisely the type of conclusory allegation of lost profits rejected by

courts. I Love Omni, LLC v. Omnitrition Int'l, Inc., No. 3:16-CV-2410-G, 2017 WL 3086035, at




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    See also Little, 2008 WL 576226, at *5.


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*4 (N.D. Tex. July 20, 2017) (allegations of “lost business” and “lost income” fail

“to allege the damages [] suffered with any specific factual support.”)

C.      Plaintiffs Fail to State a Claim for Tortious Interference with Contract

        21.      Plaintiffs maintain that since the Debtor’s “entire premise” for dismissing

Plaintiffs’ tortious interference claim is “predicated on the non-existence of an enforceable

contract,” this claim survives. Response at 25. The Debtor does not premise its dismissal of this

claim on the non-existence or enforceability of the Members Agreement. The Debtor argues that

the claim for tortious interference with contract should be dismissed precisely because Plaintiffs:

(i) “fail to sufficiently allege how the Debtor intentionally interfered with the Members

Agreement,” (ii) “fail to allege proximate causation,” or (iii) “actual damages,” and (iv) have

admitted in court that the Settlement did not violate the Members Agreement. Motion at 25-25.

D.      Plaintiffs Fail to Plead a Claim for Negligence

        22.      Plaintiffs recite the elements of a negligence claim, stating that the Debtor has

waived its argument for dismissal thereof because “it has not shown which elements have not been

met.” Response at 25. In its Motion, the Debtor argues that Plaintiffs’ negligence claim is deficient

regarding “duty” and “proximate cause.” Motion at 24. Plaintiffs’ allegations of a long chain of

attenuated events surrounding the Settlement which they contend “proximately” caused their harm

are too speculative to show that the Debtor’s actions were the “cause in fact” or “substantial factor”

in bringing about any injury. Reneker, 2009 WL 3365616, at *6 (dismissing negligence claim

where allegations of “proximate cause” “depend on an attenuated chain of causation which

speculates,” as to uncertain events).

E.      Plaintiffs Fail to State a Claim under RICO

        23.      Plaintiffs contend they adequately pled a pattern of racketeering activity through (i)

“wire and mail fraud,” and (ii) violations of the securities laws, including the Advisers Act.

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Response at 28-31. Plaintiffs list a series of allegations, only a few of which even mention the

terms “wires” and “mails.” Id. at 28-29. These are the same conclusory allegations that fail to

meet the heightened pleading standard under RICO. Motion at ¶ 29. Plaintiffs fail to plead with

particularity: (ii) the specific acts of communication by mail or interstate wire undertaken by the

Debtor in furtherance of the alleged fraudulent scheme, or (ii) details about the contents of any of

these alleged communications, when they were made, to whom, or where they were directed.

Complaint ¶¶ 113-33; Merrill Lynch, Pierce, Fenner, & Smith, Inc. v. Young, No. 91 Civ. 2923,

1994 WL 88129, at *11 (S.D.N.Y. Mar, 14, 1994). Plaintiffs fail to plead a “pattern” of any alleged

racketeering activity because there is no specific “threat of repetition” or threat or long-term

criminal conduct. Plaintiffs complain of a single transaction—the transfer of interests as part of

the Settlement. There is nothing to support the allegation that the Debtor “operates as part of a

long-term association that exists for criminal purposes.” H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S.

229, 239 (1989). The allegations concern short-term conduct from September 2020 to January

2021 leading up to one discreet activity—the Settlement. Plaintiffs’ allegations premised on wire

or mail fraud fail to meet the heightened pleading standard in support of a RICO claim. In re

Burzynski, 989 F.2d 733, 742 (5th Cir. 1993). 8 Moreover, RICO prohibits securities fraud as a

predicate act. 18 U.S.C.A. § 1964(c). Plaintiffs allege as predicate acts the violation of securities

laws and the Advisers Act in connection with a sale of a security, Complaint ¶¶ 131-33, and the

RICO claim should also be dismissed on this basis. Affco Invs. 2001, L.L.C. v. Proskauer Rose,

L.L.P., 625 F.3d 185, 191 (5th Cir. 2010).




8
 R.A.G.S. Couture, Inc. v. Hyatt, 774 F.2d 1350 (5th Cir. 1985) is misguided; a plaintiff sufficiently alleged “two acts
of mail fraud” in the complaint. Id. at 1354. Here, the allegations do not allege any predicate acts under RICO.
R.A.G.S was also overturned by H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 235 (1989); see also Smith v. Cooper/T.
Smith Corp., 886 F.2d 755, 756 (5th Cir. 1989).

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        24.      Plaintiffs fail to rebut the argument that they fail to allege an “association in fact.”

They argue that: (i) HCLOF is a vehicle “run by HCFA and Highland;” (ii) the association was

“ongoing” since 2017; and (iii) they “functioned as a continuing unit given their hierarchical”

structure. Response at 25. The allegations fail to show that Defendants existed as a continuing

unit separate from the alleged RICO violations or identify the roles of each of the entities and how

each participated in the alleged enterprise. Plaintiffs’ cite to Crowe v. Henry, 43 F.3d 198 (5th

Cir. 1995) is inapposite. There, the plaintiff plead an “association-in-fact” enterprise where the

allegations show that the venture existed “separate and apart from the pattern of racketeering.”

Id. at 205. Here, Plaintiffs allege the opposite—that the “purpose of the association-in-fact” was

the perpetuation of the alleged racketeering activity. Complaint ¶¶ 115-17. Plaintiffs also fail to

plead causation or damages. Allegations that Plaintiffs “would have paid cash” for the HCLOF

interests are premised on a series of attenuated events that are too speculative to support a RICO

claim. In re Oil Spill by Oil Rig Deepwater Horizon in Gulf of Mexico, on Apr. 20, 2010, 802 F.

Supp. 2d 725, 729 (E.D. La. 2011). 9

                                               CONCLUSION

                 WHEREFORE, the Debtor respectfully requests that the Court (i) grant its Motion

and enter an order in the form annexed to the Motion as Exhibit A, and (ii) grant any further relief

as the Court deems just and proper.




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  See also In re Taxable Mun. Bond Sec. Litig, 51 F.3d 518, 523 (5th Cir.1995); Steele v. Hospital Corp. of Am., 36
F.3d 69, 70 (9th Cir.1994).


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Counsel for Highland CLO Funding, Ltd.

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS


                                                    §
 CHARITABLE DAF FUND, L.P.,                         §
 and CLO HOLDCO, LTD.,                              §
 directly and derivatively,                         §
                                                    §
                                  PLAINTIFFS,       §
                                                    §      Case No. 3:21-cv-00842-b
 v.                                                 §
                                                    §
 HIGHLAND CAPITAL MANAGEMENT,                       §
 L.P., HIGHLAND HCF ADVISOR, LTD.,                  §
 and HIGHLAND CLO FUNDING, LTD.,                    §
 Nominally,                                         §
                                                    §
                                  DEFENDANTS.       §



                       HIGHLAND CLO FUNDING, LTD.’S
             MOTION TO DISMISS AND JOINDER IN MOTION TO DISMISS
                  OF HIGHLAND CAPITAL MANAGEMENT, L.P.

        Highland CLO Funding, Ltd. (“HCLOF”) moves to dismiss the complaint of plaintiffs

Charitable DAF Fund, L.P. (“DAF”) and CLO Holdco, Ltd. (“CLO Holdco,” and with DAF,

“Plaintiffs”) [ECF No. 1] (the “Complaint”) as against HCLOF, and joins in the motion of

Highland Capital Management, L.P. (“HCM”) to dismiss this case [Docket No. 26] (the “HCM

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Motion to Dismiss”).

                                     RELIEF REQUESTED

        1.      HCLOF requests that this Court issue the proposed form of order attached to this

Motion as Exhibit A pursuant to Rule 12(b) of the Federal Rules of Civil Procedure. For the reasons

that are more fully set forth in HCLOF’s Brief in Support of Motion to Dismiss and Joinder in

Motion to Dismiss of Highland Capital Management, L.P., filed contemporaneously herewith,

HCLOF respectfully requests that the Court (a) dismiss the Complaint as against HCLOF, and (b)

grant HCLOF such other and further relief as is just.

        2.      Subject to and without waiver of its personal jurisdiction defense, HCLOF also

joins in the HCM Motion to Dismiss and HCM’s related filings with the Court, and incorporates

the arguments, evidence and authorities herein as if fully set forth in this motion.

                                         CONCLUSION

        For the foregoing reasons, HCLOF respectfully requests that the Court (i) enter the

proposed order substantially in the form attached as Exhibit A, and (ii) grant HCLOF such other

and further relief as is just.




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Dated: August 30, 2021
                                     Respectfully submitted,


                                     KING & SPALDING LLP

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                               CERTIFICATE OF SERVICE

   I certify that a true and correct copy of the foregoing document was served electronically by

the Court’s ECF system on August 30, 2021.


                                             /s/ Paul R. Bessette
                                             Paul R. Bessette




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                            Exhibit A – Proposed Order




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS


                                                     §
    CHARITABLE DAF FUND, L.P.,                       §
    and CLO HOLDCO, LTD.,                            §
    directly and derivatively,                       §
                                                     §
                                 PLAINTIFFS,         §
                                                     §            Case No. 3:21-cv-00842-b
    v.                                               §
                                                     §
    HIGHLAND CAPITAL MANAGEMENT,                     §
    L.P., HIGHLAND HCF ADVISOR, LTD.,                §
    and HIGHLAND CLO FUNDING, LTD.,                  §
    Nominally,                                       §
                                                     §
                                 DEFENDANTS.         §



                               ORDER GRANTING
                 HIGHLAND CLO FUNDING, LTD.’S MOTION TO DISMISS

         Before the Court is nominal defendant Highland CLO Funding, Ltd. (“HCLOF”)’s motion

to dismiss the complaint of plaintiffs Charitable DAF Fund, L.P. (“DAF”) and CLO Holdco, Ltd.

(“CLO Holdco,” and with DAF, “Plaintiffs”) [ECF No. 1] (the “Complaint”) as against HCLOF,

[Docket No. ___] (the “Motion”). The Court has considered the Motion, HCLOF’s Brief in

Support of Motion to Dismiss and Joinder in Motion to Dismiss of Highland Capital Management,

L.P. (the “Brief”) and (c) the Appendix in Support of HCLOF’s motion to Dismiss (the

“Appendix”).1 This Court having subject matter jurisdiction under 28 U.S.C. § 1331, and having

found that venue is proper pursuant to 28 U.S.C. § 1391; and having found that the Complaint

should be dismissed as against HCLOF; it is hereby ORDERED THAT:

         1. The Motion is GRANTED as set forth herein.

         2. The Complaint is dismissed in its entirety against HCLOF.


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    Capitalized terms not otherwise defined have the meanings ascribed to them in the Brief.
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       So ordered this _______ day of ____________________, 2021.




                                         The Honorable Jane J. Boyle
                                         United States District Judge




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  CHARITABLE DAF FUND, L.P.,                     §
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  v.                                             §
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  HIGHLAND CAPITAL MANAGEMENT,                   §
  L.P., HIGHLAND HCF ADVISOR, LTD.,              §
  and HIGHLAND CLO FUNDING, LTD.,                §
  Nominally,                                     §
                                                 §
                                  DEFENDANTS.    §



                            HIGHLAND CLO FUNDING, LTD.’S
                      BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
                          AND JOINDER IN MOTION TO DISMISS
                       OF HIGHLAND CAPITAL MANAGEMENT, L.P.

        Highland CLO Funding, Ltd. (“HCLOF”) submits this brief in support of its motion to

dismiss the complaint of plaintiffs Charitable DAF Fund, L.P. (“DAF”) and CLO Holdco, Ltd.

(“CLO Holdco,” and with DAF, “Plaintiffs”) [ECF No. 1] (the “Complaint”) as against HCLOF,

and joinder with the motion of Highland Capital Management, L.P. (“HCM”) to dismiss this case



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[Docket No. 26] (the “HCM Motion to Dismiss”).

                                      INTRODUCTION

       The Complaint alleges no wrongful conduct, breach of contract, or statutory liability

against HCLOF. It pleads for no legal or equitable relief against HCLOF. Count II (breach of

contract) names HCLOF in the caption, but does not allege that HCLOF breached any contract.

The other counts (breach of fiduciary duty, negligence, RICO, and tortious interference) do not

name HCLOF, and like Count II, they do not allege that HCLOF did anything wrong. With no

allegations against HCLOF, HCLOF is entitled to dismissal for failure to state a claim for relief

under Federal Rule of Civil Procedure 12(b)(6).

       To the extent that Count I (breach of fiduciary duty) pleads for relief against defendants

HCM and Highland HCF Advisor, Ltd. (“HCFA”) as a result of acts that harmed HCLOF (i.e.,

shareholder derivative claims), Plaintiffs have not pleaded a predicate for derivative standing.

HCLOF is a separate entity formed in Guernsey and controlled by independent directors. Under

Guernsey law, derivative standing requires that the alleged wrongdoers (HCM and HCFA) control

the company they harmed (HCLOF). The Complaint is deficient because Plaintiffs do not allege

that HCM or HCFA are authorized to make decisions to sue or not sue on behalf of HCLOF, as

required for derivative standing. Moreover, HCLOF has not been harmed; Plaintiffs’ claim that

HCM or HCFA exposed HCLOF to “massive liability” to Harbourvest is unfounded, as

Harbourvest has released HCLOF from any such claims. Plaintiffs are not alleging derivative

claims on behalf of HCLOF, but instead are alleging direct claims by either Harbourvest or

Plaintiffs against HCM or HCFA.

       Additionally, this Court lacks personal jurisdiction over HCLOF for purposes of litigating

Plaintiffs’ claims. HCLOF is a Guernsey company whose two directors transact substantially all

of its business from Guernsey. It did not conduct activities in Texas and the Complaint alleges no

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conduct by HCLOF within Texas (or the United States). The Court should dismiss the Complaint

as to HCLOF for failure to establish personal jurisdiction.

       No one benefits by keeping HCLOF in this case. It is not alleged to have done anything

wrong, and HCLOF’s presence is unnecessary for the fiduciary duty, contract, RICO, negligence

and tortious interference claims Plaintiffs allege against HCM and HCFA. To the contrary,

Plaintiffs suffer from forcing HCLOF to spend money on this case, because Plaintiffs are 49

percent shareholders of HCLOF.

       Finally, subject to and without waiver of its personal jurisdiction defense, HCLOF also

joins in the HCM Motion to Dismiss and incorporates the arguments set forth in HCM’s

memorandum of law supporting the HCM Motion to Dismiss [Docket No. 27] and related filings.

                                              ARGUMENT

I.     The Complaint Should Be Dismissed Against HCLOF Under Rule 12(b)(6) Because
       It Does Not Allege any Claims Against HCLOF or Request Relief From HCLOF.

       The Complaint requests no legal or equitable relief against HCLOF. Its prayer for relief

lies against “Defendants,” a term the Complaint defines to include defendants HCM and HCFA,

but not HCLOF. As will be seen, none of the allegations in the Complaint’s five counts purport to

assert, or otherwise give rise to, liability as against HCLOF.

       In Count I (breach of fiduciary duty), the Complaint alleges that “Defendants” (defined as

HCM and HCFA, not HCLOF) and potential defendant James P. Seery, Jr. (“Seery”) breached

fiduciary duties owed to DAF and CLO Holdco (Count I, paragraphs 56, 67). Nowhere does the

Complaint allege that HCLOF breached a fiduciary duty.

       Count II (breach of contract) indicates in its title that it is “by Holdco against HCLOF,

HCM and HCFA,” but its factual allegations claim only that “Defendants” (again, defined to




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exclude HCLOF) failed to offer CLO Holdco a pro rata share of Harbourvest’s interests in HCLOF

(Count II, paragraphs 96, 99). HCLOF is not alleged to have breached any contract.

       Count III (negligence) indicates in its title that it lies “against HCM and HCFA.” It alleges

that Seery, HCFA and HCM were negligent (Count III, paragraphs 104-106) and that “Defendants”

(defined to exclude HCLOF) were negligent and caused harm to CLO Holdco (Count III,

paragraph 111).

       Count IV (RICO) indicates in its title that it lies “against HCM.” It alleges that HCM,

HCFA, and Seery committed RICO violations, including federal wire fraud, mail fraud,

bankruptcy fraud, and securities fraud (Count IV, paragraphs 117, 120). HCLOF is not alleged to

have committed any RICO predicate acts.

       Count V (tortious interference) also indicates in its title that it lies against HCM. It alleges

that HCM, through Seery, tortuously interfered with CLO Holdco’s contractual rights (Count V,

paragraphs 138-39). It does not allege any wrongful conduct by HCLOF (Count V, paragraph 141).

       With no claims against HCLOF, HCLOF is entitled to dismissal under Federal Rule of

Civil Procedure 12(b)(6).

II.    The Complaint Should Be Dismissed Against HCLOF Under Rule 12(b)(6) Because
       Plaintiffs Lack Derivative Standing to Sue for Breach of Fiduciary Duty.

       Although the thrust of Count I (breach of fiduciary duty) alleges a direct fiduciary

relationship between HCM and DAF pursuant to a Restated Investment Advisory Agreement and

federal securities law, Complaint paragraphs 78, 80, 81, and 83 vaguely allege that HCM, HCFA

and/or Seery committed corporate waste, self-dealing and diversion of a corporate opportunity that

harmed HCLOF. These claims are held by HCLOF against its fiduciaries and can only be brought

by Plaintiffs if they properly plead derivative standing to bring such claims.




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       A derivative claim alleges harm to the corporation, such that all shareholders are equally

harmed in their capacities as shareholders. See, e.g., Smith v. Waste Mgt. Inc., 407 F.3d 381, 384

(5th Cir. 2005) (test for derivative claim is “Who suffered the alleged harm—the corporation or the

suing stockholder individually—and who would receive the benefit of the recovery or other

remedy?”). This principle applies under Guernsey law, the law governing HCLOF. See, e.g.,

Jackson v. Dear and Others (2013) 10/2013, 26 March 2013 ¶ 6 (“[W]here a company suffers loss

as a result of an actionable wrong done to it, the cause of action is vested in the company and the

company alone can sue.”). (Appendix Exhibit A)

       A.      Under Guernsey Law, Plaintiffs Lack Standing to Bring a Derivative Claim
               for Alleged Wrongs Suffered by HCLOF.

       Courts within the Fifth Circuit and elsewhere analyze standing as a matter of substantive

law of the state of incorporation. See, e.g., In re Parkcentral Global Litigation, 884 F.Supp. 2d

464, 471-72 (N.D. Tex. 2012) (Lynn, J.) (analyzing derivative standing under Delaware law);

Schwartz v. TXU Corp., 2005 WL 3148350 (N.D. Tex. 2005, remanded on other grounds, 162 Fed.

Appx. 376) (5th Cir. 2006)) (Kinkead, J.) (analyzing derivative standing under Texas law).

       As the Complaint correctly states, HCLOF is organized under the laws of the Bailiwick of

Guernsey. Complaint, ¶ 5. Guernsey law provides, “[W]here a company suffers loss as a result of

an actionable wrong done to it, the cause of action is vested in the company and the company alone

can sue.” Jackson v. Dear, supra. To qualify for an exception to this longstanding Guernsey rule,

a plaintiff must establish that the wrongdoers remain in control—that is, that wrongdoer control of

the company prevented the company from bringing the lawsuit in its own name. Jackson v. Dear,

supra (“The two basic requirements at common law for a derivative action were: (i) that the alleged

wrong or breach of duty was by a director and was incapable of being ratified by a simple majority

of the members (e.g. a fraudulent breach by a director or the deliberate misappropriation of


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company assets, but not a bona fide misuse of powers or an incidental profit making); and (ii) that

the alleged wrongdoers are in control of the company, so that the company, which is the ‘proper

plaintiff cannot claim by itself.”). See also Prudential Assurance Co. Ltd. v. Newman Industries

Ltd. (No. 2) [1982], 1 All E.R. 354, 366-67, [1982] Ch. 204, 211 (“There is an exception to the

rule where what has been done amounts to fraud and the wrongdoers are themselves in control of

the company…. The reason for this is that, if they were denied that right, their grievance could

never reach the court because the wrongdoers themselves, being in control, would not allow the

company to sue.”). (Appendix Exhibit B)

       Plaintiffs do not allege that HCM, Seery, or HCFA control HCLOF, or prevented HCLOF

from bringing the lawsuit in its own name. They instead allege that “any pre-suit demand would

have been futile since asking HCM to bring suit against its principal, Seery, would have been

futile.” Complaint, ¶ 91. That allegation is a non sequitur, because HCLOF is under the direct

corporate control, not of HCM, but of two independent directors unaffiliated with either HCM or

Seery. While portfolio management is vested in HCFA, see Complaint ¶ 24, Plaintiffs do not allege

that HCFA or HCM have the corporate authority to file suit (or decline to file suit) against HCM,

HCFA, or Seery. With no allegation of wrongdoer control, Plaintiffs have failed to plead a basis

of derivative standing to sue for wrongs under Guernsey law. Count I, to the extent it alleges

derivative claims, should be dismissed under Federal Rule 12(b)(6) for lack of standing.

       B.      Any Derivative Claims Should Be Dismissed Because No Actual Harm to
               HCLOF Is Alleged or Could Ever Ripen to Actual Harm.

       Standing is not the only flaw in Plaintiffs’ derivative theories. The only potential harm to

HCLOF that Plaintiffs identify is alleged in paragraph 89: “Defendants’ malfeasance has also

exposed HCLOF to a massive liability from Harbourvest since the assignment of those interests is




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now one that is likely unenforceable under the Advisers Act, Section 47(b), if there was unequal

information.”

       This Complaint’s premise of potential harm to HCLOF through “massive liability” to

Harbourvest is contradicted by judicially-noticeable documents.        In the settlement agreement

between HCM and Harbourvest discussed at paragraphs 29 through 35 of the Complaint,

Harbourvest broadly released HCLOF from any claims, known or unknown, that were or could

have been asserted in, in connection with, or with respect to, HCM’s bankruptcy case. See Case

No. 19-bk-34054, Docket No. 1631-1, section 2(a). (Appendix Exhibit C)1 With no allegation of

actual damage to HCLOF—and with such damage foreclosed by the settlement repeatedly referred

to in the Complaint—Plaintiffs’ derivative claims should be dismissed under Federal Rule 12(b)(6)

for this independent reason.

       C.       Plaintiffs Do Not Allege a Derivative Claim for Harm to HCLOF.

       Plaintiffs conflate assets of HCLOF with equity interests in HCLOF. They complain that

equity interests in HCLOF held by Harbourvest were sold for less than their fair value. See, e.g.,

Complaint ¶¶ 36 (“At the core of this lawsuit is the fact that HCM purchased the Harbourvest

interests in HCLOF for $22.5 million knowing that they were worth far more than that.”), 43, 48,

67, 76. These allegations, if they could be proven, might establish harm to Harbourvest for

receiving less than it should have received. Or they may establish harm to the Plaintiffs, for



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  In evaluating a motion to dismiss, the Court may consider documents referred to in a complaint
that are central to the plaintiff’s claims. See, e.g., Dawes v. City of Dallas, 2020 WL 3603090 *3
(N.D. Tex. July 2, 2020) (“a court may consider documents that are referred to in a complaint and
are central to a plaintiff’s claims”). The Harbourvest settlement, referred to in at least seven
paragraphs of the Complaint, is central to Plaintiffs’ claims. Alternatively, “Judicial notice may be
taken of matters of public record. Walker v. Beaumont Indep. School Dist., 938 F.3d 724, 735 (5th
Cir. 2019) (citing Firefighters’ Retirement Sys., v. EisnerAmper, 898 F.3d 553, 558 n.2 (5th Cir.
2018)). The Harbourvest settlement, which is archived as Document Number 1631-1 on the
bankruptcy court’s docket, and which was approved by the bankruptcy court, is part of the public
record.
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depriving them of the right to purchase Harbourvest’s interests for “less than 50% of what those

interests were worth.” See Complaint ¶ 48. But they do not establish harm to HCLOF, which is a

prerequisite to any derivative claim.

       Because no harm is alleged to have befallen HCLOF, Plaintiffs lack a derivative claim to

bring on behalf of HCLOF. With no colorable derivative claim on behalf of HCLOF—and no

claim alleged against HCLOF—there is no reason to keep HCLOF in this case as a “nominal

defendant.” HCLOF should be dismissed.

III.   The Complaint Should Be Dismissed Against HCLOF Under Rule 12(b)(2) Because
       the Court Lacks Personal Jurisdiction Over HCLOF.

       The Plaintiff “ha[s] the initial burden to plead and prove the requisite contacts with the

United States” to support the exercise of personal jurisdiction over HCLOF. Nagravision SA v.

Gotech Int’l Tech. Ltd., 882 F.3d 494, 499 (5th Cir. 2018). “Once a motion to dismiss for lack of

personal jurisdiction has been presented to a district court by a nonresident defendant, the party

who seeks to invoke the jurisdiction of the district court bears the burden of establishing contacts

by the nonresident defendant sufficient to invoke the jurisdiction of the court.” WNS, Inc. v.

Farrow, 884 F.2d 200, 203 (5th Cir. 1989).

       In the Complaint, Plaintiffs blandly allege that personal jurisdiction lies “because

[Defendants] reside and/or have continual contacts with the state of Texas, having regularly

submitted to jurisdiction here.” Complaint, ¶ 8. They further allege, “Jurisdiction is proper under

18 U.S.C. § 1965(d).” Id. These allegations are insufficient to plead personal jurisdiction.

       A.      Plaintiff Has Not Established Contacts That Render HCLOF Subject to
               Personal Jurisdiction of this Court.

               1. The Court Lacks General Personal Jurisdiction Over HCLOF.

        “General jurisdiction is established where the defendant has ‘continuous and systematic’

contacts with the forum state.” Dontos v. Vendomation NZ Ltd., 582 Fed. Appx. 338, 342 (5th Cir.

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2014) (quoting Choice Healthcare, Inc. v. Kaiser Found. Health Plan of Colo., 615 F.3d 364, 368

(5th Cir. 2010)); Maruyama U.S. Inc. v. Frazier Corporation, 2016 WL 836205 *3 (N.D. Tex.

Feb. 12, 2016) (Ramirez, M.J.). “To establish general jurisdiction, a nonresident defendant’

contacts with the forum state ‘must be substantial; random, fortuitous, or attenuated contacts are

not sufficient.’” Innova Hosp. San Antonio L.P. v. Blue Cross & Blue Shield of Ga., Inc., 995

F.Supp. 2d 587, 616 (N.D. Tex. 2014).

       HCLOF is a Guernsey company, see Complaint ¶ 5, with its principal place of business in

Guernsey. Its two independent directors reside in and transact substantially all of HCLOF’s

business from the Channel Islands of Jersey and Guernsey. HCLOF does not conduct business in

the United States, and its connection with the United States is limited to this litigation and other

litigation arising from the acts of its portfolio managers. See Declaration of Richard Boléat

(Appendix Exhibit D).2

       Plaintiffs have not pleaded any continuous and specific contacts by HCLOF within Texas,

or even the United States. Indeed, the Complaint is devoid of any allegations of activity by HCLOF

within the United States. The actors in the Complaint are HCM, Seery, HCFA or Plaintiffs;

throughout the Complaint, HCLOF is a passive entity.

               2. The Court Lacks Specific Personal Jurisdiction Over HCLOF.

       Plaintiffs have alleged no facts to support finding specific personal jurisdiction over

HCLOF related to the claims raised in the Complaint. “Courts may exercise specific jurisdiction

if a nonresident defendant ‘purposefully avails himself of the privileges of conducting activities in




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   “In resolving a [personal] jurisdiction issue, the court may review pleadings, affidavits,
interrogatories, depositions, oral testimony, exhibits, any part of the record, and any combination
thereof…. Allegations in plaintiff’s complaint are taken as true except to the extent that they are
contradicted by defendant’s affidavits.” International Truck and Engine Corp. v. Quintana, 259
F.Supp. 2d 553, 556-57 (N.D. Tex. 2003) (citations omitted).
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the forum state’ and ‘the controversy arises out of or is related to the defendant’s contacts with the

forum state.’” Innova Hosp., 995 F. Supp. 2d at 618 (quoting Choice Healthcare, 615 F.3d at

369)); see also Freudensprung v. Offshore Tech. Servs., Inc., 379 F.3d 327, 344 (5th Cir. 2004)

(“[The Fifth Circuit] has repeatedly held that the combination of mailing payments to the forum

state, engaging in communications related to the execution and performance of the contract, and

the existence of a contract between the nonresident defendant and a resident of the forum are

insufficient to establish the minimum contacts necessary to support the exercise of specific

personal jurisdiction over the nonresident defendant.” (collecting cases)).

        Plaintiffs have alleged no contacts with the United States from which the claims raised in

the Complaint arise or relate. Indeed, there are no alleged actions of HCLOF, of any kind, giving

rise to claims pleaded in the Complaint. For these reasons, the Complaint should be dismissed as

to HCLOF.

        B.       18 U.S.C. § 1965(d) Does Not Confer Personal Jurisdiction Over HCLOF.

        Contrary to Plaintiff’s claim in Complaint paragraph 8, 18 U.S.C. § 1965(d) does not confer

personal jurisdiction over HCLOF. The provision, titled “venue and process” in the chapter

addressing RICO claims, merely sets forth the proper place for service of a RICO proceeding. It

does not purport to confer personal jurisdiction where none is otherwise recognized. Besides, the

RICO claims are not alleged against HCLOF. This statute has no bearing on jurisdiction over

HCLOF.

                         JOINDER IN HCM’S MOTION TO DISMISS

        Subject to and without waiver of its personal jurisdiction defense, HCLOF also joins in the

HCM Motion to Dismiss and accompanying filings with the Court, and incorporates them herein

as if fully set forth.



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                                      CONCLUSION

       For these reasons, the Complaint should be dismissed as to HCLOF.

Dated: August 30, 2021

                                          Respectfully submitted,


                                          KING & SPALDING LLP

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                                CERTIFICATE OF SERVICE

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the Court’s ECF system on August 30, 2021.


                                             /s/ Paul R. Bessette
                                             Paul R. Bessette




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Counsel for Highland CLO Funding, Ltd.

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS


                                                    §
 CHARITABLE DAF FUND, L.P.,                         §
 and CLO HOLDCO, LTD.,                              §
 directly and derivatively,                         §
                                                    §
                                  PLAINTIFFS,       §
                                                    §        Case No. 3:21-cv-00842-b
 v.                                                 §
                                                    §
 HIGHLAND CAPITAL MANAGEMENT,                       §
 L.P., HIGHLAND HCF ADVISOR, LTD.,                  §
 and HIGHLAND CLO FUNDING, LTD.,                    §
 Nominally,                                         §
                                                    §
                                  DEFENDANTS.       §



                            APPENDIX IN SUPPORT OF
                 HIGHLAND CLO FUNDING, LTD.’S MOTION TO DISMISS

        Highland CLO Funding, Ltd. (“HCLOF”) files this appendix in support of its motion to

dismiss the complaint against HCLOF in the above-captioned case.




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       Exhibit A         Jackson v. Dear and Others (2013) 10/2013, 26, March 2013

       Exhibit B         Prudential Assurance Co. Ltd. v. Newman Industries Ltd. (No. 2)
                         [1982], 1 All E.R. 354, 366-67

       Exhibit C         HCM-Harbourvest Settlement Agreement

       Exhibit D         Declaration of Richard Boléat




Dated: August 30, 2021
                                       Respectfully submitted,


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                                             Paul R. Bessette




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         Judgment 10/2013                                                    Jackson and Dear et al
                                                                             Royal Court
                                                                             26th March 2013


         Derivative action – strike out application.




                                IN THE ROYAL COURT OF THE ISLAND OF GUERNSEY
                                                   (ORDINARY DIVISION)


          Between:                               ALEXANDER JACKSON                                        Plaintiff
                                                            -   and -

                                                    PATRICK DEAR (1)
                                                   READE GRIFFITH (2)
                                                    RUPERT DOREY (3)
                                                   DAVID JEFFREYS (4)
                                                     BYRON KNIEF (5)
                                                   GREVILLE WARD (6)
                                      TETRAGON FINANCIAL GROUP LIMITED (7)
                                             TETRAGON FINANCIAL GROUP
                                               MASTER FUND LIMITED (8)                                Defendants



                                     J U D G M E N T O N S T R I KE O U T
                                                APPLICATION
                                     of Lieutenant Bailiff Patrick John Talbot QC


                  Date of hearings:      12th and 13th October, 28th, 29th and 30th November and
                                              1st and 2nd December 2011

                                      Judgment handed down: 26th March 2013


         Advocate Jeremy Le Tissier appeared on behalf of the Plaintiff
         Advocate Christian Hay appeared on behalf of the First and Second Defendants
         (“the Executive Directors”)
         Advocate Tim Corfield appeared on behalf of the Third, Fourth, Fifth and Sixth Defendants
         (together referred to as “the Independent Directors”)
         Advocate Simon Davies appeared on behalf of the Seventh and Eighth Defendants (together
         referred to as “Tetragon”)


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           1. These proceedings are, it is believed, the first derivative action placed on the court rôle
                of the Royal Court of Guernsey. They relate to a real estate joint venture transaction
                called the GreenOak Real Estate Transaction (“the GORE Transaction”), into which
                Tetragon, both of which are Guernsey companies, entered on about 29 July 2010. At
                the heart of the Plaintiff’s claim is the board meetings of both companies held on that
                day and the resolution passed that day by a 6-1 majority which approved Tetragon
                entering into the GORE Transaction, the 6 being the First to Sixth Defendants and the 1
                being the Plaintiff. Accordingly, the Plaintiff was the only director who opposed
                Tetragon doing so.

           2. The Plaintiff, who was then a director of Tetragon, expressed disapproval of the then
                proposed transaction, both in correspondence and in e-mails to his fellow directors of
                Tetragon and their advisers in the months preceding 29 July 2010 and also during a joint
                board meeting of both Tetragon companies held, largely as a telephone directors’
                meeting, on 29 July 2010. The board meeting appears to have taken about two hours,
                and, in due course, it was resolved at the meeting, by a resolution of all directors except
                the Plaintiff, that Tetragon should enter into the GORE Transaction. In other words, the
                Executive Directors and the Independent Directors voted in favour of the resolution and
                the Plaintiff voted against the resolution.

           3. In the derivative action, the Plaintiff seeks to contend, on behalf of Tetragon, that the
                Executive Directors and the Independent Directors broke their directors’ duties, and
                acted negligently, in deciding that Tetragon should enter into the GORE Transaction.
                As part of the Plaintiff’s claims, on behalf of Tetragon, against the Executive Directors
                only he also contends that they broke their fiduciary duties to Tetragon in voting in
                favour of the GORE Transaction.

           4. Historically, the courts in England took a restrictive approach to allowing derivative
                claims. In the words of Lord Eldon in Carlen v Drury (1812)1 Ves & B 154:

                             “This court is not to be required on each occasion to take the management of
                             every playhouse and brewhouse in the kingdom.”

           5. Over the years the attitude of the English courts to derivative actions developed and
                there is a valuable exposition of this development in the judgment of Lord Millett in
                Waddington Ltd v Chan Chun Hoo (2008) 9 HKCFA 63.

           6. The shortest way to describe the development is to cite further from Lord Millett’s
                judgment.

                             “The common law derivative action

                             47. A company is a legal entity separate and distinct from its members. It has
                             its own assets and liabilities and its own creditors. The company’s property
                             belongs to the company and not to its shareholders. If the company has a
                             cause of action, this represents a legal chose in action which represents part
                             of its assets. Accordingly, where a company suffers loss as a result of an
                             actionable wrong done to it, the cause of action is vested in the company and
                             the company alone can sue. This is the first rule in Foss v. Harbottle (1843) 2
                             Hare 461. No action lies at the suit of a shareholder suing as such, though
                             exceptionally he may be permitted to bring a derivative action in right of the
                             company and recover damages on its behalf: see Wallersteiner v. Moir(No.2)
                             [1975] 1 QB 373 CA at p.390; Prudential Assurance Co. Ltd v. Newman
                             Industries Ltd (No.2) [1982] Ch 204 CA (“Prudential”) at p.210; Johnson v.
                             Gore Wood & Co. [2002] 2 AC 1 at p.61 et seq.




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                             48. The injustice which would result if a derivative action were not available
                             where the company is controlled by the alleged wrongdoers is vividly
                             described by Lord Denning MR in Wallersteiner v. Moir (No.2) (supra) at
                             p.390:

                                     “But suppose [the company] is defrauded by insiders who control its
                                     affairs - by directors who hold a majority of the shares - who then can
                                     sue for damages? Those directors are themselves the wrongdoers. If a
                                     board meeting is held, they will not authorise the proceedings to be taken
                                     by the company against themselves. If a general meeting is called, they
                                     will vote down any suggestion that the company should sue them
                                     themselves. Yet the company is the one person who is damnified. It is the
                                     one person who should sue. In one way or another some means must be
                                     found for the company to sue. Otherwise the law would fail in its
                                     purpose. Injustice would be done without redress.” (my emphasis)

                             49. Sir James Wigram V-C recognised the problem in Foss v. Harbottle itself.
                             He suggested that proceedings could be brought by the individual
                             shareholders in their private characters seeking the protection of the rights to
                             which they were entitled in their corporate character. This suggestion was
                             adopted, and it became accepted practice for minority shareholders to file a
                             bill in the Companies Court and ask for leave to use the name of the company
                             to bring an action: see Atwool v. Merryweather(1867-8) LR 5 Eq pp 464-7n.
                             If they made out a reasonable case for being allowed to do so, the court
                             would appoint them as representatives of the company to bring proceedings
                             in the name of the company against the wrongdoers. If the action was
                             successful, any damages recoverable were payable to the company.

                             50. The need to apply to the court for leave to use the company’s name
                             provided a useful filter to prevent frivolous and abusive actions or actions
                             which it was not in the interests of the company to bring. It also gave the
                             court an opportunity to adjourn the proceedings in order to discover whether
                             the impugned transactions, if capable of ratification by the company (not for
                             example being ultra vires or a fraud on the minority),would be ratified by the
                             independent shareholders.

                             51. This filter was soon abandoned. The minority shareholders were
                             permitted to bring an action against the wrongdoers without the leave of the
                             court, joining the company as defendant in order to receive any damages that
                             might be awarded: see Menier v. Hooper’s Telegraph Works (1874) 9 Ch App
                             350. Since the company was a defendant it could not also be a plaintiff, and
                             accordingly the action was traditionally framed as an action by the plaintiff
                             “on behalf of himself and all other shareholders in the company except the
                             defendants”. In reality, as every one appreciated, the action was brought on
                             behalf of the company in which the cause of action was vested. This form of
                             action was described by Lord Davey in Burland v. Earle [1902] AC 83 at
                             p.93 as a “mere matter of procedure in order to give a remedy for a wrong
                             which would otherwise escape redress”.

                             52. By the 1980’s the absence of any appropriate filter to prevent
                             unmeritorious claims or claims which it was not in the interests of the
                             company to pursue was having unfortunate results. A defendant’s only
                             recourse was to apply to strike out the action under RSC O.18 r.19 or to have
                             the plaintiff’s right to bring a derivative action determined as a preliminary
                             issue. Matters came to a head in Prudential, where the determination of the
                             preliminary issue threatened to subject the company to a 30-day action in



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                             order to decide whether the plaintiffs were entitled to bring a 30-day action.
                             There was, as the Court of Appeal observed, a dilemma, for at the time of the
                             application the alleged fraud had not been proved. Either the court must
                             assume the truth of every allegation in the statement of claim as in a true
                             demurrer, in which case the company and its innocent shareholders might be
                             subjected to groundless claims, or the action had to be fought to a conclusion
                             before the plaintiffs’ right to bring a derivative action could be established.
                             Neither course was acceptable.

                             53. The solution which the Court of Appeal found in Prudential was to
                             require the plaintiff, whether at the trial of a preliminary issue or on an
                             application to strike out the proceedings, to establish a prima facie case both
                             that the company was entitled to the relief claimed and that the plaintiff was
                             entitled to bring the claim on its behalf by way of a derivative action. In an
                             appropriate case the court could adjourn the proceedings in order to
                             ascertain whether the independent shareholders considered that it was in the
                             interests of the company to pursue the claim.

                             54. This approach was followed in Smith v. Croft (No.2) [1988] Ch 114 and
                             was subsequently adopted by the Rules Committee when the Rules of the
                             Supreme Court were amended by adding O.15 r.12A (later CPR r.19.9 and
                             now s.260 of the Companies Act 2006). This imposed a requirement for the
                             plaintiff in a derivative action to obtain the leave of the court to continue the
                             action, thereby providing the filter which had been discarded more than a
                             century earlier. The plaintiff has consistently been required on the
                             application for leave to establish a prima facie case both that the company
                             would be likely to succeed if it brought the action itself and that the case falls
                             within an exception to the rule in Foss v. Harbottle.”

           7. It was accepted before me that the Royal Court would entertain a derivative action.
                Furthermore, it was not really argued before me on behalf of the Defendants that the
                Royal Court would not entertain a double or other multiple derivative action. Like Lord
                Millett in Waddington Ltd v Chan Chun Hoo, at paragraphs 61-80, I am convinced that
                public policy requires the Royal Court to entertain double derivative actions and I find
                that our customary law allows such actions to be brought. On this point I also draw
                attention to the very recent judgment of Mr Justice Briggs in Universal Project
                Management v Fort Gilkicker [2013] EWHC 348 where the learned judge, who at
                paragraph 34 had described derivative actions as the means by which a court may do
                justice in cases of wrongdoer control, said, at paragraphs 45-47:

                             “First, there was before 2006 a common law procedural device called the
                             derivative action by which the court could permit a person or persons with
                             the closest sufficient interest to litigate on behalf of a company by seeking for
                             the company relief in respect of a cause of action vested in it. Those persons
                             would usually be a minority of the company's members, but might, if the
                             company was wholly owned by another company, be a minority of the
                             holding company's members. These were not separate derivative actions, but
                             simply examples of the efficient application of the procedural device,
                             designed to avoid injustice, to different factual circumstances.” (See also
                             paragraph 26 of the judgment.)

           8. It therefore follows that the English common law, primarily under the ‘fraud on a
                minority’ exception to the rule in Foss v Harbottle (1843) 2 Hare 461, per Wigram V.-
                C., allowed shareholders under certain, limited circumstances to bring claims on behalf
                of their companies. The two basic requirements at common law for a derivative action
                were: (i) that the alleged wrong or breach of duty was by a director and was incapable of



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                being ratified by a simple majority of the members (e.g. a fraudulent breach by a
                director or the deliberate misappropriation of company assets, but not a bona fide
                misuse of powers or an incidental profit making); and (ii) that the alleged wrongdoers
                are in control of the company, so that the company, which is the “proper plaintiff”
                cannot claim by itself.

           9. The original Cause was lodged on 25 February 2011 and the strike-out application was
                served on 28 April 2011. It is clear that the application was made under rule 52 of the
                Royal Court Civil Rules 2007 and the inherent jurisdiction of the Court and was
                founded on a claim that the Cause disclosed no reasonable ground for bringing the
                action and should be struck out as an abuse of process since the Plaintiff was unable to
                satisfy the proper test relating to the bringing of derivative actions, a matter to which I
                shall refer later.

           10. During the lengthy oral hearings in October to December 2011 the oral and written
                arguments of the parties ranged widely across legal authorities and textbook writings
                within the Commonwealth, and covered, inter alia, (i) the approach which Counsel
                submitted that the Royal Court should take on applications to strike out derivative and
                double derivative actions generally, including the correct evidential approach for the
                Court to take on such applications, (ii) the current state of the company law of Guernsey
                on the rule in Foss v Harbottle relating to the conduct of the internal affairs of Guernsey
                companies, the law relating to ratification by shareholders of decisions of the boards of
                directors of Guernsey companies and legal issues relating to the meaning and effect of
                Rule 3.01 of the Guernsey Authorised Closed Ended Investment Scheme Rules (“the
                Scheme Rules”) and of section 298 of the Companies (Guernsey) Law, 2008, which is
                the latest consolidation of Guernsey company law statutes. In connection with the
                customary or common law relating to companies within the Bailiwick I was reminded
                by Advocate Le Tissier for the Plaintiff that Lieutenant Bailiff Southwell QC had said in
                Flightlease Holdings (Guernsey) Ltd v Flightlease (Ireland) Ltd (2009) that

                             “the concept of a limited company was imported into Guernsey law from
                             English law [and] … since its importation into Guernsey in the late 1880s, it
                             has naturally been appropriate to look to English law to help in the solution
                             of problems concerning companies which are not covered by Guernsey
                             statutes or customary law.”

                I respectfully agree and propose to take the same approach on this application.

           11. It is important for me at the outset to state, as Mr Le Tissier also submitted, that,
                whatever the correct test may be for me to apply on the Defendants’ strike out
                application, I should be careful not to conduct a mini-trial or to allow the application to
                become satellite litigation. I believe that that object was attained during the long oral
                hearings and in preparing this judgment I have re-read all the transcripts and the long
                and helpful written submissions of Counsel, together with the affidavit evidence lodged
                for both sides to the application and am satisfied that I have neither conducted a mini-
                trial nor allowed satellite litigation to arise. I am particularly aware as well that I heard
                the application at a very early stage of the proceedings, before any Defences have been
                lodged, and before disclosure of documents and lodging of witness statements or, with
                the exception of a report from Mr Graham Harrison for the Plaintiff filed in late
                November 2011, upon which much submission was made, before any experts’ reports
                have been prepared; this is an important point for me to bear in mind throughout this
                judgment since experience tells us that much could change after disclosure of
                documents.

           12. Both sides clearly, and I think understandably, regard the application as extremely
                important to them and, bearing in mind the financial extent of the GORE Transaction,



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                they have committed large resources in terms of time and money towards the arguments
                presented to the Court for and against the application. But I hope they will forgive me if
                in this judgment I do not do full justice to all the arguments of Counsel, which proved
                most helpful to me; for I am conscious that I should only determine those questions
                which I consider necessary for me to decide in order for me to decide whether or not to
                strike out the Cause. The original Cause was amended in draft on two later occasions
                during the oral hearings and in this judgment all later references to the Cause should be
                treated as being to the second draft Cause, which was presented to me by Mr Le Tissier,
                according to my note, on 12 October 2011, and upon the basis of which all Counsel
                were happy to proceed for the purposes of the application.

           13. Before turning to an analysis of the Cause I must decide two important questions which
                will partly govern the way in which I approach the allegations of breach of duty and
                negligence in the Cause.

           14. First, does the full rigour of the rule in Foss v Harbottle apply in Guernsey or, as the
                Plaintiff contends, has the rule been relaxed here, as it has been in England as a result of
                section 260(3) of the Companies Act 2006, so as to allow derivative actions where the
                alleged cause of action of a company is in negligence or breach of duty and where there
                is no element of actual or equitable fraud alleged?

           15. In my judgment, the rule applies in Guernsey as it did in England before the change in
                the law brought into English law by section 260(3). My reasons are these. First,
                although the substantive and procedural changes brought into English law by sections
                260 to 263 by the 2006 Act must have been available to the States and the Law Officers
                when the proposals which led to the 2008 Law were before the States, no proposal was
                made for similar changes to be introduced in our law by the 2008 Law, where no
                mention appears of either the rule in Foss v Harbottle or derivative actions and no
                equivalent of sections 260 to 263 appear at all. Secondly, although I was reminded by
                Mr Le Tissier of the guidance of the Court of Appeal in Morton v Paint (1996) 21 GLJ
                61 and of some criticism of the limited effect, in particular, of the fraud on the minority
                exception to the rule in textbooks and learned articles and in the Report of the Law
                Commission which led to the English statutory changes, I was not satisfied either that
                this criticism was entirely widespread or that it was clear which way Guernsey law
                should proceed, taking into account Lord Lowry’s five “aids to navigation” in the
                House of Lords case of C v Director of Public Prosecutions [1996] 1 AC 1. For, after
                all, the Plaintiff only seeks the inclusion into Guernsey law of the substantive change
                made in section 260(3) and not the detailed procedural changes contained in sections
                261 and 263, in particular, which impose a preliminary stage, in two parts, where a
                Plaintiff for derivative relief is obliged to require the permission of the High Court to
                bring the derivative action before the action can be instituted. The procedural changes
                are very detailed and complex. In my judgment, such a limited inclusion of section
                260(3) into our law cannot be justified. I consider that such a change would require an
                amendment of the Companies Law and that I should introduce such a change by some
                sort of judicial law-making. I add that I also agree with the submission of Mr Davies
                relating to Morton v Paint which appears at paragraph 7.5 of his Outline of Applicable
                Law.

           16. On the topic of the aids to navigation towards a change of the law, I am doubtful
                whether or not the proposal for which Mr Le Tissier contends in this part of his case
                would find favour with the States and so I am wary of imposing my own remedy by
                importing either section 260(3) alone or the entire English code on derivative actions in
                sections 260 to 264 of the Companies Act 2006 and caution must, as I see it, prevail
                since the States have legislated in the field of company law soon after the passing of the
                2006 Act leaving the rule in Foss v Harbottle untouched. It might also well be said that
                to accede to the Plaintiff’s suggested change to our law I would be setting aside a



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                fundamental doctrine of Guernsey company law. Finally, paragraph 7.12 of Mr Davies’
                Outline of Applicable Law gives, as he there submitted, an idea of the wide consultation
                process which was apparently gone through before the Companies Law 2008 was
                brought into Guernsey’s statute law. In my judgment, any change in our law to replace
                the rule in Foss v Harbottle so as to allow cases in negligence or breach of duty as a
                new exception to the rule must be a matter for the States to consider, and not for me to
                decide is necessary or appropriate.

           17. If I were wrong on this point, I would not have been able to agree that only section
                260(3) had become part of Guernsey law some time before the passing of the
                Companies Law 2008 but would have been forced to conclude that it was a case of ‘All
                or Nothing’ and that all the statutory code had then come into our law. As the
                Defendants rightly submit, the new English statutory code relating to the bringing of
                derivative actions is “a composite whole”.

           18. Secondly, I must rule on the submissions of the parties about the correct test to apply on
                the strike out application.

           19. The Plaintiff seemed to me to be contending that all that he needed to establish was that
                his case as set out in the Cause was an arguable case and that therefore, in accordance
                with established law in Guernsey on strike out applications under what is now rule 52 of
                the Royal Court Civil Rules 2007, he should be permitted to have a full trial of the
                derivative action on behalf of Tetragon against the Executive Directors and the
                Independent Directors on all the different bases on which his case is put in the Cause.
                He cited a large amount of cases in support of the arguable test, but, understandably
                since this is the first derivative action known to have been started in the Royal Court,
                none of them relates to a derivative action. Furthermore, little of Mr Jackson’s affidavit
                evidence dealt with the facts leading up to the Board meetings on 29 July 2010,
                including the negotiations which the Second Defendant largely conducted leading to the
                term sheet signed on 18 May 2010 and the later negotiations which produced
                amendments to the terms on the term sheet.

           20. In support of the application to strike out the Defendants submit that, in accordance with
                the approach taken by Wigram V.-C in Foss v Harbottle itself, the Court of Appeal in
                Prudential Assurance Co. Ltd v Newman Industries No. 2 [1982] Ch. 204 and Knox J.
                in Smith v Croft No. 2 [1988] Ch. 114 the Plaintiff must first establish that he has a
                prima facie case on all or any of the seven alleged causes of action pleaded in the Cause
                and, to the extent that there is such a prima facie case established, that any of such
                causes of action come within an exception to the rule in Foss v Harbottle – see also
                paragraph 17 of the judgment of Briggs J. in Universal Project Management v Fort
                Gilkicker. Accordingly, the Defendants argue that the usual demurrer approach to strike
                out applications on the ground that a Cause does not disclose a reasonable cause of
                action is not to correct test to apply when a defendant applies in the Royal Court to
                strike out a derivative action and drew my attention to the helpful list of six general
                principles governing derivative actions provided by Lord Justice Peter Gibson in Barrett
                v Duckett [1995] BCC 362, which I think it would be helpful to include at this stage.

                             “The general principles governing actions in respect of wrongs done to a
                             company or irregularities in the conduct of its affairs are not in dispute:

                             1. The proper plaintiff is prima facie the company.

                             2. Where the wrong or irregularity might be made binding on the company by
                             a simple majority of its members, no individual shareholder is allowed to
                             maintain an action in respect of that matter.




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                             3. There are however recognised exceptions, one of which is where the
                             wrongdoer has control which is or would be exercised to prevent a proper
                             action being brought against the wrongdoer: in such a case the shareholder
                             may bring a derivative action (his rights being derived from the company) on
                             behalf of the company.

                             4. When a challenge is made to the right claimed by a shareholder to bring a
                             derivative action on behalf of the company, it is the duty of the Court to
                             decide as a preliminary issue the question whether or not the plaintiff should
                             be allowed to sue in that capacity.

                             5. In taking that decision it is not enough for the Court to say that there is no
                             plain and obvious case for striking out; it is for the shareholder to establish
                             to the satisfaction of the Court that he should be allowed to sue on behalf of
                             the company.

                             6. The shareholder will be allowed to sue on behalf of the company if he is
                             bringing the action bona fide for the benefit of the company for wrongs to the
                             company for which no other remedy is available. Conversely if the action is
                             brought for an ulterior purpose or if another adequate remedy is available,
                             the Court will not allow the derivative action to proceed.” [The highlighting
                             is mine.]

           21. I accept the Defendants’ submissions as being the correct test on their application to
                strike out the Cause. In my view, the valiant contentions of Mr Le Tissier simply do not
                apply to an application to strike out a derivative action where very different
                considerations apply than in an orthodox strike out application and the two-stage prima
                facie test is so long-standing under common law as really to preclude much argument to
                the contrary, absent statutory provision like those in sections 261 and 263 of the
                Companies Act 2006, but even there a prima facie test of a special nature is required to
                be satisfied by a claimant seeking relief in a derivative action – see especially
                Prudential Assurance Co. Ltd v Newman Industries No. 2 at pp. 211A-B and 221H-
                222B for further details of the reasoning of the Court of Appeal. The same test has also
                been adopted recently in the Grand Court of the Cayman Islands by Foster J. in Renova
                Resources v Gilbertson [2009] CILR 268, where the learned judge, rightly in my view,
                said that a prima facie case was more than a good arguable case – paragraph 33. At
                paragraph 35 he provided a further analysis of a prima facie case, with which I
                respectfully agree:

                             “35 The purpose of requiring the plaintiff to obtain leave to continue the
                             derivative action, as I understand it, is to prevent the expense and time of
                             (and to protect the defendants against) vexatious or unfounded litigation
                             which has little or no prospect of success or which is clearly brought by an
                             aggrieved shareholder for his own reasons rather than in the interests of the
                             company. The phrase “prima facie” has various shades of meaning but
                             literally means “at first sight.” Given that there is not to be a mini-trial of the
                             plaintiff’s case, it seems to me that I must form a view of the plaintiff’s case
                             based on my first impressions, having regard to my assessment of all the
                             evidence before me, including that submitted by the defendants. For the
                             plaintiff to obtain leave to continue with the action, I consider that I must be
                             satisfied in the exercise of my discretion that its case is not spurious or
                             unfounded, that it is a serious as opposed to a speculative case, that it is a
                             case brought bona fide on reasonable grounds, on behalf of and in the
                             interests of the company and that it is sufficiently strong to justify granting
                             leave for the action to continue rather than dismissing it at this preliminary
                             stage.”




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           22. I now turn back to the facts, which are largely agreed. There may be an element of
                overlap between the summary included above, but I have decided to give as full a recital
                of the facts so that the appropriate test in relation each part of the Cause can be
                addressed against the background of the full facts, in so far as it has been possible at this
                early procedural stage of the proceedings. I shall do so partially by reliance on the
                Defendants’ Recap Note of the first two days of the oral hearing, i.e. 12 and 13 October
                2011, and their Remainder of the Facts document which completed their analysis of the
                facts. I have found these documents particularly helpful, but I have also checked the
                central documents to ensure that the references are accurate and I have removed, I
                believe, all comments from the Defendants’ Notes which are not strictly factual.

           23. In the past decade, the Plaintiff and the Executive Directors have collaborated in two
                main business ventures. First, in 2002, they founded Polygon and the Polygon Global
                Opportunities Master Fund. As that fund grew, they built up business in London and
                New York and elsewhere. They did so through two subsidiaries of the fund’s
                investment manager Polygon Investments Limited (“PIL”). In 2005, they founded the
                Seventh and Eighth Defendants,Tetragon Financial Group Limited (“TFG”) and
                Tetragon Financial Group Master Fund Limited (the “Master Fund”) (together, Tetragon
                or the “Fund”) and also its investment manager, Tetragon Financial Management
                (“TFM”). Tetragon is a closed-ended investment company under the Protection of
                Investors (Bailiwick of Guernsey) Law, 1987. It is managed on a day to day basis by
                TFM under the terms of an investment management agreement (the “IMA”), to which I
                shall refer below.

           24. In 2008, the Plaintiff was asked by The Executive Directors to resign from the Polygon
                manager. The Plaintiff agreed to ‘exit his interests’ in Polygon in favour of The
                Executive Directors but remained in the Tetragon business and became a director of the
                Fund and continued as a member of TFM’s Investment Committee.

           25. In 2009, a related-party transaction took place, which was referred to as the “LCM
                Transaction”, and to which I shall refer later.

           26. In 2010, TFM considered a second related-party transaction, the GORE Transaction.
                The GORE Transaction was a related-party transaction because of Polygon’s
                participation in the joint venture. The First and Second Defendants were interested in
                the GORE Transaction by virtue of their ownership of Polygon; so was the Plaintiff
                (though his interest was by then a declining economic interest).

           27. Under the terms of the IMA, TFM had two options where a significant related-party
                transaction was under consideration. It could either submit it to the board of Tetragon
                and obtain approval from a majority of the directors not interested in the transaction, or
                it could obtain a fairness opinion from a recognised bank or firm. In this case, it is
                common ground that TFM did both. A fairness opinion was obtained from Houlihan
                Lokey, to which I refer in detail below, and approval was sought and obtained at the
                board meeting on 29 July 2010 from all the Independent Directors.

           28. At that time, Tetragon’s Board comprised Tetragon’s three founders, the Plaintiff and
                the Executive Directors, and the Independent Directors. Mr Ward had become an
                Independent Director on 30 April 2010 in place of Mr Olesky.

           29. The affidavit evidence from the Defendants shows that the Independent Directors are
                experienced professional men and that the purpose of their appointment was to protect
                the interests of non-voting shareholders in TFG. Two of them are Guernsey residents,
                one is English and the other is a United States citizen. The Independent Directors were
                separately advised by US lawyers Simpson Thacher and by Carey Olsen in relation to



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                     the GORE Transaction and Tetragon was represented by US lawyers Cravath Swaine &
                     Moore and by Ogier.

           30. The Independent Directors swore affidavits confirming that they were alive to the
                     interests of the Executive Directors in the GORE Transaction. The clear effect of this
                     evidence is that in the knowledge that the Executive Directors were interested through
                     their interests in Polygon in the GORE Transaction, and with the benefit of independent
                     legal advice in the US and Guernsey, and with the benefit of a fairness opinion from
                     Houlihan Lokey, all of the Independent Directors voted in favour of the GORE
                     Transaction. The Plaintiff also accepts that Independent Directors acted at all material
                     times in good faith; there is no allegation against the Independent Directors which is
                     based on actual or equitable fraud or breach of fiduciary duty.

           31. It also appears that the Plaintiff and all the other members of the Board, i.e. the
                     Executive Directors and the Independent Directors, received the same documents and
                     electronic materials in the run-up to the board meeting held on 29 July 2010.



         The Structure of Tetragon

                                   a. Tetragon’s structure diagram
          Reade              Alexander      Paddy Dear                                              Reade            Alexander       Paddy Dear
          Griffith            Jackson                                                               Griffith          Jackson


          40%             40%         20%                                                           40%        40%             20%




                                PCH                         HRW
                                                                                 Public investors                       PCH II
                                                         Holdings LLC

                                                                                                               100%
                     100% Voting                                                                               Voting
                     50% Income                              50% Income
                                                                          100% Income
                                                                                                                                             100%
                                                                                                                         TFG                 Voting


                                                TFM                        IMA




                                                                                                                Master Fund




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           32. The Tetragon structure diagram, which is a useful tool, was helpfully explained to me
                during Mr Davies’ oral submissions. I draw from those submissions and from the
                Recap Note itself for the following explanation.

           33. It is the Master Fund which makes investments; TFG’s only investment is in shares in
                the Master Fund and TFG feeds funds through to the Master Fund.

           34. Tetragon has ten voting shares, which are held by Polygon Credit Holdings II Limited,
                (“PCH II”), a Cayman Islands company, which is owned by the three founders, the
                Executive Directors and the Plaintiff. The Plaintiff and the Second Defendant each own
                40% and the First Defendant owns 20%. PCH II is not a Defendant in these
                proceedings, but Mr Davies accepted that, if the derivative action were not struck out,
                PCH II would have to be joined so as to be bound by any judgment after the full trial.

           35. Public investors hold TFG’s non-voting shares. Most of them hold through Euroclear
                and so their identity is not visible to Tetragon. In 2007, there was an IPO of 30 million
                non-voting shares which was over-subscribed. TFG’s shares are traded on the NYSE
                Euronext Amsterdam stock exchange. As a listed entity, TFG is subject to disclosure
                obligations, including as regards process and directors’ interests. At the time of the
                IPO, 70 million shares held by existing investors were exchanged into interests in the
                listed entity. Overall, the IPO concerned some U.S.$1.35 billion investor funds, new
                and existing. Mr Côté refers to the IPO in this first affidavit at paragraph 22.

           36. Following the IPO, Tetragon’s website has contained all of Tetragon’s up-to-date
                disclosures. What is now available to prospective investors is real-time disclosure on
                the website – paragraph 48 of Mr Côté’s first affidavit. TFM, the investment manager,
                is a Delaware limited partnership. TFM manages Tetragon’s investments in return for a
                flat fee of 1.5% of Tetragon’s net asset value, plus a 25% performance fee on any
                increase in net asset value above a hurdle rate (which at the time of the IPO was
                approximately 8% and which fluctuates based on LIBOR).

           37. 50% of the economics in TFM are owned by a Delaware corporation called HRW
                Holdings, which is owned in turn by David Wishnow, Michael Rosenberg and Jeffrey
                Herlyn. Each of them swore affidavits supporting the position of Tetragon on the strike
                out application. Mr Wishnow’s relevant financial interests are in TFM, and he is also
                (like Mr Rosenberg and Mr Herlyn) a non-voting shareholder in Tetragon. His view,
                having participated in the negotiation of the GORE term sheet, and having witnessed
                and supported the presentation of the transaction to Tetragon’s board, is that the GORE
                Transaction was in Tetragon’s interests.

           38. Messrs. Wishnow, Rosenberg and Herlyn have no interest in Polygon. They are
                members of TFM’s Investment and Risk Committees and they have not been joined as
                Defendants in these proceedings; it is clear that they thought the GORE Transaction
                was in Tetragon’s best interests.

           39. The balance of 50% of the economics in TFM is beneficially owned by the Second
                Defendant, the Plaintiff and the First Defendant through another Polygon Cayman
                Islands entity, PCH. PCH holds all the voting shares in TFM, and 50% of the
                economics.

           40. In voting terms, the Second Defendant and the Plaintiff each has a 40% interest in PCH,
                and the First Defendant 20%. In economic terms, because of the 50% economic interest
                which PCH has in TFM, the Second Defendant and the Plaintiff each have a 20%
                interest and the First Defendant has a 10% interest in TFM.

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           Polygon’s structure diagram



                                                          Alexander            Reade          Paddy Dear
                                           Non-voting      Jackson             Griffith
                                            declining
                                           economic
                                             interest




                                                          PIL                             Polygon Holdco

                                     100% Voting                        100% Voting
                                     100% Income                        100% Income




                                       PIP                               PIP
                                     LP (U.S.)                        LLP (U.K.)



               Polygon Multi-                                                         New Polygon
               Strategy Fund                                                            Funds




                                       Polygon Shared Infrastructure



           41. TFM sources its infrastructure services from two Polygon entities shown in the Polygon
                diagram (i.e. staff, offices, equipment and computer systems), PIP LP (U.S.) and PIP
                LLP (U.K.). PIP stands for Polygon Investment Partners. PIP LP is a Delaware limited
                partnership and PIP LLP is an English limited liability partnership, and they provide
                infrastructure services in New York and in London respectively.

           42. PIP LP and PIP LLP are owned by Polygon Investments Limited, PIL, and in turn PIL is
                shown as being owned by the Plaintiff and the Executive Directors. Since the
                breakdown in relations between the Plaintiff and his two co-founders back in 2008, the
                Plaintiff ‘exited’ his interest in PIL, leaving the Executive Directors, I was told, by the
                end of 2012 as the sole owners of PIL and the service providers. PIL was the original
                Polygon business (which is sometimes referred to as “old Polygon”).

           43. To the right of PIL on the Polygon structure diagram is Polygon Holdco (which is
                sometimes referred to as “new Polygon”). The Plaintiff has no interests in Polygon
                Holdco. There is a distinction between old Polygon, where the Plaintiff had a residual
                declining interest, and new Polygon because the 13% Polygon equity interest in the
                GORE Transaction is on the Polygon Holdco (new Polygon) side, and the provision of
                services to GORE, is on the PIL (old Polygon) side.

           44. As is required by company law, there is a set of Articles for each of TFG and the Master
                Fund. As the provisions mirrored each other, it was agreed that the submissions of
                Counsel would relate to the Articles of TFG.




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           45. Article 6(a) states that TFG’s share capital is U.S.$1 million divided into ten “voting
                shares” and 999,999,990 unclassified shares. Article 6(b) provides:

                             “Unclassified shares may be issued as Non-Voting Shares.”

                All ten Voting Shares have been issued and all of them are owned by PCH II. It is also
                common ground that more than 100 million non-voting (unclassified) shares have been
                issued.

           46. Dividends are dealt with at Articles 106 and 107:

                             “The Directors may, upon the recommendation of the Manager, declare
                             periodic dividends from time to time in respect of Non-Voting Shares, in
                             accordance with the respective rights of the Members, subject to the approval
                             of the Voting Shares by Resolution… No dividends shall be declared or paid
                             on the Voting Shares.”

           47. By Article 138, on a winding up the maximum that PCH II could realise is less than one
                US cent.

           48. All the voting shares carry the right to vote. Article 12 provides that the non-voting
                shareholders can only vote where the resolution at issue will, if passed, adversely affect
                the rights attaching to the non-voting shares.

           49. So, as the Defendants accurately put it, the voting shares afford control but with no
                economic interest, and the non-voting shares offer economic participation but no
                control. This is the structure into which non-voting shareholders in TFG (and persons
                acquiring interests in such shares on the Amsterdam Stock Exchange) enter.

           50. I shall now address Articles concerning the Board. The provisions concerning the
                Board begin at Article 80 which provides that the number of directors shall be seven
                unless otherwise determined by Resolution of the Voting Shares. At all times up until
                the approval of the GORE Transaction on 29 July 2010, there was a board of seven
                directors. The Plaintiff was removed as a director of Tetragon on 24 January 2011 and
                thereafter there have been six directors.

           51. Article 81 provides that

                             “[E]xcept as provided not less than a majority of Directors shall be
                             Independent Directors.”

           52. Article 83 is the general provision that the business of the company shall be managed by
                the directors, but

                             “subject … to any directions given by Resolution of the holders of Voting
                             Shares”.

           53. Article 91 is a very important Article dealing with directors’ interests. It states:

                             “Provided that he has disclosed to the Directors the nature and extent of any
                             interests of his in accordance with the Companies Law, a Director,
                             notwithstanding his office: (a) may be a party to, or otherwise interested in,



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                             any transaction or arrangement with the Company or in which the Company
                             is otherwise interested”.

           54. Article 91 (c) provides that a director

                             “shall not … by reason of his office, be accountable to the Company for any
                             benefit which he derives from any such office … or from any such transaction
                             or arrangement … and no such transaction or arrangement shall be void or
                             voidable on the ground of any such interest or benefit or because such
                             Director is present at or participates in the meeting of the Directors or a
                             committee thereof that approves such transaction or arrangement, provided
                             that [the interest] and the material facts as to the interest … have been
                             disclosed or are known to the Directors … and the Directors … in good faith
                             authorise the transaction or arrangement”.

           55. Article 91 (c) (ii) provides that the approval of the board must include the votes of a
                majority of the directors who are not interested in the transaction.

                             “or such transaction is otherwise found by the Directors (before or after the
                             fact) to be fair to the Company as of the time it is authorised”.
           56. Both those routes were followed in relation to the GORE Transaction. The GORE
                Transaction was approved by a majority of the directors not interested in the transaction
                at the board meeting on 29 July 2010, i.e. by all four Independent Directors, and on 7
                June 2011, the then directors, who by then did not include the Plaintiff, resolved that the
                GORE Transaction was fair to Tetragon.

           57. Article 92(a) provides:

                             “For the purposes of the preceding Article: a general notice given to the
                             Directors that a Director is to be regarded as having an interest of the nature
                             and extent specified in the notice in any transaction or arrangement with a
                             specified person or class of persons shall be deemed to be sufficient
                             disclosure of his interest in any such transaction or arrangement”.

           58. Article 93 provides that

                             “the affirmative vote of five Directors shall constitute a resolution of the
                             Directors”.

           59. Article 94 provides that

                             “The quorum for the transaction of the business of the Directors shall be
                             five”.

           60. Article 99 is also an important article and provides that directors can vote, and have
                their vote counted, on transactions they are interested in as long as they have disclosed
                their interest in accordance with the articles and the Companies Law.


           61. Broadly speaking these provisions reflect sections 162, 166 and 167 of the Companies
                Law regarding disclosure of interests and entitlement to vote. Section 162 provides that
                immediately after becoming aware of the fact that he is interested in a transaction or
                proposed transaction with the company a director must make disclosure to the board of
                directors on either of the two alternative bases set out in paragraphs (i) and (ii) of the


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                section.

           62. The Recap Note, with the definitions used in this judgment, provided as follows:

                             “At the time the GORE Transaction was considered, the Board consisted of
                             seven directors, of whom at least four had to be independent. Five directors
                             are required, first for an affirmative vote, secondly for a quorum, and thirdly
                             to pass a written resolution. The point to note here is the central role played
                             by the Independent Directors in the management of the company. As a
                             practical matter, the relevant business of the company cannot be conducted
                             without the participation of at least two of the Independent Directors and no
                             resolutions are going to be passed without the support of at least two. Under
                             Article 91, the power to decide whether a related-party transaction is to be
                             approved rests on the route followed on 29 July 2010: with the directors who
                             had no interest in the underlying transaction. In the case of GORE, that was
                             the Independent Directors. The minimum requirement for approval was the
                             votes of three of the four Independent Directors, i.e., majority Independent
                             Director approval. On the other route, where the directors additionally
                             needed to determine the fairness of the transaction to the company, (i.e. the
                             route subsequently taken on 7 June 2011), the minimum requirement for
                             approval was again the three of the four Independent Directors (if five votes
                             from the then six directors was to be achieved).”

           63. As I have mentioned, the Cause is concerned with a decision reached by the Board,
                including each of the four Independent Directors, first on 29 July 2010 and then again
                on 7 June 2011. After a period of negotiation, which seems to have commenced in
                about January/February 2010, with the benefit of independent legal advice from
                Simpson Thacher and Carey Olsen, considerable additional materials were provided to
                them for them to review and after considering a fairness opinion from Houlihan Lokey,
                obtained by TFM under the terms of the IMA, and after questioning Houlihan Lokey
                during the board meeting, the Independent Directors decided on 29 July 2010 that the
                GORE Transaction should be approved.
         The Investment Management Agreement

           64. The IMA is an agreement governed by New York law. The first and second parties to
                the IMA are the Seventh and Eighth Defedants, Tetragon. The fourth party is TFM, the
                Investment Manager, which was then known as Polygon Credit Management LP, but
                has since changed its name to Tetragon Financial Management LP, i.e. TFM. Details of
                the provisions of the IMA are pleaded in paragraphs 27 and 28 of the Cause.

           65. By Clause 2 TFM was appointed as exclusive investment manager to the Funds (Clause
                2 (a)). Clause 2 (b) provides:

                             “Subject to Clause 4 hereof, the Manager shall have full power and
                             discretionary authority on behalf of and for the account of the Funds to
                             manage and invest cash and other assets of the Funds pursuant to and in
                             accordance with the investment objective of the Funds”.

           66. Clause 4 (a) of the IMA provides that

                             “the Manager shall have the authority … to determine the investment strategy
                             to be pursued in furtherance of the investment objective of the Funds”.



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                It is common ground that Tetragon’s investment objective is and always has been “to
                generate distributable income and capital appreciation”, which I described during oral
                argument as a very broad objective indeed.

           67. Clause 4 (c) provides:

                                 “In carrying out its duties under this Agreement, the Manager shall have due
                                 regard to the investment objective to generate distributable income and
                                 capital appreciation”.

           68. Much mention was made in argument of Clause 4(d) of the IMA, which provides as
                follows:

                                 “The Manager is authorized to enter into transactions on behalf of the Funds
                                 with persons who are Affiliates of the Manager”. (“Affiliates” is defined by
                                 reference to the U.S. Securities Act and it was not disputed that for these
                                 purposes Polygon would be an “Affiliate of the Manager”.)

           69. Under clause 4(d) TFM is authorised to enter into transactions

                                 “provided that in connection with any such transaction that exceeds $5
                                 million of aggregate investment the Manager informs the Boards of Directors
                                 of the Offshore Fund and the Master Fund and obtains either (i) the approval
                                 of a majority of the members of the Boards of Directors that do not have a
                                 material interest in such transaction (whether as part of a board resolution
                                 or otherwise) or (ii) an opinion from a recognized investment bank, auditing
                                 firm or other appropriate professional firm substantively to the effect that the
                                 financial terms of the transaction are fair to the Funds from a financial point
                                 of view”.

           70. So, where a related-party transaction might exceed US $5 million, TFM may either
                obtain board approval from a majority of the disinterested directors, or itself obtain a
                fairness opinion, or, as in this case, both.

         The LCM Transaction

           71. I was introduced by Mr Davies in his oral submissions on 12 and 13 October 2011 in
                more detail to the first related-party transaction into which Tetragon entered in
                November 2009, the LCM Transaction, under which Tetragon acquired an operating
                business. Previously it seems that Tetragon had been holding investment securities,
                which primarily were CLOs, collateralised loan obligations. The LCM Transaction is
                not directly at issue in these proceedings but a number of its features were similar to
                those of the GORE Transaction. The Plaintiff ultimately voted in favour of the LCM
                Transaction at the Board meeting when it was approved by all of the directors.

           72. The similar features were shown to have included these:

                           i.       Each transaction represented, for Tetragon, the acquisition of an interest in
                                    an operating business.

                           ii.      Each transaction involved related-party aspects, with Polygon receiving
                                    equity in exchange for the provision of infrastructure and service at cost.




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                         iii.     A fairness opinion was obtained by TFM from the same provider,
                                  Houlihan Lokey.

                          iv.     TFM also submitted each transaction to Tetragon’s board for majority
                                  approval by those with no interest in it, who on each occasion were the
                                  Independent Directors.

                          v.      External US lawyers were retained for the Independent Directors.

                          vi.     During negotiations the Plaintiff on each occasion argued that the
                                  transaction was outside Tetragon's investment objectives.

           73. LCM was owned by Calyon, which is the investment banking arm of the Credit
                Agricole group. While it was part of Calyon, LCM had used Calyon’s infrastructure
                including offices, non-investment staff (i.e., legal, compliance, financial control,
                computer systems and technology) in managing the loan assets. If Tetragon acquired
                LCM from Calyon, that infrastructure would no longer be available to LCM from
                Calyon and so LCM would need either to develop its own ‘infrastructure capability’ or
                source it from a third party.

           74. When the LCM acquisition opportunity arose, the Second Defendant and the First
                Defendant proposed that the same Polygon entities should make infrastructure services
                available to LCM at cost, in exchange for the right to receive a percentage of LCM’s
                profits.

           75. Because Polygon was owned by the Executive Directors, and because the Plaintiff had a
                continuing but declining interest (see above), the related-party provisions of the IMA
                came into play. As with the GORE Transaction, TFM both obtained Board approval (on
                3 November 2009) and obtained a fairness opinion which was submitted to the Board as
                one part of the materials to be considered by them in deciding whether or not to enter
                the LCM Transaction.

           76. As with the GORE Transaction, external US lawyers Simpson Thacher were retained to
                assist the Independent Directors.

           77. In the event, all of the members of Tetragon’s Board, including the Plaintiff, voted in
                favour of the LCM Transaction, but originally, as I have mentioned, the Plaintiff had
                opposed it. In a letter dated 20 October 2009 to the Board, the Plaintiff set out his
                objections “I write to express my strong opposition. It is wrong to divert 16.5% of the
                operating profits from LCM to two entities that are owned by Reade Griffith and Paddy
                Dear.” The Plaintiff also complained that the proposed investment represented a
                significant departure from Tetragon’s investment objectives. In his letter the Plaintiff
                accepted that the investment mandate was broad but said that he had some doubts as to
                whether it was broad enough to encompass the purchase of an operating business.

           78. Another complaint in common with the GORE Transaction was the Plaintiff’s allegation
                of what he called ‘double-dipping’, i.e. that Tetragon was unnecessarily paying two sets
                of fees. He alleged:

                                “The Related-party Transaction cannot withstand scrutiny. It is double
                                dipping and an unlawful diversion of profits to a related-party. Our
                                shareholders are essentially being charged twice for the same services by a
                                related-party. Any shareholder or regulator who heard about this will be
                                outraged for very good reason.”


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                But on 3 November 2009 the Plaintiff voted in favour of Tetragon entering the LCM
                Transaction.

         The GORE Transaction

           79. The negotiations which led to Polygon and Tetragon entering into the GORE
                Transaction began in about January/February 2010. To a large extent the Second
                Defendant conducted those parts of the negotiations which were with the ‘GORE
                Founders’. Later, after the original version of the Term Sheet, which comprised the
                detailed terms which had been negotiated, had been prepared, which was by 18 May
                2010, and especially between about 16 June 2010 and 28 July 2010, the proposed
                transaction was reviewed by members of the Board before the Board meeting was held
                on 29 July 2010. During that period the Plaintiff raised objections to the proposed
                GORE Transaction and was represented by lawyers, The Nelson Law Firm, Fladgate
                LLP in London and Appleby in Guernsey.

           80. There can, in my judgment, be absolutely no doubt that each of the Plaintiff and the
                Independent Directors of Tetragon had the opportunity to use, and did use, the services
                of skilled lawyers during the period of negotiations and that the lawyers for the parties
                reviewed all aspects of the proposed transactions most carefully.

           81. It is also noteworthy, I think, that no allegations are made by the Plaintiff that any
                negligent advice was given to the Independent Directors by either Simpson Thacher or
                Carey Olsen or to Tetragon or TFM by either Cravath Swaine & Moore or Ogier. So,
                the Plaintiff’s derivative action is directed against the Executive Directors and the
                Independent Directors, and not against either TFM or Mr Wishnow, Mr Herlyn or Mr
                Rosenberg of TFM or Houlihan Lokey or any of the lawyers and other advisers used by
                TFM, the Independent Directors or Tetragon.

           82. The three real estate specialists at the heart of the proposed GORE Transaction, John
                Carrafiell, Sonny Kalsi and Fred Schmidt, (together “the GORE Founders”,) had
                previously worked at Morgan Stanley. The Second Defendant knew Mr Carrafiell
                personally and all members of the Investment Committee of TFM met the GORE
                Founders in February 2010.

           83. The Plaintiff’s first impression of the proposed GORE Transaction appears to have been
                a favourable one. In his e-mail dated 25 February 2010 and sent by him to the other
                members of the Investment Committee of TFM he set out his reaction:

                             “It could be an exciting deal to do. … I think that these are exactly the type
                             of deals that Tetragon should be looking at.” In this e-mail he added: “From
                             TFG’s point of view a big stake in there [sic] firm is exciting.”

         84.     The GORE Transaction was referred to its Board for approval because of Polygon’s
                 participation and because it was recognised that the Second Defendant and the First
                 Defendant owned Polygon. This was the same review and approval process as had
                 been followed for the LCM Transaction.




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           85. The first communication from TFM to the Board in connection with the approval was an e-
                 mail from Mike Adams, Associate Counsel for TFM, to Tetragon’s Board dated 22 June
                 2010. The Investment Committee of TFM had met on 18 June 2010 and, whilst at that
                 meeting the Plaintiff had objected to the proposed GORE Transaction, the majority of the
                 committee had agreed with it. Attached to Mr Adams’ e-mail were:

                           i.    a letter from the Second Defendant to the Board dated 18 June 2010,

                          ii.    a confidential presentation from TFM to the Directors,

                         iii.    extracts from the IMA and the articles of both Tetragon companies, the Term
                                 Sheet, and

                          iv.    a business plan.

           86. The Second Defendant’s letter of 18 June 2010 included the following:

                         “Tetragon has continually sought to realise TFG's potential to become a broad-based
                         financial services firm, capable of pursuing attractive investment opportunities.”

                 The Second Defendant then set out his belief that Tetragon

                         “can function not only as an investment holding company, but also as a company.

                 He also referred to the LCM transaction as a

                         “… first natural step in realising its potential ... receives very positive feedback from
                         shareholders and analysts.”

                 He also considered that

                         “... there’s an opportunity to further fulfil TFG's potential”

                 and he said that TFM was very excited to present a proposed real estate joint venture, which
                 he believed would build on recent success.

           87. The Second Defendant continued:

                         “Due to the fact that various Polygon entities will be involved in the Transaction
                         (including entities owned by Paddy and myself as well as owned by Paddy, Alex and
                         myself), the three of us may be considered to have an “interest” in the proposed
                         Transaction.” “…As you will recall under the articles and the IMA, these sorts of
                         related party transactions need to be approved by the boards, including a majority of
                         the disinterested directors, or the directors need to find that the affiliate transaction is
                         fair to each of the companies, or be otherwise authorised.”

                 In the final paragraph of his letter the Second Defendant said:

                         “... there will be a detailed discussion of the related party matters. We understand the
                         board should take whatever time the directors consider is necessary to evaluate the
                         terms of the related party aspects of the joint venture and to consult with outside
                         advisers as appropriate.”

           88. The presentation from TFM to the Board which was attached to Mr Adams’ e-mail
                 summarised the principal terms of the GORE venture; the headings used included: “Why

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                 Real Estate”, “Why Green Oak”, “Why with Polygon”, etc. The summary paragraph of the
                 presentation stated:

                         “Given that Polygon and the other infrastructure providers are related parties to TFG
                         and TFGMFL it is important that the relationships of the joint venture partners be
                         thoroughly disclosed and properly thought through, and we look forward to working
                         with the Boards of Directors on that aspect of the transaction”.

           89. The GORE Term Sheet, a document upon which great attention was given during the
                 argument of Counsel, was also attached to Mr Adams’ e-mail of 22 June 2010. The Term
                 Sheet is helpfully pleaded in depth in paragraphs 37 and 43-50 of the Cause.

           90. The parties to the Term Sheet were identified as:

                       i.    the three real estate professionals who were going to form GreenOak Real Estate,
                             i.e. the GORE Founders;

                      ii.    the Polygon holding company which was going to receive an equity interest in
                             GORE and which was going to provide working capital for the joint venture;

                     iii.    the two Polygon “Infrastructure Providers”: the US and UK partnerships which
                             were going to participate because the joint venture would require an operational
                             centre and trading and support facilities; and

                      iv.    Tetragon which was going to provide working capital and a financing commitment
                             in exchange for an equity interest.

           91. The GORE Founders’ interest in the venture was described and it was stated that between
                 them they would own 77% of the joint venture vehicle. Polygon was to receive 13% and
                 Tetragon 10% and their interests were to be non-dilutable. The GORE Founders would also
                 receive a 3.6% interest in Polygon HoldCo. (There were forfeiture provisions if a GORE
                 Founder were to leave.)

           92. Under the heading “Options in TFG” the Term Sheet provided that the GORE Founders
                 would receive options on 3% of Tetragon’s shares at a strike price of US $5.50, vesting only
                 after five years. The shares were to be issued for cash. There was a further forfeiture
                 provision to the extent that a GORE Founder was not active in the business at the vesting
                 date of the options. Changes in Tetragon’s favour were negotiated to this aspect of the
                 GORE Transaction after the Term sheet was signed as shown in the Defendants’ Counsel’s
                 summary headed “Changes to the GORE Transaction post Term Sheet”. The negotiated
                 change was that the TFG options were only to vest after five years and following the GORE
                 Founders’ repayment of all working capital loans and were conditional on the GORE
                 Founders being actively involved in the management of the real estate business.

           93. The Term Sheet also provided that the GORE Founders would manage the venture, subject
                 to the Board which was to include one appointee from each of Polygon and Tetragon.
                 Reference was also made to an Infrastructure Services Agreement under which PIP LP and
                 PIP LLP were to provide operational, financial control, trade settlement, marketing, legal,
                 compliance, payroll and other infrastructural services to GORE at cost.

           94. Under the heading “Co-investment of TFG Master Fund” the Term Sheet provided that
                 Tetragon was to make available US $100 million which could be drawn by GORE for co-
                 investment purposes, subject to various constraints including a condition that the amount
                 drawn down in respect of any given investment programme could not be more than 9% of
                 the total equity contributed to that programme, and that those co-investments were on the

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                 best terms made available to any other investor in a given opportunity, which was referred to
                 in the proceedings as a “most favoured nation” clause.

           95. A further change was made to the proposed GORE Transaction after the Term Sheet was
                 signed to ensure that Tetragon did not find itself committed only to less attractive
                 investments, allowing it to choose (if it wished) to increase its participation in any
                 investment up to the maximum of 9%.

           96. The Term Sheet also provided that working capital loans were to be made by both Polygon
                 Holdco and Tetragon of US $10 million each.

           97. Under the heading “Time Commitments and Exclusivity” each GORE Founder agreed to
                 devote his whole time and attention to the business of GORE.

           98. Finally, there was a “Condition Precedent” set out in these terms in the Term Sheet, which
                 was signed by the Second Defendant on 18 May 2010, i.e. about ten weeks before 29 July
                 2010:

                         “The obligations of the Parties set forth in this Term Sheet shall be subject to
                         Tetragon obtaining the requisite approval from the Board of Directors of Tetragon.”

                 Accordingly, the Term Sheet acknowledged that its terms would not be binding unless and
                 until Tetragon Board approval was obtained.

           99. The “Exclusivity” and “Documentation/Binding Effect” section of the Term Sheet referred to
                 a 60-day exclusivity period in which an initial business plan was to be formally agreed
                 between the parties and if the initial business plan was not agreed within this period, the
                 Term Sheet “shall automatically terminate and no Party shall have any liability or
                 obligation to any other Party”. (This provision was not enforced by any party in the period
                 of the first 60 days of the GORE Transaction.)

         100. On 2 July 2010, Mr Adams circulated by e-mail to the directors of Tetragon a further
                 background presentation headed “GreenOak Real Estate Advisers”, which provided
                 information about the GORE Founders and their credentials and about the market
                 environment and also dealt with the TFM rationale underlying the proposed GORE
                 Transaction.

         101. Also on 2 July 2010, Mr Adams sent to the Board under separate cover a document
                 containing extracts from Tetragon’s IPO Prospectus, the Tetragon website, Tetragon’s 2009
                 annual report and various other materials relating to Tetragon’s investment objective and its
                 strategy, asset selection and uses of cash. Under the heading “Risk Factors” from the IPO
                 Prospectus the following extract appeared:

                         “The Issuer and the Master Fund have approved a very broad investment objective
                         and the Investment Manager will have substantial discretion when making investment
                         decisions.”

                 The Board were reminded of disclosure material about the ability of TFM to change the
                 investment  strategy and to expand asset classes and investment vehicles over time.

         102. On 6 July 2010 the Plaintiff wrote to the other members of the Tetragon Board expressing
                 his opposition to the proposed GORE Transaction. The letter is addressed to the Directors as
                 a whole, care of Gary Horowitz at Simpson Thacher, the US lawyers for the Independent
                 Directors. (Mr Horowitz was the partner advising the Independent Directors.)


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         103. The Plaintiff expressed his opposition to the proposed joint venture amongst Tetragon and
                 certain affiliates, and in the introduction he listed four specific complaints:

                       i.    First, that Tetragon should not be investing in real estate. The Plaintiff asserted
                             that: “My consent is required to change the general nature of Tetragon’s
                             business” and “I do not intend to provide my consent”.

                      ii.    Secondly, he referred to the track record of the GORE Founders.

                     iii.    Thirdly, he said: “The Price Tetragon is Paying is High; the Terms are Poor”. He
                             predicted that Tetragon’s stock price would fall if the GORE joint venture went
                             forward, which at the time when the evidence for the Defendants was sworn and
                             the oral hearings held, had turned out to be an inaccurate prediction on his part.
                             For example, whereas Tetragon’s stock price was US $4.27 when the GORE
                             Transaction was announced, it had risen to US $7.80 by the time the Cause was
                             issued seven months later.

                      iv.    Fourthly, he raised the related-party issue as between Polygon and Tetragon.

         104. Accordingly, by 6 July 2010 the Plaintiff had informed the Executive Directors and the
                 Independent Directors in some detail of the grounds of his opposition to the then proposed
                 GORE Transaction. Furthermore, in his letter of 6 July 2010 the Plaintiff had made some
                 other contentions in his position as a shareholder in PCH II; he argued that under the
                 Memorandum and Articles of Association of PCH II any change in the general nature of
                 Tetragon’s business was something which required his approval as the Class B shareholder
                 in PCH II.

         105. All the other directors of Tetragon were, therefore, on notice that the Plaintiff strongly
                 objected to the proposed GORE Transaction, both as a director of Tetragon and as a PCH II
                 shareholder.

         106. On the same day, 6 July 2010, the Plaintiff’s New York lawyers, The Nelson Law Firm,
                 wrote a letter to the Executive Directors, which was copied to Simpson Thacher, the US
                 lawyers for the Independent Directors. The letter threatened legal action in the event that
                 the GORE Transaction proceeded. It accused the Executive Directors of breaches of
                 fiduciary duty, and described the GORE transaction as “… a thinly-veiled effort to funnel
                 Tetragon’s assets to Polygon to support its elaborate infrastructure”. The Nelson Law Firm
                 letter was also copied to Mr Côté of PIP LLP (General Counsel to TFM), Cravath Swaine &
                 Moore LLP (the Fund’s U.S. Counsel), Fladgate LLP (the Plaintiff’s London lawyers), the
                 directors c/o Simpson Thacher (the Independent Directors’ US lawyers) and the Plaintiff
                 himself.

                 At the end of their letter The Nelson Law Firm said:

                          “On behalf of The Plaintiff, we therefore demand that PCH II cause Tetragon to
                         reject the proposed GORE joint venture and terminate any further discussions with
                         Polygon, GORE or any of its principals in contemplation thereof. Any failure by you
                         to cause Tetragon to reject the GORE joint venture forthwith will subject you to
                         liability for breach of your duty to The Plaintiff as the sole Class B shareholder of
                         PCH II and for breach of contract. You should be aware that The Plaintiff intends to
                         take all lawful actions necessary to enforce his rights.”

                 (It is to be noted that it does not seem to be part of the Plaintiff’s case in the Cause that the
                 Executive Directors committed breaches of PCH II’s Articles.)


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         107. On 8 July 2010 Tetragon’s US law firm, Cravath Swaine & Moore, responded to The
                 Nelson Law Firm’s letter dated 6 July 2010 and explained why, in their view, the Plaintiff
                 did not in fact have a right of veto at a PCH II level:

                         “You are wrong in asserting that The Plaintiff's consent to the investment transactions
                         with respect of GreenOak Real Estate is required pursuant to Article 36 of the articles
                         of PCH II. You don't even explain why the articles restrict actions taken by separate
                         legal entities, which are not bound by and do not have rights or obligations under
                         such articles. That is not surprising. Article 36(a) does not impose any limits on the
                         businesses which may be pursued by Tetragon. Such limits, if any, are confined to the
                         organisational documents of Tetragon and the IMA… The PCH II articles only apply
                         to actions taken by PCH II, and Article 36(a) only gives the Plaintiff rights with
                         respect to PCH II not Tetragon.”

         108. On 15 July 2010, TFM sent additional material to Simpson Thacher relating to the share
                 option valuation in response to the Independent Directors’ request, promising some
                 information on the GORE Founders’ track record and scheduling a board call. Attached to
                 that document was a Board Information Pack , the introduction to which stated:

                         “The following slides have been compiled in response to questions raised by the
                         Board of TFG when considering the proposed investment in GORE… How should we
                         approach the valuation of the 3% options being awarded by TFG as part of the
                         consideration for the transaction; anticipated fee flows and cash flow implications?”

                 TFM next dealt with valuation of the options and the reasons, as they saw them, for the
                 options, saying that they were intended to be a low cost means of aligning interests of the
                 GORE Founders with those of Tetragon’s shareholders, which only pay out if GORE and
                 TFG are successful and were intended to incentivise everyone to work together to improve
                 the share price of GORE. So, TFM explained, if Tetragon’s value increased as a result of
                 the GORE venture being successful, it would only be then that the options would become
                 exercisable; and in order to achieve that, the GORE Founders would have to work hard and
                 be successful. Then the valuation of the options was explained and fee flows considered.
                 TFM also explained the then current management fee structure.

         109. Under the heading “GORE investments”, TFM said that if the GORE Transaction proceeded,
                 GORE would receive management fees and, in that context as well, Tetragon has most
                 favoured nation status and so would incur a management fee equal to the lowest
                 management fee applicable to any other equity investor in the relevant programme. The fee
                 structure set out and considered by the Board and their advisers, including the Plaintiff and
                 his advisers, was, it seems, in general terms at least, the same as the structure agreed to by
                 the Plaintiff in relation to LCM, when one of his original objections to the had been to such
                 so-called “double-dipping”.

         110. A section followed in which TFM explained that the proposed investment in the GORE
                 Transaction would leave plenty of money left in Tetragon to pursue its other initiatives, to
                 pay dividends and to pay operating expenses.

         111. On 16 July 2010, additional information relating to the GORE Founders was sent by e-mail
                 from Simpson Thacher to the Independent Directors including relating to information to the
                 track record of the three GORE Founders. On 13 July 2010, Simpson Thacher had also
                 circulated further materials to the Independent Directors, including the news reports relating
                 to Mr Kalsi’s leave from Morgan Stanley.

         112. The Independent Directors were therefore made aware, prior to the Board meeting on 29
                 July 2010, of information relating to Mr Kalsi and his circumstances.

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         113. On 21 July 2010, the Plaintiff’s Guernsey lawyers, Appleby, wrote directly to Simpson
                 Thacher’s letter dated 8 July 2010. The Plaintiff’s three main concerns were said to be (i)
                 the disclosure of interests, (ii) the Prospectus and straying from the path of CLOs, which he
                 said were a core part of the Tetragon business, and (iii) Rule 3.01 of the Scheme Rules.
                 First, Appleby mentioned commercial reasons why Tetragon should not proceed and then
                 noted that there were “specific legal reasons why the Directors must be prudent in
                 considering the transaction”. In the next paragraph of their letter Appleby contended that
                 there would be a change in investment objectives if the proposed GORE Transaction
                 proceeded which should be put to non-voting shareholders for their approval, and in their
                 final paragraph they stated, somewhat surprisingly I think, that the letter was “written
                 entirely without prejudice”.

         114. It must, in my judgment, have been made clear to the Independent Directors, and to the
                 Executive Directors, from the Plaintiff’s objections and his US and Guernsey lawyers’
                 arguments about the proposed GORE Transaction, that they should take all necessary steps
                 to satisfy themselves of the validity of the commercial arguments put by TFM for Tetragon
                 to invest in the GORE Transaction and to obtain legal advice from both their US lawyers
                 and their Guernsey lawyers. The affidavits of the Independent Directors demonstrated that
                 this correspondence did, in fact, heighten the level of concern and attention given by them
                 and their advisers to the proposed GORE Transaction.

         115. One of the ingredients in the consideration by all the Tetragon directors of the GORE
                 Transaction and in the Independent Directors’ evaluation of the related-party components
                 was the so-called fairness opinion obtained by TFM from Houlihan Lokey under the terms
                 of the IMA. The Plaintiff argued that the instructions to Houlihan Lokey should have come
                 from the Independent Directors or the whole board of Tetragon rather than from TFM; but,
                 since the IMA makes it clear that the Investment Manager, i.e. TFM, should obtain a
                 fairness opinion, it is clear to me that there is no merit in this point.

         116. The Fairness Opinion was one of the components of the process which the Board, including
                 the Plaintiff and the Independent Directors, went through before voting on investment by
                 Tetragon in the GORE Transaction. The Fairness Opinion was addressed to TFG.

         117. At the top of the second page of the Fairness Opinion, the Polygon element was referred to:
                 “as to which we express no opinion”. Both before and at the board meeting on 29 July 2010
                 the Plaintiff was critical of the fact that Houlihan Lokey did not undertake any comparison
                 of the benefits receivable under the transaction by, on the one hand, Tetragon, and, on the
                 other hand, Polygon. However, as the Defendants rightly submitted, the IMA did not
                 require any comparative analysis to be undertaken. The effect of clause 4(d) of the IMA
                 was that if TFM was going to proceed with a related-party transaction without going to the
                 Board of Tetragon, then what was required under the IMA was

                         “an opinion from a recognized investment bank, auditing firm or other appropriate
                         professional firm substantively to the effect that the financial terms of the transaction
                         are fair to the Funds from a financial point of view.”

         118. In The Fairness Opinion Houlihan Lokey also stated:

                         “You have requested that Houlihan Lokey… provide an opinion… as to whether, as of
                         the date hereof, the Aggregate Consideration to be received in the Transaction
                         pursuant to the Term Sheet is fair to TFG from a financial point of view after giving
                         effect to the Transaction and the Polygon Transaction.”

                 The Fairness Opinion later stated:


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                         “Based upon and subject to the foregoing, and in reliance thereon, it is our opinion
                         that, as of the date hereof, Aggregate Consideration to be received in the Transaction
                         pursuant to the Term Sheet is fair to TFG from a financial point of view after giving
                         effect to the Transaction and the Polygon Transaction.”

         119. On 26 July 2010, notice was given of the board meeting of Tetragon to be held on 29 July
                 2010 and an agenda was circulated. Point C of the agenda read: “Update on GreenOak
                 Real Estate business proposal”. Whereas approval of the GORE Transaction was not
                 expressly listed on the agenda, in the light of what had preceded the board meeting, the
                 directors including the Plaintiff were, in my view, adequately put on notice that it would be
                 discussed and that, if the directors agreed, put to the vote. In any event, In an e-mail
                 exchange between the Plaintiff and Mr Adams dated 27 July 2010, the Plaintiff asked
                 whether the GORE Transaction was going to be considered, Mr Adams confirmed that it
                 was on the agenda, and the Plaintiff responded: “OK thanks”.

         120. After the agenda was circulated, on 27 July 2010 Mr Adams distributed various further
                 materials to Tetragon’s Board. The e-mail attached a further set of slides called the
                 “GreenOak Real Estate Opportunity Further Board Information Pack” which had been
                 compiled in response to further questions raised by the Board of Tetragon.

         121. The additional slides considered six main issues:

                         o       “Transaction Origination and GreenOak Founders Background”

                         o       “Deal Terms”

                         o       “Valuation of TFG options”

                         o       “Controls”

                         o       “Background and information on GP Co-Investment”

                         o       “Anticipated fee flows and waterfall of distributions”.

                 Further information was provided about the GORE Founders. The “GreenOak Real Estate
                 Opportunity Further Board Information Pack” included a section called “Deal Terms:
                 Comparative of relative value received”. The slides also set out TFM’s view that the terms
                 of the GORE Transaction were not, in terms of comparative relative value, unduly
                 favourable to Polygon and set out what Tetragon was getting and what it was giving. The
                 slides also included the calculations underlying those figures. The directors addressed
                 themselves to the issue of relative comparative value and took due account of the related-
                 party issue. In relation to the options, the Board were informed that two exercises had been
                 conducted, that TFM had sought to value them and that Houlihan Lokey had valued them.
                 The slides analysed the different approaches adopted.

         122. The Plaintiff wrote two further e-mails to the Independent Directors. The first was dated 28
                 July 2010, the day before the scheduled board meeting, and was addressed to the four
                 Independent Directors and Mr Horowitz. The Plaintiff attacked the fairness opinion. He
                 contended:

                         o       that Houlihan Lokey was wrong not to place any value on Tetragon’s US $100
                                 million co-investment commitment;

                         o       that the value they had put on the Tetragon share options was wrong. The
                                 Plaintiff argues that the price of US$5.50 was “completely wrong”. He

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                                 described it as a “ridiculously low price”.

                 The Plaintiff also argued that the Independent Directors should have engaged a separate
                 financial institution.

         123. Very early on the morning of the 29 July 2010, the day of the board meeting, a further e-
                 mail was sent by the Plaintiff addressed to the Independent Directors and the First
                 Defendant and copied to Simpson Thacher. The Plaintiff attached a four page spreadsheet
                 analysis and commentary setting out his assessment and valuation of the respective
                 contributions of Tetragon and Polygon.

         124. The board meeting at the heart of these proceedings took place, as has been mentioned by
                 me several times, on 29 July 2010. Several lawyers attended, including two lawyers from
                 Cravath Swaine & Moore for Tetragon, two lawyers from Simpson Thacher for the
                 Independent Directors, two lawyers from Ogier for Tetragon including Advocate Simpson
                 and two representatives from State Street Fund Services, Tetragon’s company secretary. Mr
                 Côté, Mr Adams and Mr Robinson were in attendance, all of whom are internal lawyers
                 from TFM.

         125. The meeting was chaired by one of the Independent Directors, the Third Defendant Mr
                 Rupert Dorey. All three principals of the Investment were in attendance, i.e. Mr Wishnow,
                 Mr Herlyn and Mr Rosenberg. Declarations of interest were recorded and it seems that there
                 was no suggestion made by the Plaintiff during the meeting that the disclosures were to any
                 extent inadequate, or that it was improper for the Executive Directors to participate in the
                 discussion of the GORE Transaction and the vote to approve it. On about 25 November
                 2011 the Plaintiff disclosed that he had secretly taped a large part of the Board meeting and
                 rather late in the day a transcript was produced of this tape, which proved useful and assisted
                 all parties and the Court in following the course of the meeting, which seems to me to have
                 been conducted professionally and courteously and without anyone hurrying matters on
                 unduly or seeking to limit discussion by the Board before any vote to approve the GORE
                 Transaction. Although this tape was available to the Plaintiff and his lawyers at the time of
                 the resumed hearing on 12 and 13 October 2011, no mention of it was made until about 25
                 November 2011, just before the oral hearing resumed. In the event, the transcript of the tape
                 proved to be the best place for me to visit in order to form a view of the Board meeting
                 against the allegations made by the Plaintiff in the Cause.

         126. On the following day 30 July 2010 there was the exchange of friendly e-mails between the
                 Plaintiff and Mr Dorey. The Plaintiff wrote the following words which made a great deal of
                 impact on me when I read them and which, in my judgment, probably represent the feelings
                 of the Plaintiff at the end of the Board meeting on 29 July 2010 as well as anything could:

                         “Rupert, thank you for your comments. While I do not agree with the final decision, I
                         do appreciate the time all of you spent listening to and considering my comments on
                         the transaction. The transaction was quite complicated and needed a lot of analysis
                         which I hope I helped with. I left the meeting feeling that I had done everything that
                         needed to be done and said what needed to be said. We reached different
                         conclusions, but guess that will happen from time to time.”

         127. On 2 September 2010 draft minutes of the Board meeting held on 29 July 2010 were
                 circulated by Mr Adams for comments by the directors. The Plaintiff objected to them. His
                 original comments included a suggestion that: “The minutes should include that the related
                 party instructed Houlihan Lokey”.




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         128. In response to the Plaintiff’s comments on the draft minutes, Cravath Swaine & Moore,
                 Ogier and Simpson Thacher sent a joint reply by e-mail to the Plaintiff on 23 September
                 2010. They said:

                         “Our three firms were represented at the meeting and we believe that the minutes
                         already accurately reflect the discussion which took place at the meeting, including
                         with respect to the legal standards governing the Board’s consideration and approval
                         of the GORE transactions. As such, no changes in this regard need to be made to the
                         minutes.”

         129. On 10 November 2010, Mr Dorey sought confirmation that the minutes of the Board
                 meeting of 29 July 2010 could be signed. The Plaintiff again objected, but gave no specific
                 objections to the draft, which Mr Dorey then requested on 11 November 2010. On 12
                 November 2010 the Plaintiff identified two changes which he wanted to propose

                         “Paragraph (5) on page 4 needs to be deleted. The board never discussed the arms-
                         length requirement.

                         Paragraph (3) of page 4 needs to reflect that Houlihan Lokey did not examine the
                         GORE/Polygon transaction and therefore did not and could not give the board an
                         opinion on whether TFG was getting as good a deal as Polygon was getting. It
                         should also be clear that Houlihan Lokey was not engaged by the Master Fund. [The
                         Executive Directors engaged them and gave them all of their instructions.”

         130. On 17 December 2010, Appleby sent letters before action to Tetragon, for the attention of
                 the First to Sixth Defendants, setting out the basis of the Plaintiff’s claim against the director
                 Defendants. The letter before action was passed on to the First to Sixth Defendants by
                 Tetragon, as appears from Ogier’s letter to Appleby dated 5 January 2011.

         131. The Cause was presented on 25 February 2011; attached to it was a helpful diagram
                 explaining the complicated corporate structure of the corporations involved in the GORE
                 Transaction. I have considered this diagram as well as the two structure plans included
                 within this judgment and hope that in this judgment I have adequately described those
                 companies or corporations which were centrally involved in Tetragon entering into the
                 GORE Transaction.

         132. As one would expect, the lodging of the Cause had been preceded by correspondence
                 between Advocate Jeremy Le Tissier of Appleby, on behalf of the Plaintiff, and Ogier, the
                 Advocates for Tetragon. Advocate Simon Davies of Ogier represented Tetragon on the
                 hearings before me and, by arrangement agreed between himself and Advocate Christian
                 Hay of Collas Crill, who appeared for the Executive Directors, and Advocate Tim Corfield
                 of Carey Olsen, who appeared for the Independent Directors, made the principal written and
                 oral submissions on behalf of all the Defendants. This course enabled the Defendants’
                 submissions to be made with very little duplication.

         133. By order of the Deputy Bailiff dated 13 May 2011, the Defendants’ obligation to table
                 defences to the Cause was stayed pending determination of their strike-out application.

         134. By letter dated 7 March 2011 Ogier gave Appleby notice of Tetragon’s intention to apply,
                 with the Executive Directors and the Independent Directors, to strike out the Cause and
                 informed them that Tetragon opposed the claims which the Plaintiff was bringing
                 derivatively for Tetragon and considered the claims “without merit or prospects of success”.
                 In due course, on 28 April 2011 the Defendants issued the strike out application.



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         135. Since I think it would be helpful, and since I have concluded that the test adopted taken by
                 the Court of Appeal in Prudential v Newman Industries is the test which I must apply on
                 this application, I now remind myself of the test which I must apply to the application. The
                 Plaintiff must first establish that he has a prima facie case on all or any of the seven alleged
                 causes of action pleaded in the Cause and, to the extent that there is such a prima facie case
                 established, that any of such causes of action come within the exception to the rule in Foss v
                 Harbottle. If and to the extent that he cannot do so, either all or such relevant part of the
                 Cause which does not ‘pass the test’ must be struck out as an abuse of process. I should not
                 apply any lesser test, for instance whether the Plaintiff has satisfied me that all or part of his
                 case is arguable or tenable or stands a reasonable chance of success and I have not allowed
                 myself to be distracted by any argument of Mr Le Tissier, however attractively it may have
                 been put, that some lesser test ‘will do’. The prima facie case test is understandably quite a
                 high hurdle for the Plaintiff to get over and the reason for that is, I believe, the Courts’
                 traditional view in England, at least before the changes introduced by the Companies Act
                 2006 and quite possibly thereafter too, that the right to bring a derivative action is to be
                 regarded as an exceptional right.

         136. For the reasons which follow I have decided that the Plaintiff cannot achieve the standard
                 required by the test which I must apply to his case on any part of his derivative action and
                 also that, since Mr Le Tissier accepted, as I think he had to accept, during his oral
                 submissions in reply that the Plaintiff’s case for relief under the oppressed minority
                 provisions of the Companies Law depended on the same facts as his ‘true’ derivative action
                 claims, it must follow that the Plaintiff’s alternative claim under the Companies Law for
                 minority shareholders’ relief or the equivalent falls to be struck out as well.

         137. The primary conclusion which I came to when reviewing the relevant facts of the case at this
                 preliminary stage was that the starting point was that, as Lewison J. put it in Iesini v Westrip
                 Holdings Ltd [2010] BCC 420, Courts are ill-equipped to enter the commercial arena and
                 decide commercial issues; the converse to this point is the first rule in Foss v Harbottle
                 itself which, as a general rule, leave matters of a commercial nature, sometimes in the earlier
                 cases called matters of internal administration or internal management, to the directors to
                 decide. This point came out of the documents, as I read them, loud and clear in this case.
                 Although I cannot decide the point and the proper test to be applied does not require or
                 allow me to do so, but only, I think, to form a provisional view, the approach taken by the
                 Plaintiff when objecting to the GORE Transaction at all times up to and after the Board
                 meeting certainly suggests to me that he seemed to understand that the majority decision
                 taken by all the other directors of Tetragon on 29 July 2010 to approve the GORE
                 Transaction was taken by them on commercial grounds after considering his objections
                 carefully and after taking into account the very considerable body of materials supplied to
                 all directors and the exchanges between their lawyers and that he was bound by it under the
                 internal rules of Tetragon, that is to say, under Tetragon’s constitution as provided in the
                 Articles. The Plaintiff’s e-mail to the Third Defendant on 30 July 2010, the very next day
                 after the board meeting on 29 July 2010, in my view, demonstrates the point I am making
                 quite well.

         138. Turning now to the Cause, which I have read several times and taken into account most
                 carefully in preparing this judgment, I remind myself that it is the second draft amended
                 version, handed up by Mr Le Tissier on 12 October 2011, which is the version of the Cause
                 to which all submissions were finally directed.

         139. In section D of the Cause the Plaintiff claims that the Executive Directors are obliged to
                 account to Tetragon for the benefits derived by them from the GORE Transaction since they
                 had breached their duty of full and frank disclosure to Tetragon. The case is that they had
                 not disclosed the nature and extent of their interests so as to come within the protection
                 given by article 91(c). The pleading is short and the Cause does not set out in full detail the
                 whole range of correspondence, e-mails and presentations which I have mentioned above.
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                 Under this head of claim I have considered articles 91 and 92 and the terms of section 162 of
                 the Companies Law.

         140. The central point, in my judgment, is whether or not the Executive Directors, and especially
                 Mr Griffith, disclosed sufficient details of their interests in the GORE Transaction to enable
                 the other directors to understand what their interests were and the extent of their interests.
                 As Vinelott J. was satisfied in Movitex Ltd v Bulfield [1986] 2 BCC when examining the
                 articles of the company in question, I am also satisfied first that the effect of articles 91 and
                 92 of Tetragon’s articles is to exclude the no conflicts rule which otherwise affects self-
                 dealing by a director.

         141. I am satisfied that the Executive Directors disclosed their ownership of Polygon and that
                 they owned almost 100% of it, subject to the Plaintiff’s declining interest in one part of the
                 Polygon structures. I agree with the submissions set out in paragraph 3 of the Outline of
                 Tetragon’s submissions of 30 November 2011 in relation to the heads of claim in the Cause.
                 In my judgment, the disclosure in the Second Defendant’s letter of 18 June 2010 and the
                 further oral disclosures made at the board meeting, tempered, as Mr Davies put it in his
                 Outline, by the directors’ prior familiarity with Polygon and its ownership, was adequate
                 disclosure to satisfy the articles and section 162. As to Mr Le Tissier’s argument that such
                 disclosure was not made immediately and therefore did not satisfy the strict requirement of
                 section 162, I reject this argument for the reasons submitted by Advocate Hay for the
                 Executive Directors in his written submissions of 30 November 2011 as further developed in
                 his oral submissions. In particular, I accept Mr Hay’s submissions on both section 162 and
                 the compliance by his clients with the disclosure requirements of article 91. Further, I
                 accept Mr Hay’s practical, common-sense interpretation of the requirement in section 162
                 for the disclosure to be made ‘immediately’, i.e. that it meant the final oral disclosure at the
                 board meeting on 29 July 2010 when considered against the background of the previous
                 disclosure, and I am satisfied that his analysis of the disclosure by the Executive Directors,
                 under the headings of mode, timing and nature of disclosure, demonstrates clearly that the
                 Plaintiff cannot show a prima facie case of breach by them of their duties of disclosure
                 leading to an obligation to account, as relied on by him under section D of the Cause. It
                 follows that I am also of the view that the Plaintiff has not established a prima facie case
                 that the Executive Directors should, in the context of this area of company law, be regarded
                 as ‘wrongdoers’ thus bringing into play a consideration of the exceptions to the rule in Foss
                 v Harbottle, in particular the fraud on the minority exception.

         142. If I were wrong in this conclusion, I would also have decided that the Plaintiff was not able
                 to pursue this head of claim since the resolution of the board of directors of Tetragon on 7
                 June 2011 that the GORE Transaction was fair to Tetragon as of the time that it was
                 authorised on 29 July 2010 complied with the part of article 91 which absolves a director
                 from a liability to account for profits if the transaction in question is found by the board of
                 directors, before or after the fact, to be fair to the company as of the time that it was
                 authorised.

         143. In section E of the Cause the Plaintiff argues that the Executive Directors are liable to
                 account to Tetragon for profits derived by them from the GORE Transaction for breaching
                 their duties to Tetragon by placing themselves in a conflict of interest. The head of claim is
                 developed in paragraphs 92 to 94 of the Cause and the Plaintiff claims in paragraph 95 that
                 there had been no authorisation or approval by Tetragon of such breaches.

         144. For the reasons given under head D above, I conclude that the Plaintiff has failed to
                 establish a prima facie case under head E and this claim must be struck out as well. In
                 particular, against the background of the disclosure by the Executive Directors of the details
                 of the proposed GORE Transaction (see especially paragraph 140 above) the Plaintiff
                 cannot, in my judgment, establish such a case.

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         145. I now turn to section B of the Cause where the Plaintiff claims that the GORE Transaction
                 was not in the best interests of Tetragon and that the Executive Directors and the
                 Independent Directors acted in breach of their duty to act in the best interests of Tetragon in
                 passing the resolution to approve Tetragon entering into the GORE Transaction at the board
                 meeting on 29 July 2010. The point is pleaded in detail at paragraphs 77 to 81 of the Cause.

         146. I am not satisfied that the Plaintiff can establish a prima facie case under this head of a
                 breach of duty by any of the Executive Directors and the Independent Directors. The duty
                 in question is, in my judgment, properly to be examined subjectively. The Court should not
                 attempt to substitute its view of whether a reasonable director would or would not have
                 concluded that the GORE Transaction was in the best interests of Tetragon for the views of
                 the directors. Furthermore, it is not suggested by the Plaintiff that any of the Executive
                 Directors and the Independent Directors acted in bad faith. Their position was, and remains,
                 that the GORE Transaction was in the best interests of Tetragon and that they voted in
                 favour of Tetragon entering into it for that reason, just as much as the Plaintiff voted against
                 the resolution since he was of the view that GORE Transaction was not in the best interests
                 of Tetragon. Nor, in my judgment, can the Plaintiff establish to the required standard of a
                 prima facie case that any of the Executive Directors and the Independent Directors failed to
                 consider or understand the objections which he and his lawyers had raised either before or at
                 the board meeting before the vote took place. I am persuaded, on the necessarily provisional
                 basis at this stage of the proceedings, that this head of claim raises commercial issues and
                 that the Plaintiff cannot show a prima facie case of breach of this duty. As the Defendants
                 submitted, and as is often discussed in the case on this area of the law, such questions
                 involve commercial judgement on the part of directors and the Courts are, as a general rule,
                 ill-equipped to enter into consideration of such matters.

         147. In summary, there is, in my judgment, no evidence before the Court to establish a prima
                 facie case under head B. The Plaintiff did obtain, at a rather late stage of the application, a
                 written report from Mr Graham Harrison, an expert in the area of investments occupied by
                 Tetragon. But I was not persuaded that I could safely accept his evidence as determinative
                 of the required test under this head of claim, or, indeed, of any head of claim since, for no
                 fault of Mr Harrison’s, he was instructed to produce his report on the basis of what I
                 consider to have been far too limited a selection of facts and documents.

         148. Under head F in the Cause, the Plaintiff claims that each of the Executive Directors and the
                 Independent Directors acted negligently or, as it is pleaded, in breach of the duty to act to
                 act with reasonable care, skill and diligence. The details of the claim are pleaded in
                 paragraphs 97 to 99 of the Cause. It is clear from the opening words in paragraph 97, and it
                 was also made clear in argument, that the facts underlying this claim were essentially the
                 same as those relied upon by the Plaintiff under heads D, E and B of the Cause.

         149. I am not persuaded that the Plaintiff has established a prima facie case under head F. As the
                 Defendants submitted under paragraph 19 of Mr Davies’ Outline document,

                         “[T]he directors spent five weeks analysing the transaction and reviewing materials
                         prepared by [TFM] among others. It is common ground that they sought and
                         received independent legal advice. The fact that they reached one conclusion, while
                         [the Plaintiff] reached another, does not found a claim in negligence.”

                 I entirely agree with this submission.

         150. I also agree that, in a case like this case, where the Plaintiff does not suggest that the
                 company should seek to rescind its entry into the transaction in question, it is to be expected
                 that the case in damages should be carefully and fully pleaded. When the original version of
                 the Cause was lodged, the case in damages was, in my view, rather minimally pleaded and

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                 the argument of Mr Le Tissier was that the loss to Tetragon from entering into the GORE
                 Transaction would be found out on the carrying out of an inquiry as to damages. I thought
                 then that this was a case of putting the cart before the horse and that, on an application to
                 strike out a derivative action, the Plaintiff would be expected to plead his (or, to be more
                 precise, Tetragon’s) case in damages, and to support it in evidence, sufficiently fully as to be
                 able to establish a prima facie case. I still hold this view, but no more than provisionally,
                 although the case in damages has been more fully pleaded in the Cause, the draft of which
                 was presented on 12 October 2011, which I think was amended to include the views of Mr
                 Harrison and a Mr Deetz, who helped the Plaintiff and his advisers in presenting a case to
                 the Court, but who did not give evidence himself. But, since I have held that the Plaintiff
                 has not on the facts shown a prima facie case of negligent breach of duty against any of the
                 Executive Directors or the Independent Directors, it is not, in my view, either necessary or
                 appropriate for me to deal further, at this preliminary stage of the proceedings, with the
                 pleaded case in damages.

         151. I now turn to heads of claim A and AA in the Cause, which are developed in paragraphs 63
                 to 76 of the Cause. The Scheme Rules are rules issued by the Guernsey Financial Services
                 Commission (“the GFSC”) and they impose requirements for the disclosure of information
                 to investors and for notification in certain circumstances to the GFSC itself.

         152. Under rule 3.01 of the Scheme Rules “relevant persons” as defined in subsection 1 are
                 prohibited from doing certain things unless the arm’s length requirement in subsection 9 is
                 satisfied. This requirement is that the relevant arrangements must be at least as favourable
                 to Tetragon as would be any comparable arrangement effected on normal commercial terms
                 negotiated at arm’s length with an independent party. Under subsection 1 it is the obligation
                 of the directors to take “all reasonable steps to ensure” that the relevant persons do not
                 breach the arm’s length requirement. Attention was drawn to subsections 4 and 5 of rule
                 3.01.

         153. Interesting and lengthy argument was put to me by both parties on the impact, if any, of the
                 Scheme Rules to the GORE Transaction. I do not find it necessary for me to decide these
                 questions on this application. The Plaintiff’s arguments that rule 3.01 was engaged were, in
                 my judgment, possibly correct, but, in the light of my conclusion on the application of the
                 proper test on this application to which I now turn, I shall not decide the questions relating
                 to the application of rule 3.01.

         154. I agree with the submissions of the Defendants at paragraph 14 of Mr Davies’ Outline
                 document and in paragraphs 4 to 22 of his further Outline document of, I think, 1 or 2
                 December 2011, and I have decided that if the Scheme Rules were engaged, the Plaintiff has
                 not established a prima facie case of breach of the rules by any of the Executive Directors or
                 the Independent Directors. I am satisfied that the Plaintiff has not shown to the required
                 standard of a prima facie case that they failed to take reasonable steps to ensure that the
                 arm’s length requirement was met.

         155. The important points of evidence to note are, in my judgment, that the Independent
                 Directors sought legal advice from Simpson Thacher, and more importantly on this aspect of
                 the case, from their Guernsey Advocates Carey Olsen, and also sought the views of TFM
                 and Houlihan Lokey. Furthermore, as is made clear from pages 170-180 of the transcript of
                 the Board meeting on 29 July 2010, issues relating to the Scheme Rules were raised and
                 discussed during the meeting itself, including a passage where Mr Simpson of Ogier referred
                 the directors, including, of course, the Plaintiff, to the requirements of rule 3.01. Further, in
                 my judgment, the Plaintiff’s case under this head is, at most, well described as a mere
                 technicality and he has not satisfied me, in any event, that there is prima facie case that
                 Tetragon has suffered any loss by virtue of the alleged breaches of rule 3.01.


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         156. A further claim, as developed in paragraphs 74 to 76 of the Cause, the claim under head AA
                 of the Cause, was added to the draft Cause in the 2nd amended draft. The claim is alleged to
                 arise under section 34 of the Protection of Investors (Bailiwick of Guernsey) Law, 1987.
                 The Plaintiff, who was intimately involved in the events leading up to the board meeting on
                 29 July 2010 in his capacity as a director of Tetragon, claims to be entitled as an investor in
                 Tetragon, i.e. as a person adversely affected by the alleged breaches by the Executive
                 Directors and the Independent Directors; (ex hypothesi he must, I think, on his own case also
                 have been in such breach of duty to Tetragon.)

         157. I found this argument surprising and a little difficult to follow. But, in any event, I was
                 persuaded that, in the event that I had found that the Plaintiff had not established a prima
                 facie case of a breach of rule 3.01, the case under section 34 cannot possibly get off the
                 ground. In such circumstances, I consider the claim now to be virtually hopeless and it
                 should be struck out of the Cause. In any event, although the claim under section 34 was
                 made by the Plaintiff personally, it was made clear in paragraph 76 of the Cause that any
                 damages recovered by the Plaintiff “shall accrue for the benefit of [Tetragon]” and I formed
                 the view that the claim was realistically part of the derivative claims put forward by him on
                 behalf of Tetragon, and not a personal claim of any substance.

         158. I now turn to head of claim C in the Cause as developed in paragraphs 82 to 87 of the Cause
                 for damages from the Executive Directors and the Independent Directors for breach of
                 section 298 of the Companies Law, which relates to the provision of a certificate within a
                 Guernsey company’s records, in circumstances where the terms of the section so require.

         159. This is also, in my view, an almost hopeless claim for the fundamental reason that the
                 Companies Law provides no civil remedy for a Guernsey company when such a breach has
                 been established. Accordingly, any such breach cannot, in my judgment, sound in damages
                 at the suit of Tetragon. The claim under head C must, therefore, be struck out on this
                 ground alone. If I were wrong, I would have decided that the preponderance of the evidence
                 went to show that the provisions of section 298 were complied with in relation to the option
                 price included within the terms of the GORE Transaction and that the Plaintiff was not able
                 to establish a prima facie case that the statute had not been complied with by the board of
                 directors. I would also mention, in passing from the point, that the Plaintiff himself was a
                 director of Tetragon during the period from 29 July 2010 to about 24 January 2011 and it
                 would have been his responsibility as well as that of the rest of the Board to have ensured
                 that section 298 had been complied with.

         160. Since I have decided (i) that the entire Cause should be struck out as the Plaintiff has not
                 satisfied me that he has a prima facie case under any of the derivative claims in the Cause
                 and (ii) that his alleged personal claim under section 34 of the Protection of Investors
                 (Bailiwick of Guernsey) Law, 1987 was almost hopeless, I have not proceeded to deal with
                 the detailed submissions of both sides relating to matters which would only arise on the
                 second stage of the test set out in Prudential Assurance v Newman Industries. The second
                 stage of the test would only come into play if a court were to find that a prima facie case had
                 been established, in which event the court would then proceed to decide whether or not any
                 of the claims set out in the pleading of the case, i.e. in our procedure under the Cause, were
                 able to stand free from the application of the rule in Foss v Harbottle as a result of an
                 exception to the rule applying. No such point requires a decision in this case since the
                 Plaintiff has not satisfied the first limb of the test and I have accordingly struck out all of the
                 derivative claims. On this basis the arguments based on ratification do not require a
                 decision from me either.

         161. As I did in my judgment on the injunction application, I apologise to the parties and to
                 Counsel that it has taken me such a very long time to deliver this judgment and thank them
                 for their patience and polite enquiries in the meantime.

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         162. I shall hear any ancillary applications flowing from this judgment on Tuesday 26 March
                 2013.


     PATRICK TALBOT QC
     Lieutenant Bailiff
     26 March 2013




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                                 SETTLEMENT AGREEMENT

          This Settlement Agreement (the “Agreement”) is entered into as of December 23, 2020,
  between Highland Capital Management, L.P. (the “Debtor”), on the one hand, and HarbourVest
  2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX
  Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and
  HarbourVest Partners L.P. (each, a “HarbourVest Party,” and collectively, “HarbourVest”), on
  the other hand. Each of the foregoing are sometimes referred to herein collectively as the
  “Parties” and individually as a “Party.”

                                         RECITALS

          WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary
  petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”) in the
  Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware
  Bankruptcy Court”);

          WHEREAS, on December 4, 2019, the Delaware Bankruptcy Court entered an order
  transferring venue of the Debtor’s case to the Bankruptcy Court for the Northern District of
  Texas, Dallas Division, Case No. 19-34054-sgj (the “Bankruptcy Court”);

          WHEREAS, prior to the Petition Date, HarbourVest invested in Highland CLO Funding,
  Ltd. f/k/a Acis Loan Funding, Ltd. (“HCLOF”) and acquired an a 49.98% ownership interest in
  HCLOF (the “HarbourVest Interests”);

         WHEREAS, the portfolio manager for HCLOF is Highland HCF Advisor, Ltd., a
  subsidiary of the Debtor;

         WHEREAS, on April 8, 2020, HarbourVest filed proofs of claim in the Bankruptcy
  Case, which are listed on the Debtor’s claims register as claim numbers 143, 147, 149, 150, 153,
  and 154 (the “HarbourVest Claims”), asserting claims against the Debtor relating to its
  investment in HCLOF;

         WHEREAS, on July 30, 2020, the Debtor filed the Debtor’s First Omnibus Objection to
  Certain (a) Duplicate Claims; (b) Overstated Claims; (c) Late-Filed Claims; (d) Satisfied
  Claims; (e) No Liability Claims; and (f) Insufficient-Documentation Claims [Docket No. 906], in
  which the Debtor objected to the HarbourVest Claims;

         WHEREAS, on September 11, 2020, HarbourVest filed the HarbourVest Response to
  Debtor’s First Omnibus Objection to Creation (a) Duplicate Claims; (b) Overstated Claims; (c)
  Late-Filed Claims; (d) Satisfied Claims; (e) No Liability Claims; and (f) Insufficient-
  Documentation Claims [Docket No. 1057] (the “HarbourVest Response”);

        WHEREAS, on October 18, 2020, HarbourVest filed the Motion of HarbourVest
  Pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy Procedure for Temporary
  Allowance of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the
  “3018 Motion” and together with the HarbourVest Response, the “HarbourVest Pleadings”);

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         WHEREAS, in the HarbourVest Pleadings, HarbourVest asserted, among other things,
  that the HarbourVest Claims included claims against the Debtor arising from fraudulent
  inducement, fraudulent concealment, fraudulent misrepresentation, breach of fiduciary duty,
  breach of securities laws, and misuse of assets and sought damages in excess of $300,000,000;

             WHEREAS, the Debtor disputes the HarbourVest Claims;

         WHEREAS, on November 24, 2020, the Debtor filed the Fifth Amended Plan of
  Reorganization for Highland Capital Management, L.P. [Docket No. 1472] (as amended, the
  “Plan”).1

         WHEREAS, the Parties desire to enter into this Agreement which incorporates,
  formalizes, and finalizes the full and final resolution of the HarbourVest Claims and
  HarbourVest Pleadings; and

         WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
  pursuant to Federal Rule of Bankruptcy Procedure 9019 (“Rule 9019”).

         NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
  and promises made herein, and other good and valuable consideration, the receipt of which is
  hereby acknowledged, the Parties agree as follows:

             1.       Settlement of Claims.

                      (a)      In full and complete satisfaction of the HarbourVest Claims, HarbourVest
  will receive:

                      (i)     an allowed, nonpriority general unsecured claim in the aggregate
  amount of $45,000,000 (the “Allowed GUC Claim”); and

                       (ii)  an allowed subordinated claim in the aggregate amount of
  $35,000,000 (the “Allowed Subordinated Claim” and together with the Allowed GUC Claim, the
  “Allowed Claims”).

                  (b)    On the Effective Date, HarbourVest will transfer all of its rights, title, and
  interest in the HarbourVest Interests to the Debtor or its nominee pursuant to the terms of the
  Transfer Agreement for Ordinary Shares of Highland CLO Funding, Ltd., attached hereto as
  Exhibit A (the “Transfer Agreements”) and the Debtor or its nominee will become a shareholder
  of HCLOF with respect to the HarbourVest Interests. The terms of the Transfer Agreements are
  incorporated into this Agreement by reference.

             2.       Releases.

                  (a)    Upon the Effective Date, and to the maximum extent permitted by law,
  each HarbourVest Party on behalf of itself and each of its current and former advisors, trustees,
  directors, officers, managers, members, partners, employees, beneficiaries, shareholders, agents,

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      All capitalized terms used but not defined herein shall have the meanings given to them in the Plan.
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  participants, subsidiaries, parents, successors, designees, and assigns hereby forever, finally,
  fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and
  covenants never to sue, the Debtor, HCLOF, HCLOF’s current and former directors, and the
  Debtor’s current and former advisors, trustees, directors, officers, managers, members, partners,
  employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates,
  successors, designees, and assigns, except as expressly set forth below (the “Debtor Released
  Parties”), for and from any and all claims, debts, liabilities, demands, obligations, promises, acts,
  agreements, liens, losses, costs and expenses (including, without limitation, attorney’s fees and
  related costs), damages, injuries, suits, actions, and causes of action of whatever kind or nature,
  whether known or unknown, suspected or unsuspected, matured or unmatured, liquidated or
  unliquidated, contingent or fixed, at law or in equity, statutory or otherwise, including, without
  limitation, any claims, defenses, and affirmative defenses, whether known or unknown,
  including, without limitation, those which were or could have been asserted in, in connection
  with, or with respect to the Bankruptcy Case (collectively, the “HarbourVest Released Claims”).

                  (b)     Upon the Effective Date, and to the maximum extent permitted by law, the
  Debtor hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,
  remises, and exonerates, and covenants never to sue (i) each HarbourVest Party and (ii) each
  HarbourVest Party’s current and former advisors, trustees, directors, officers, managers,
  members, partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries,
  parents, affiliates, successors, designees, and assigns (the “HarbourVest Released Parties”), for
  and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
  liens, losses, costs and expenses (including, without limitation, attorney’s fees and related costs),
  damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known
  or unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
  contingent or fixed, at law or in equity, statutory or otherwise, including, without limitation, any
  claims, defenses, and affirmative defenses, whether known or unknown, which were or could
  have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively,
  the “Debtor Released Claims”); provided, however, that notwithstanding anything herein to the
  contrary, the release contained in this Section 2(b) will apply to the HarbourVest Released
  Parties set forth in subsection (b)(ii) only with respect to Debtor Released Claims arising from or
  relating to HarbourVest’s ownership of the HarbourVest Interests.

                  (c)     Notwithstanding anything in this Agreement to the contrary, the releases
  set forth herein will not apply with respect to (i) the Allowed Claims, (ii) the claims of Charlotte
  Investor IV, L.P., or (iii) the duties, rights, or obligations of any Party under this Agreement or
  the Transfer Agreements.

          3.      Agreement Subject to Bankruptcy Court Approval. The effectiveness of this
  Agreement and the Parties’ obligations hereunder are conditioned in all respects on the approval
  of this Agreement by the Bankruptcy Court. The Parties agree to cooperate and use reasonable
  efforts to have this Agreement approved by the Bankruptcy Court. The “Effective Date” will be
  the date of an order entered by the Bankruptcy Court approving this Agreement pursuant to a
  motion filed under Rule 9019.




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          4.       Representations and Warranties. Subject in all respects to Section 3 hereof:

                  (a)     each HarbourVest Party represents and warrants that (i) it has full
  authority to enter into this Agreement and to release the HarbourVest Released Claims and has
  not sold, transferred, or assigned any HarbourVest Released Claim to any other person or entity,
  (ii) no person or entity other than such HarbourVest Party has been, is, or will be authorized to
  bring, pursue, or enforce any HarbourVest Released Claim on behalf of, for the benefit of, or in
  the name of (whether directly or derivatively) of such HarbourVest Party; and (iii) HarbourVest
  owns all of the HCLOF Interests free and clear of any claims or interests; and

                  (b)     the Debtor represents and warrants to HarbourVest that (i) it has full
  authority to enter into this Agreement and to release the Debtor Released Claims and (ii) no
  person or entity other than the Debtor has been, is, or will be authorized to bring, pursue, or
  enforce any Debtor Released Claim on behalf of, for the benefit of, or in the name of (whether
  directly or derivatively) of the Debtor Party.

          5.       Plan Support.

                  (a)     Each HarbourVest Party hereby agrees that it will (a) vote all HarbourVest
  Claims held by such HarbourVest Party to accept the Plan, by delivering its duly executed and
  completed ballots accepting the Plan on a timely basis; and (b) not (i) change, withdraw, or
  revoke such vote (or cause or direct such vote to be changed withdrawn or revoked); (ii) exercise
  any right or remedy for the enforcement, collection, or recovery of any claim against the Debtor
  except in a manner consistent with this Agreement or the Plan, (iii) object to, impede, or take any
  action other action to interfere with, delay or postpone acceptance or confirmation of the Plan;
  (iv) directly or indirectly solicit, propose, file, support, participate in the formulation of or vote
  for, any restructuring, sale of assets (including pursuant to 11 U.S.C. § 363), merger, workout, or
  plan of reorganization of the Debtor other than the Plan; or (v) otherwise take any action that
  would in any material respect interfere with, delay, or postpone the consummation of the Plan;
  provided, however, that such vote may be revoked (and, upon such revocation, deemed void ab
  initio) by such HarbourVest Party at any time following the termination of this agreement or the
  occurrence of a Support Termination Event (it being understood that any termination of this
  agreement shall entitle each HarbourVest Party to change its vote in accordance with section
  1127(d) of the Bankruptcy Code), notwithstanding any voting deadline established by the
  Bankruptcy Court including without limitation the January 5, 2021, 5:00 p.m. (prevailing Central
  Time) deadline established by the Order Approving Form of Ballots, Voting Deadline and
  Solicitation Procedures [Docket No. 1476].

                (b)     In full resolution of the 3018 Motion, HarbourVest will have a general
  unsecured claim for voting purposes only in the amount of $45,000,000.

                  (c)     The obligations of the HarbourVest Parties under this Section 5 shall
  automatically terminate upon the occurrence of any of the following (each a “Support
  Termination Event”): (i) the effective date of the Plan, (ii) the withdrawal of the Plan, (iii) the
  entry of an order by the Bankruptcy Court (A) converting the Bankruptcy Case to a case under
  chapter 7 of the Bankruptcy Code or (B) appointing an examiner with expanded powers beyond
  those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in Bankruptcy

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  Case, or (iv) the failure of the Court to enter an order approving the terms of this Agreement and
  the settlement described herein pursuant to Rule 9019 prior to confirmation of the Plan.

         6.      No Admission of Liability. The Parties acknowledge that there is a bona fide
  dispute with respect to the HarbourVest Claims. Nothing in this Agreement will imply, an
  admission of liability, fault or wrongdoing by the Debtor, HarbourVest, or any other person, and
  the execution of this Agreement does not constitute an admission of liability, fault, or
  wrongdoing on the part of the Debtor, HarbourVest, or any other person.

         7.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
  the benefit of each of the Parties and their successors, and assigns.

          8.      Notice. Each notice and other communication hereunder will be in writing and
  will be sent by email and delivered or mailed by registered mail, receipt requested, and will be
  deemed to have been given on the date of its delivery, if delivered, and on the fifth full business
  day following the date of the mailing, if mailed to each of the Parties thereto at the following
  respective addresses or such other address as may be specified in any notice delivered or mailed
  as set forth below:

          HARBOURVEST

          HarbourVest Partners L.P.
          Attention: Michael J. Pugatch
          One Financial Center
          Boston, MA 02111
          Telephone No. 617-348-3712
          E-mail: mpugatch@harbourvest.com

          with a copy (which shall not constitute notice) to:

          Debevoise & Plimpton LLP
          Attention: M. Natasha Labovitz, Esq.
          919 Third Avenue
          New York, NY 10022
          Telephone No. 212-909-6649
          E-mail: nlabovitz@debevoise.com

          THE DEBTOR

          Highland Capital Management, L.P.
          300 Crescent Court, Suite 700
          Dallas, Texas 75201
          Attention: James P. Seery, Jr.
          Telephone No.: 972-628-4100
          Facsimile No.: 972-628-4147
          E-mail: jpseeryjr@gmail.com


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          with a copy (which shall not constitute notice) to:

          Pachulski Stang Ziehl & Jones LLP
          Attention: Jeffrey Pomerantz, Esq.
          10100 Santa Monica Blvd., 13th Floor
          Los Angeles, CA 90067
          Telephone No.: 310-277-6910
          Facsimile No.: 310-201-0760
          E-mail: jpomerantz@pszjlaw.com

          9.     Advice of Counsel. Each Party represents that it has: (a) been adequately
  represented by independent legal counsel of its own choice, throughout all of the negotiations
  that preceded the execution of this Agreement; (b) executed this Agreement upon the advice of
  such counsel; (c) read this Agreement, and understands and assents to all the terms and
  conditions contained herein without any reservations; and (d) had the opportunity to have this
  Agreement and all the terms and conditions contained herein explained by independent counsel,
  who has answered any and all questions asked of such counsel, or which could have been asked
  of such counsel, including, but not limited to, with regard to the meaning and effect of any of the
  provisions of this Agreement.

          10.    Entire Agreement. This Agreement and the Transfer Agreement contain the
  entire agreement and understanding concerning the subject matter of this Agreement, and
  supersede and replace all prior negotiations and agreements, written or oral and executed or
  unexecuted, concerning such subject matter. Each of the Parties acknowledges that no other
  Party, nor any agent of or attorney for any such Party, has made any promise, representation or
  warranty, express or implied, written or oral, not otherwise contained in this Agreement to
  induce any Party to execute this Agreement. The Parties further acknowledge that they are not
  executing this Agreement in reliance on any promise, representation or warranty not contained in
  this Agreement, and that any such reliance would be unreasonable. This Agreement will not be
  waived or modified except by an agreement in writing signed by each Party or duly authorized
  representative of each Party.

          11.    No Party Deemed Drafter. The Parties acknowledge that the terms of this
  Agreement are contractual and are the result of arms’-length negotiations between the Parties
  and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
  of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
  construed against any Party.

        12.    Future Cooperation. The Parties agree to cooperate and execute such further
  documentation as is reasonably necessary to effectuate the intent of this Agreement.

          13.     Counterparts. This Agreement may be executed in counterparts with the same
  force and effect as if executed in one complete document. Each Party’s signature hereto will
  signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.
  Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
  originals of this Agreement for any purpose.


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          14.     Governing Law; Venue; Attorneys’ Fees and Costs. The Parties agree that this
  Agreement will be governed by and will be construed according to the laws of the State of Texas
  without regard to conflict-of-law principles. Each of the Parties hereby submits to the exclusive
  jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and thereafter
  to the exclusive jurisdiction of the state and federal courts located in the Northern District of
  Texas, Dallas Division, with respect to any disputes arising from or out of this Agreement. In
  any action to enforce this Agreement, the prevailing party shall be entitled to recover its
  reasonable and necessary attorneys’ fees and costs (including experts).

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  IT IS HEREBY AGREED.

                                            HIGHLAND CAPITAL MANAGEMENT, L.P.


                                            By:   /s/ James P. Seery, Jr.
                                            Name: James P. Seery, Jr.
                                            Its:  CEO/CRO

  HarbourVest 2017 Global Fund L.P., by HarbourVest 2017 Global Associates L.P., its
  General Partner, by HarbourVest GP LLC, its General Partner, by HarbourVest Partners,
  LLC, its Managing Member


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest 2017 Global AIF L.P., by HarbourVest Partners (Ireland) Limited, its
  Alternative Investment Fund Manager, by HarbourVest Partners L.P., its Duly Appointed
  Investment Manager, by HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest Dover Street IX Investment L.P., by HarbourVest Partners L.P., its Duly
  Appointed Investment Manager, by HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest Partners L.P., on behalf of funds and accounts under management, by
  HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director




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 EXECUTION VERSION


 HarbourVest Skew Base AIF L.P., by HarbourVest Partners (Ireland) Limited, its
 Alternative Investment Fund Manager, by HarbourVest Partners L.P., its Duly Appointed
 Investment Manager, by HarbourVest Partners, LLC, its General Partner


 By:   /s/ Michael Pugatch
 Name: Michael Pugatch
 Its:  Managing Director


 HV International VIII Secondary L.P., by HIPEP VIII Associates L.P., its General
 Partner, by HarbourVest GP LLC, its General Partner, by HarbourVest Partners, LLC,
 its Managing Member


 By:   /s/ Michael Pugatch
 Name: Michael Pugatch
 Its:  Managing Director




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                                       Exhibit A




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                                    TRANSFER AGREEMENT

                                  FOR ORDINARY SHARES OF

                               HIGHLAND CLO FUNDING, LTD.

 This Transfer Agreement, dated as of December [__], 2020 (this “Transfer Agreement”), is
 entered into by and among Highland CLO Funding, Ltd. (the “Fund”), Highland HCF Advisor,
 Ltd. (the “Portfolio Manager”), HCMLP Investments, LLC (the “Transferee”) and each of the
 following: HarbourVest Dover Street IX Investment L.P., HarbourVest 2017 Global AIF L.P.,
 HarbourVest 2017 Global Fund L.P., HV International VIII Secondary L.P., and HarbourVest
 Skew Base AIF L.P. (collectively, the “Transferors”).

 WHEREAS, each Transferor is the record, legal and beneficial owner of the number of ordinary
 shares (“Shares”) of the Fund set forth opposite such Transferor’s name on Exhibit A hereto
 (with respect to each Transferor, the “Transferred Shares”).

 WHEREAS the Transferee is an affiliate and wholly owned subsidiary of Highland Capital
 Management, L.P. (“HCMLP”) which is one of the initial members of the Fund.

 WHEREAS, each Transferor wishes to transfer and assign 100% of its rights, title and interest as
 a shareholder in the Fund, including the Transferred Shares (the “Interest”) on the terms set
 forth in this Transfer Agreement.

 WHEREAS, subject to and in connection with the approval of that certain Settlement
 Agreement, dated on or about the date hereof, by and among HCMLP and the Transferors (the
 “Settlement Agreement”), the Transferee desires that the Interest be transferred to Transferee
 and that thereafter the Transferee will become a Shareholder and the Transferors will no longer
 be Shareholders.

 WHEREAS, the Portfolio Manager desires to consent to such transfers and to the admission of
 Transferee as a Shareholder on the terms set forth herein, and the Transferors and Transferee
 agree to such terms.

 WHEREAS, the Fund desires to amend its records to reflect the foregoing transfers.

 NOW, THEREFORE, the parties hereto agree as follows:

 1. Transfer of Shares and Advisory Board

     a. Each Transferor hereby transfers and assigns all of its rights, title, and interest in its
        Interest to the Transferee, and the Transferee wishes to be admitted to the Fund as a
        Shareholder.

     b. In connection with the transfer of the Interest as contemplated herein, the Transferee shall
        be granted the right to appoint a representative to the Fund’s advisory board (the
        “Advisory Board”) to replace the Transferors’ appointed representative to the Advisory
        Board.


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     c. Transferee hereby assumes all of Transferor’s rights and obligations in respect of the
        Interest effective as of the Effective Date (as defined below) and acknowledge that
        thereafter Transferee shall be subject to the applicable terms and provisions of the
        Members’ Agreement dated as of November 15, 2017 (the “Members’ Agreement”), the
        Articles of Incorporation adopted November 15, 2017 (the “Articles”) and the
        Subscription and transfer Agreement, dated as of November 15, 2017 among each
        Transferor, the Fund and the Portfolio Manager (the “Subscription Agreement”, and
        together with the Members’ Agreement and the Articles, the “Fund Agreements”) with
        respect to the Interest. Transferee does not assume any liability or responsibility for any
        obligations or liabilities incurred by any Transferor prior to the Effective Date of the
        transfer.

     d. Following the transfer, each Transferor shall have no further rights or obligations to any
        party hereunder in respect of the Interest under the Fund Agreements.

     e. This Transfer Agreement, and the parties’ obligations hereunder, are conditioned in all
        respects on the approval by the Bankruptcy Court for the Northern District of Texas,
        Dallas Division pursuant to Federal Rule of Bankruptcy Procedure 9019 of (i) this
        Transfer Agreement and (ii) the Settlement Agreement, and each of the parties agree that
        no further action shall be required from any party for the transfer of the Interest to be
        effective except as described herein.

 2. Transferee’s Representations and Warranties. The Transferee represents and warrants to the
    Transferors, the Portfolio Manager, and the Fund as follows:

     a. This Transfer Agreement constitutes a valid and binding obligation of the Transferee,
        enforceable against it in accordance with its terms;

     b. This Transfer Agreement has been duly and validly executed and delivered by or on
        behalf of the Transferee and such execution and delivery have been duly authorized by all
        necessary trust action of the Transferee;

     c. The Transferee acknowledges receipt of, has read, and is familiar with, the Fund’s
        Offering Memorandum for Placing Shares dated November 15, 2017 (the “Offering
        Memorandum”) and the Fund Agreements;

     d. The Transferee hereby accepts and receives the Interest from the Transferors for
        investment, and not with a view to the sale or distribution of any part thereof, and the
        Transferee has no present intention of selling, granting participations in, or otherwise
        distributing the same, but subject nevertheless to any requirement of law that the
        disposition of the Transferee’s property shall at all times be within such Transferee’s
        control; and

     e. The Transferee is an “Eligible U.S. Investor” as defined in the Offering Memorandum.



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 3. Transferors’ Representations and Warranties. Each Transferor represents and warrants to the
    Transferee, the Portfolio Manager, and the Fund as follows:

     a. This Transfer Agreement constitutes a valid and binding obligation of the Transferor,
        enforceable against it in accordance with its terms;

     b. This Transfer Agreement has been duly authorized, and duly and validly executed and
        delivered by the Transferor and such execution and delivery have been duly authorized
        by all necessary action of the Transferor; and

     c. As of the date hereof, the Transferor has good and valid title to the Transferor’s Interest,
        free and clear of any liens, vesting requirements or claims by others.

 4. Consent to Transfer. Based in part on the representations and warranties of the Transferors
    and the Transferee which are included herein, and on the terms contained herein, the
    Portfolio Manager and the Fund hereby consent to the transfers of the Interest, the admission
    of the Transferee as a Shareholder and the Transferee’s appointment of a representative to the
    Advisory Board, the Portfolio Manager’s execution of this Transfer Agreement constituting
    its prior written consent to the transfers of the Interest for the purposes of article 18.1 of the
    Articles and this Transfer Agreement constituting express notice in writing to the Fund of the
    assignment set out at clause 1(c) above for the purposes of the Law of Property
    (Miscellaneous Provisions) (Guernsey) Law, 1979 (as amended).

 5. Completion: As of the date of approval by the Bankruptcy Court for the Northern District of
    Texas, Dallas Division pursuant to Federal Rule of Bankruptcy Procedure 9019 of (i) this
    Transfer Agreement and (ii) the Settlement Agreement (the “Effective Date”):

     a. each Transferor shall deliver or cause to be delivered to the Transferee a transfer
        instrument relating to the Transferred Shares duly executed and completed by that
        Transferor in favor of the Transferee; and

     b. the Transferee shall deliver to the Transferors and the Fund a duly executed and dated
        Adherence Agreement (as defined in the Members' Agreement).

      Prior to the Effective Date the Transferee shall procure that:

     c. the board of directors of the Fund shall hold a meeting at which the transfer of the Shares
        to the Transferee shall be approved and registration in the register of members of the
        Fund shall be effected on the Effective Date.

 6. Miscellaneous.

     a. Each of the parties hereto agree to execute any further instruments and perform any
        further acts which are or may become reasonably necessary to carry out the intent of this
        Transfer Agreement or are reasonably requested by the Portfolio Manager, the Fund or a
        Transferor to complete the transfer of the Interest.


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     b. The parties to this Transfer Agreement acknowledge that the terms of this Transfer
        Agreement are the result of arms’-length negotiations between the parties and their
        respective counsel. Each party and its counsel cooperated in the drafting and preparation
        of this Transfer Agreement. In any construction to be made of this Transfer Agreement,
        the language or drafting of this Transfer Agreement will not be construed against any
        party.

     c. This Transfer Agreement shall be governed by, and construed and enforced in accordance
        with, the internal substantive laws of the state of Delaware, without giving effect to
        conflicts of law principles.

     d. The representations, warranties and covenants of the Transferors and the Transferee shall
        remain in full force and effect following the transfer of the Interest, and the Fund and the
        Portfolio Manager thereafter may rely on all such representations, warranties and
        covenants.

     e. This Transfer Agreement may be executed in multiple counterparts, each of which shall
        be deemed to be an original, but all of which together shall constitute one and the same
        instrument. Photographic, electronic, and facsimile copies of signed counterparts may be
        used in lieu of the originals of this Transfer Agreement for any purpose.

     f. Captions of sections have been added only for convenience and shall not be deemed to be
        a part of this Transfer Agreement.

     g. This Transfer Agreement is among the parties hereto. No Person that is not a party
        hereto shall have any right herein as a third-party beneficiary or otherwise except as
        expressly contemplated hereby.

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         IN WITNESS WHEREOF, the undersigned have executed this Transfer Agreement as of
 the date first above written.



 TRANSFEREE:

 HCMLP Investments, LLC
 By: Highland Capital Management, L.P.
 Its: Member


 By: ______________________________
 Name: James P. Seery, Jr.
 Title: Chief Executive Officer




 PORTFOLIO MANAGER:

 Highland HCF Advisor, Ltd.


 By: ______________________________
 Name: James P. Seery, Jr.
 Title: President



 FUND:
 Highland CLO Funding, Ltd.


 By: ______________________________
 Name:
 Title:



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                         [Additional Signatures on Following Page]




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          IN WITNESS WHEREOF, the undersigned have executed this Transfer Agreement as of
  the date first above written.


 TRANSFERORS:

HarbourVest Dover Street IX Investment L.P.          HV International VIII Secondary L.P.
By: HarbourVest Partners L.P., its Duly Appointed By:       HIPEP VIII Associates L.P.
Investment Manager                                          Its General Partner
By: HarbourVest Partners, LLC
                                                     By:    HarbourVest GP LLC
                                                            Its General Partner
By: _____________________
                                                     By:    HarbourVest Partners, LLC
Name: Michael Pugatch                                       Its Managing Member
Title: Managing Director                             By: _____________________
                                                     Name: Michael Pugatch
                                                     Title: Managing Director


HarbourVest 2017 Global AIF L.P.                     HarbourVest Skew Base AIF L.P.
By:    HarbourVest Partners (Ireland) Limited        By:  HarbourVest Partners (Ireland) Limited
       Its Alternative Investment Fund Manager            Its Alternative Investment Fund
                                                     Manager
By:    HarbourVest Partners L.P.
       Its Duly Appointed Investment Manager         By:    HarbourVest Partners L.P.
                                                            Its Duly Appointed Investment
By:    HarbourVest Partners, LLC                            Manager
       Its General Partner
                                                     By:    HarbourVest Partners, LLC
                                                            Its General Partner
By: _____________________
Name: Michael Pugatch                                By: _____________________
Title: Managing Director                             Name: Michael Pugatch
                                                     Title: Managing Director




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HarbourVest 2017 Global Fund L.P.
By:    HarbourVest 2017 Global Associates L.P.
       Its General Partner

By:    HarbourVest GP LLC
       Its General Partner

By:    HarbourVest Partners, LLC
       Its Managing Member

By: _____________________
Name: Michael Pugatch
Title: Managing Director




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 Transferee Name                                   Number of Shares      Percentage

 HarbourVest Dover Street IX Investment L.P.           [_____]             [_____]

 HarbourVest 2017 Global AIF L.P.                      [_____]             [_____]

 HarbourVest 2017 Global Fund L.P.                     [_____]             [_____]

 HV International VIII Secondary L.P.                  [_____]             [_____]

 HarbourVest Skew Base AIF L.P.                        [_____]             [_____]




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                                       Exhibit D




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS


                                                     §
  CHARITABLE DAF FUND, L.P.,                         §
  and CLO HOLDCO, LTD.,                              §
  directly and derivatively,                         §
                                                     §
                                PLAINTIFFS,          §
                                                     §            Case No. 3:21-cv-00842-b
  v.                                                 §
                                                     §
  HIGHLAND CAPITAL MANAGEMENT,                       §
  L.P., HIGHLAND HCF ADVISOR, LTD.,                  §
  and HIGHLAND CLO FUNDING, LTD.,                    §
  Nominally,                                         §
                                                     §
                                DEFENDANTS.          §



                DECLARATION OF RICHARD BOLEAT IN SUPPORT OF
                HIGHLAND CLO FUNDING, LTD.’S MOTION TO DISMISS

 I, Richard Boléat, pursuant to 28 U.S.C. § 1746(a), declare under penalty of perjury the following:


        1.      I am one of two directors of Highland CLO Funding, Ltd. (“HCLOF”). I have been

 a director of HCLOF since 7th July 2020. The other director, Richard M. Burwood, was also

 appointed on 7th July 2020.

        2.      Mr. Burwood and I are the only directors of HCLOF.

        3.      HCLOF’s corporate headquarters is in the Bailiwick of Guernsey, a Channel Island

 lying between the United Kingdom and France. All operations of HCLOF take place within

 Guernsey’s limits. Mr. Burwood is a resident of Guernsey, and I am a resident of the Bailiwick of

 Jersey, another Channel Island.

        4.      HCLOF conducts no business operations or activities in the United States. It

 manages its holdings in various Acis entities, and directs its counsel, from Guernsey. It has no



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 continuous or systematic contacts with the United States, and its directors have not traveled to the

 United States in connection with HCLOF’s business.

        5.      HCLOF’s connection with the United States is limited to this litigation and other

 litigation arising from the acts of its portfolio managers.

        Dated: 30 August 2021




                                                Richard Boléat




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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  CHARITABLE DAF FUND, L.P., and                 §
  CLO HOLDCO, LTD.,                              §
                                                 §
       Plaintiffs,                               §
                                                 §
  v.                                             § CIVIL ACTION NO. 3:21-CV-0842-B
                                                 §
  HIGHLAND CAPITAL                               §
  MANAGEMENT, L.P., HIGHLAND                     §
  HCF ADVISOR, LTD., and                         §
  HIGHLAND CLO FUNDING, LTD.,                    §
                                                 §
       Defendants.                               §

                                     ORDER OF REFERENCE

          Pursuant to 28 U.S.C. § 157 and this District’s Miscellaneous Order No. 33, this case is

 hereby REFERRED to Judge Stacey G. C. Jernigan of the United States Bankruptcy Court for the

 Northern District of Texas, Dallas Division, to be adjudicated as a matter related to the consolidated

 Chapter 11 Bankruptcy of Highland Capital Management, L.P., Chapter 11 Case No. 19-34054. The

 Clerk of this Court and the Clerk of the Bankruptcy Court to which this case is hereby referred are

 directed to take such actions as are necessary and appropriate to cause this matter to be docketed

 as an Adversary Proceeding associated with the consolidated Chapter 11 Bankruptcy of Highland

 Capital Management, L.P., Case No. 19-34054.

          SO ORDERED.

          SIGNED: September 20, 2021.

                                                ______________________________
                                                JANE J. BOYLE
                                                UNITED STATES DISTRICT JUDGE


                                                 -1-



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                                          09/11/23


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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

     In re:                                                      §
                                                                 §   Chapter 11
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        §
                                                                 §   Case No. 19-34054-sgj11
                                                                 §
                                     Reorganized Debtor.
                                                                 §
     CHARITABLE DAF FUND, L.P., AND CLO                          §
     HOLDCO, LTD., DIRECTLY AND                                  §
     DERIVATELY,                                                 §
                                                                 §
                                     Plaintiffs,                 §   Adversary Proceeding No.
                                                                 §
     vs.                                                         §   21-03067-sgj
                                                                 §
     HIGHLAND CAPITAL MANAGEMENT, L.P.,                          §
     HIGHLAND HCF ADVISOR, LTD., AND                             §
     HIGHLAND CLO FUNDING LTD.,                                  §
     NOMINALLY,                                                  §
                                                                 §
                                     Defendants.                 §




 1
   The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
 service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that the following motions (collectively, the “Motions”) pending

 in the above-referenced adversary proceeding have been scheduled for hearing on Tuesday,

 November 23, 2021 at 9:30 a.m. (Central Time) (the “Hearing”):

        1.      Plaintiffs’ Motion to Stay All Proceedings [AP Docket No. 55];

        2.      Motion to Strike Reply Appendix [AP Docket No. 47]; and

        3.      Defendant Highland Capital Management, L.P.’s Motion to Dismiss Complaint
                [AP Docket No. 26].

        The Hearing on the Motions will be held via WebEx videoconference before The Honorable

 Stacey G. C. Jernigan, United States Bankruptcy Judge. The WebEx video participation/attendance

 link for the Hearing is: https://us-courts.webex.com/meet/jerniga.

        A copy of the WebEx Hearing Instructions for the Hearing is attached hereto as Exhibit A;

 alternatively, the WebEx Hearing Instructions for the Hearing may be obtained from Judge

 Jernigan’s hearing/calendar site at: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-

 jernigans-hearing-dates.

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                                          09/11/23


  Dated: October 19, 2021.         PACHULSKI STANG ZIEHL & JONES LLP

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                                   John A. Morris (NY Bar No. 266326)
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                                   Email: jpomerantz@pszjlaw.com
                                           jmorris@pszjlaw.com
                                           gdemo@pszjlaw.com
                                           hwinograd@pszjlaw.com

                                   -and-
                                   HAYWARD PLLC
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                                   Dallas, Texas 75231
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                                   Fax: (972) 755-7110
                                   Counsel for Highland Capital Management, L.P.




                                       3


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                                EXHIBIT A




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                              18-14       Instructions
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                                      Judge 6WDFH\*-HUQLJDQ
 Pursuant to General Order 2020-14 issued by the Court on May 20, 2020, all hearings before Judge 6WDFH\
 *-HUQLJDQ are currently being conducted by WebEx videoconference unless ordered otherwise.

 For WebEx Video Participation/Attendance:
 Link:   https://us-courts.webex.com/meet/MHUQLJD

 For WebEx Telephonic Only Participation/Attendance:
 Dial-In: 1.650.479.3207
 Meeting ID: 4 

 Participation/Attendance Requirements:
 x       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged
         to attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and
         other parties in interest who will not be seeking to introduce any evidence at the hearing and who
         wish to attend the hearing in a telephonic only mode may attend the hearing in the WebEx
         telephonic only mode using the WebEx dial-in and meeting ID above.
 x       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please
         be advised that a hearing may already be in progress. During hearings, participants are required to
         keep their lines on mute at all times that they are not addressing the Court or otherwise actively
         participating in the hearing. The Court reserves the right to disconnect or place on permanent
         mute any attendee that causes any disruption to the proceedings. For general information and
         tips with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04:https://
         www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
 x       Witnesses are required to attend the hearing in the WebEx video mode and live testimony
         will only be accepted from witnesses who have the WebEx video function activated.
         Telephonic testimony without accompanying video will not be accepted by the Court.
 x       All WebEx hearing attendees are required to comply with Judge -HUQLJDQ’V Telephonic
         and Videoconference Hearing Policy (included within Judge -HUQLJDQ’V Judge-Specific
         Guidelines): KWWSVZZZW[QEXVFRXUWVJRYFRQWHQWMXGJHVWDFH\JFMHUQLJDQ

 Exhibit Requirements:
 x       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in
         the case with a true and correct copy of each designated exhibit filed as a separate, individual
         attachment thereto so that the Court and all participants have ready access to all designated exhibits.
 x       If the number of pages of such exhibits exceeds 100, then such party must also deliver two (2) sets
         of such exhibits in exhibit binders to the Court by no later than twenty-four (24) hours in advance
         of the hearing.

 Notice of Hearing Content and Filing Requirements:
 IMPORTANT: For all hearings that will be conducted by WebEx only:
 x       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice
         that the hearing will be conducted by WebEx videoconference only, (2) provide notice of the above
         WebEx video participation/attendance link, and (3) attach a copy of these WebEx Hearing
         Instructions or provide notice that they may be obtained from Judge -HUQLJDQ Vhearing/calendar
         site:KWWSVZZZW[QEXVFRXUWVJRYMXGJHVLQIRKHDULQJGDWHVMXGJHMHUQLJDQVKHDULQJGDWHV
 x       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
         courts.webex.com/meet/MHUQLJD” as the location of the hearing (note: this option appears
         immediately after the first set of Wichita Falls locations). Do not select Judge -HUQLJDQ V'DOODV
         courtroom as the location for the hearing.
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 Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                             §
 In re:
                                                             §      Chapter 11
                                                             §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                             §      Case No. 19-34054-sgj11
                                                             §
                                  Reorganized Debtor.
                                                             §
 CHARITABLE DAF FUND, L.P.,                                  §
 and CLO HOLDCO, LTD.,                                       §
 directly and derivatively,                                  §      Adversary Proceeding No.
                                                             §
                                  Plaintiffs,                §      21-03067
                                                             §
 vs.                                                         §
                                                             §
 HIGHLAND CAPITAL MANAGEMENT,                                §
 L.P., HIGHLAND HCF ADVISOR, LTD.,                           §
 AND HIGHLAND CLO FUNDING, LTD.,                             §
 Nominally,                                                  §
                                                             §
                                  Defendants.                §

               DEBTOR’S WITNESS AND EXHIBIT LIST WITH RESPECT
           TO EVIDENTIARY HEARING TO BE HELD ON NOVEMBER 23, 2021


 WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 23, 2021                                     PAGE 1 OF 4
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         Highland Capital Management, L.P. (the “Debtor”) submits the following witness and

 exhibit list with respect to Defendant Highland Capital Management, L.P.'s Motion to Dismiss

 Complaint [Docket No. 26], which the Court has set for hearing at 9:30 a.m. (Central Time) on

 November 23, 2021 (the “Hearing”) in the above-styled adversary proceeding (the “Adversary

 Proceeding”).

         A.       Witnesses:

                  1.         Any witness identified by or called by any other party; and

                  2.         Any witness necessary for rebuttal.

         B.       Exhibits:

Number                                       Exhibit                                Offered      Admitted

              HarbourVest 2017 Global Fund L.P. Proof of Claim No. 143,
              HarbourVest 2017 Global AIF L.P., Proof of Claim No. 147,
              HarbourVest Dover Street IX Investment L.P., Proof of Claim
  1.          No. 150, HV International VIII Secondary L.P., Proof of
              Claim No. 153, HarbourVest Skew Base AIF L.P., Proof of
              Claim No. 154, and HarbourVest Partners L.P., Proof of Claim
              No, 149.
              Motion for Entry of an Order Approving Settlement with
              HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and
  2.
              Authorizing Actions Consistent Therewith [Case No. 19-34054,
              Docket No. 1625]
              Settlement Agreement and Transfer Agreement for Ordinary
  3.          Shares of Highland CLO Funding, Ltd. [Case No. 19-34054,
              Docket No. 1631-1]
              James Dondero’s Objection to the Debtor’s Motion for Entry
  4.          of an Order Approving Settlement with HarbourVest, [Case
              No. 19-34054, Docket No. 1697]
              The Dugaboy Investment Trust and Get Good Trust’s
              Objection to the Debtor’s Motion for Entry of an Order
  5.          Approving Settlement with HarbourVest (Claim Nos. 143, 147,
              149, 150, 153, 154) and Authorizing Actions Consistent
              Therewith [Case No. 19-34054, Docket No. 1706]
              CLO Holdco, LTD.’s Objection to HarbourVest Settlement
  6.
              [Case No. 19-34054, Docket No. 1707]

 WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 23, 2021                                    PAGE 2 OF 4
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Number                                    Exhibit                               Offered      Admitted


  7.          Deposition Transcript of Michael Pugatch, January 11, 2021

              Omnibus Reply in Support of Debtor’s Motion for Entry of an
              Order Approving Settlement with HarbourVest (Claim Nos.
  8.
              143, 147, 149, 150, 153, 154) and Authorizing Actions
              Consistent Therewith [Case No. 19-34054, Docket No. 1731]

  9.          Hearing Transcript, January 14, 2021 [Case No. 19-34054]

              Order Approving Debtor’s Settlement with HarbourVest
              (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing
  10.
              Actions Consistent Therewith [Case No. 19-34054, Docket No.
              1788]

  11.         Original Complaint [Docket No. 1]

  12.         Deposition Transcript of Grant Scott, January 21, 2021

  13.         Members Agreement, November 15, 2017

              Any document entered or filed in the Reorganized Debtor’s
  14.
              Bankruptcy Case, including any exhibits thereto
              All exhibits necessary for impeachment and/or rebuttal
  15.
              purposes
              All exhibits identified by or offered by any other party at the
  16.
              Hearing




 WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 23, 2021                                PAGE 3 OF 4
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 Dated: November 22, 2021.               PACHULSKI STANG ZIEHL & JONES LLP

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                                         John A. Morris (NY Bar No. 266326)
                                         Gregory V. Demo (NY Bar No. 5371992)
                                         Judith Elkin (TX Bar No. 06522200)
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                                                 jmorris@pszjlaw.com
                                                 gdemo@pszjlaw.com
                                                 jelkin@pszjlaw.com
                                                 hwinograd@pszjlaw.com-and-

                                         -and-

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 WITNESS AND EXHIBIT LIST FOR HEARING ON NOVEMBER 23, 2021                          PAGE 4 OF 4
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                                EXHIBIT 




                                                                     002887
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                                                     Page  3 of 505Page 146 ofClaim
                                                       09/11/23                 213#143 Date Filed: 4/8/2020
                                                                                     PageID  3213
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HarbourVest 2017 Global Fund L.P.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HarbourVest 2017 Global Fund L.P.                                               See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                        ¨1¤}HV4$( 002889 WT«                              page 1
                                                                                                                            1934054200408000000000055
          Case 21-03067-sgj Doc 71-1 Filed 11/22/21 Entered 11/22/21 14:33:46 Desc
                                 Exhibits
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                                                  Page  4 of 505Page 147 of 213 PageID 3214
                                                    09/11/23
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                        ¨1¤}HV4$( 002890 WT«                    page 2
                                                                                                            1934054200408000000000055
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       Case 3:23-cv-01503-B Document 18-141-13Filed
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director - Company: HarbourVest 2017 Global Fund L.P., by Harbo
                                  Company                    by HarbourVest GP LLC, its General Partner, by HarbourVest Partners, LL
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
                                                                                                                          ¨1¤}HV4$( 002891 WT«                      page 3
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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
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       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                        Has Supporting Documentation:
               +DUERXU9HVW*OREDO)XQG/3                               <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               $WWQ(ULFD:HLVJHUEHU                                   Related Document Statement:
               'HEHYRLVHDQG3OLPSWRQ//3
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              86$
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                                                                      $XWKRUL]HGDJHQW
              Phone 2:

              Fax:

              Email:
              HZHLVJHUEHU#GHEHYRLVHFRP
       Disbursement/Notice Parties:
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              E-mail:
              DJRUHQ#KDUERXUYHVWFRP
              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                    Amends Claim:
                                                                                1R
                                                                        Acquired Claim:
                                                                                1R
       Basis of Claim:                                                  Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                         1R
       Total Amount of Claim:                                           Includes Interest or Charges:
              6HH$QQH[                                                         1RQH
       Has Priority Claim:                                              Priority Under:
              1R
       Has Secured Claim:                                               Nature of Secured Amount:
              1R                                                        Value of Property:
       Amount of 503(b)(9):                                             Annual Interest Rate:
              1R
                                                                        Arrearage Amount:
       Based on Lease:
              1R                                                        Basis for Perfection:
       Subject to Right of Setoff:                                      Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+DUERXU9HVW*OREDO)XQG/3E\+DUERXU9HVW*OREDO$VVRFLDWHV/3LWV*HQ
              3DUWQHU
       Company:
              E\+DUERXU9HVW*3//&LWV*HQHUDO3DUWQHUE\+DUERXU9HVW3DUWQHUV//&LWV0DQDJLQJ0HPEHU


VN: 0DB62642624B41D1B004FEABCD97B964                                                                              002892
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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                           Chapter 11

 Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                       Debtor.




                                 ANNEX TO PROOF OF CLAIM

          1.   This annex (the “Annex”) is part of and is incorporated by reference into the

 attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

 detail the claims of HarbourVest 2017 Global Fund L.P. (the “Claimant”) against the debtor

 Highland Capital Management, L.P. (the “Debtor”).

          2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

 Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

 Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

 11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

 January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

 former employee, Joshua Terry, who served as portfolio manager for Debtor’s collateral loan

 obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions of Law in

 Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

 (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

 detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of

 Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan

 (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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 bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

 associated with the management of, and transactions relating to, Acis, including transactions

 with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

 03078(SGJ), Dkt. No. 157].

        3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

 by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

 officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

 includes, but is not limited to, financial harm resulting from, among other things (i) court orders

 in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

 refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

 (ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

 See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

        4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

 remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

 connection with and relating to the foregoing harm, including for any amounts due or owed

 under the various agreements with the Debtor in connection with HCLOF (including, but not

 limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

 Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

 Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

 Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

 action relating to the foregoing harm.

        5.      The Claimant has not attached the documentation supporting this Claim to this

 Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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 documents.    However, any requested relevant documents will be provided to the Official

 Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

 event of a dispute regarding this Proof of Claim and will be made available for review by other

 parties in interest as appropriate upon reasonable request and after consultation with the Debtor

 and execution of appropriate confidentiality agreements.

        6.      This Proof of Claim is filed with a full reservation of rights, including the right to

 amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

 time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

 release of any of the Claimant’s rights against any person, entity or property accruing to it

 against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

 § 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

 Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

 any of the claims described herein, or any objection or other proceeding commenced with respect

 to any of the claims described herein, or any other proceeding commenced in the Debtor’s

 chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

 of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

 proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

 orders entered only after de novo review by a United States District Judge; (f) an election of

 remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

 withdrawal of the reference with respect to any matter, including, without limitation, any matter

 relating to this Proof of Claim.

        7.      Claimant’s express reservation of all rights and causes of action, includes, without

 limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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 as well as defenses, offsets and counterclaims. This description and classification of claims by

 the Claimant is not a concession or admission as to the correct characterization or treatment of

 any such claims or a waiver of any rights of the Claimant.

        8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

 of claim for additional claims that may be based on the same or additional documents or facts or

 other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

 (b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

 this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

 defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

 payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

 claims or rights of payment described above and any additional amounts; and (e) seek recovery

 through any relevant third parties, including any of the Debtor’s insurance coverage providers.

        9.      This Proof of Claim does not encompass all claims that the Claimant or its

 affiliates may have that arise after the Petition Date and are entitled to administrative priority,

 and the Claimant expressly reserves its right to file such claim or any similar claim at the

 appropriate time, including any such post-petition claims arising under these service contracts.

        10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

 additional proofs of claim or requests for payment with respect to any other indebtedness,

 liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

 amendment or other action, waive any rights with respect to any scheduled claim.

        11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

 supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

 for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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 other relationships between the Claimant and the Debtor), as well as the right to file any separate

 or additional proofs of claim with respect to the claims set forth herein or otherwise, including

 for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

 to file additional proofs of claim in respect of additional amounts or for any other reason.

        12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

 jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

 than with respect to this Proof of Claim against the Debtor, and does not waive or release any

 rights or remedies against any other person or entity that may be liable for all or part of this

 Proof of Claim.

        13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

 Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

        14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

 address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                 ***




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                                        18-14      Page          Page 156 ofClaim
                                                         13 of 505
                                                      09/11/23                213#147 Date Filed: 4/8/2020
                                                                                   PageID  3223
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HarbourVest 2017 Global AIF L.P.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HarbourVest 2017 Global AIF L.P.                                                See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
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       Case 3:23-cv-01503-B Document     1-13Filed
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
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                                                   09/11/23   Page 158 of 213 PageID 3225
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HarbourVest 2017 Global AIF L.P., by HarbourV
                                  Company                    Inv Fund Mgr, by HarbourVest Partners L.P., its Duly Appointed Investme
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
                                                                                                                          ¨1¤}HV4$( 002901 [%«                      page 3
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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
               +LJKODQG&DSLWDO0DQDJHPHQW/3
       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                         Has Supporting Documentation:
               +DUERXU9HVW*OREDO$,)/3                                 <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               $WWQ(ULFD:HLVJHUEHU                                    Related Document Statement:
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              1HZ<RUN1<                                        Related Claim Filed By:
              86$
              Phone:                                                     Filing Party:
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              Phone 2:

              Fax:

              Email:
              HZHLVJHUEHU#GHEHYRLVHFRP
       Disbursement/Notice Parties:
              +DUERXU9HVW*OREDO$,)/3FR+DUERXU9HVW
              3DUWQHUV//&

              2QH)LQDQFLDO&HQWHU

              %RVWRQ0$

              Phone:
              
              Phone 2:

              Fax:

              E-mail:
              DJRUHQ#KDUERXUYHVWFRP
              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                                 1R
                                                                         Acquired Claim:
                                                                                 1R
       Basis of Claim:                                                   Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                          1R
       Total Amount of Claim:                                            Includes Interest or Charges:
              6HH$QQH[                                                          1RQH
       Has Priority Claim:                                               Priority Under:
              1R
       Has Secured Claim:                                                 Nature of Secured Amount:
              1R                                                          Value of Property:
       Amount of 503(b)(9):                                               Annual Interest Rate:
              1R
                                                                          Arrearage Amount:
       Based on Lease:
              1R                                                          Basis for Perfection:
       Subject to Right of Setoff:                                        Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+DUERXU9HVW*OREDO$,)/3E\+DUERXU9HVW3DUWQHUV,UHODQG/LPLWHGLWV$OWHUQDWLYH
       Company:
              ,QY)XQG0JUE\+DUERXU9HVW3DUWQHUV/3LWV'XO\$SSRLQWHG,QYHVWPHQW0DQDJHUE\+DUERXU9HVW3DUWQHUV//&LWV*HQ3WU




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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                           Chapter 11

 Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                       Debtor.




                                 ANNEX TO PROOF OF CLAIM

          1.   This annex (the “Annex”) is part of and is incorporated by reference into the

 attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

 detail the claims of HarbourVest 2017 Global AIF L.P. (the “Claimant”) against the debtor

 Highland Capital Management, L.P. (the “Debtor”).

          2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

 Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

 Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

 11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

 January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

 former employee, Joshua Terry, who served as portfolio manager for Debtor’s collateral loan

 obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions of Law in

 Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

 (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

 detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of

 Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan

 (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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 bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

 associated with the management of, and transactions relating to, Acis, including transactions

 with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

 03078(SGJ), Dkt. No. 157].

        3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

 by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

 officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

 includes, but is not limited to, financial harm resulting from, among other things (i) court orders

 in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

 refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

 (ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

 See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

        4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

 remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

 connection with and relating to the foregoing harm, including for any amounts due or owed

 under the various agreements with the Debtor in connection with HCLOF (including, but not

 limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

 Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

 Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

 Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

 action relating to the foregoing harm.

        5.      The Claimant has not attached the documentation supporting this Claim to this

 Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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 documents.    However, any requested relevant documents will be provided to the Official

 Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

 event of a dispute regarding this Proof of Claim and will be made available for review by other

 parties in interest as appropriate upon reasonable request and after consultation with the Debtor

 and execution of appropriate confidentiality agreements.

        6.      This Proof of Claim is filed with a full reservation of rights, including the right to

 amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

 time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

 release of any of the Claimant’s rights against any person, entity or property accruing to it

 against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

 § 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

 Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

 any of the claims described herein, or any objection or other proceeding commenced with respect

 to any of the claims described herein, or any other proceeding commenced in the Debtor’s

 chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

 of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

 proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

 orders entered only after de novo review by a United States District Judge; (f) an election of

 remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

 withdrawal of the reference with respect to any matter, including, without limitation, any matter

 relating to this Proof of Claim.

        7.      Claimant’s express reservation of all rights and causes of action, includes, without

 limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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 as well as defenses, offsets and counterclaims. This description and classification of claims by

 the Claimant is not a concession or admission as to the correct characterization or treatment of

 any such claims or a waiver of any rights of the Claimant.

        8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

 of claim for additional claims that may be based on the same or additional documents or facts or

 other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

 (b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

 this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

 defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

 payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

 claims or rights of payment described above and any additional amounts; and (e) seek recovery

 through any relevant third parties, including any of the Debtor’s insurance coverage providers.

        9.      This Proof of Claim does not encompass all claims that the Claimant or its

 affiliates may have that arise after the Petition Date and are entitled to administrative priority,

 and the Claimant expressly reserves its right to file such claim or any similar claim at the

 appropriate time, including any such post-petition claims arising under these service contracts.

        10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

 additional proofs of claim or requests for payment with respect to any other indebtedness,

 liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

 amendment or other action, waive any rights with respect to any scheduled claim.

        11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

 supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

 for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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 other relationships between the Claimant and the Debtor), as well as the right to file any separate

 or additional proofs of claim with respect to the claims set forth herein or otherwise, including

 for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

 to file additional proofs of claim in respect of additional amounts or for any other reason.

        12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

 jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

 than with respect to this Proof of Claim against the Debtor, and does not waive or release any

 rights or remedies against any other person or entity that may be liable for all or part of this

 Proof of Claim.

        13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

 Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

        14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

 address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                 ***




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                                        18-14      Page          Page 166 ofClaim
                                                         23 of 505
                                                      09/11/23                213#150 Date Filed: 4/8/2020
                                                                                   PageID  3233
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HarbourVest Dover Street IX Investment L.P.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page                                                                See summary page
   creditor be sent?
                                 Name                                                                            Name
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone       2129096000                                                  Contact phone       6173483773
                                 Contact email       eweisgerber@debevoise.com                                   Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                        ¨1¤}HV4$( 002909 \3«                              page 1
                                                                                                                            1934054200408000000000060
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                                                   09/11/23   Page 167 of 213 PageID 3234
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                        ¨1¤}HV4$( 002910 \3«                    page 2
                                                                                                            1934054200408000000000060
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HarbourVest Dover Street IX Investment L.P.,
                                  Company                    Inv Fund Mgr, by HarbourVest Partners L.P., its Duly Appointed Investme
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
                                                                                                                          ¨1¤}HV4$( 002911 \3«                      page 3
                                                                                                                              1934054200408000000000060
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                                                     09/11/23 505PageSummary
                                                                      169 of 213 PageID 3236
                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
               +LJKODQG&DSLWDO0DQDJHPHQW/3
       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                         Has Supporting Documentation:
               +DUERXU9HVW'RYHU6WUHHW,;,QYHVWPHQW/3                      <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               $WWQ(ULFD:HLVJHUEHU                                    Related Document Statement:
               'HEHYRLVHDQG3OLPSWRQ//3
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              1HZ<RUN1<                                        Related Claim Filed By:
              86$
              Phone:                                                     Filing Party:
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              Phone 2:

              Fax:

              Email:
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       Disbursement/Notice Parties:
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              E-mail:
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              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                                 1R
                                                                         Acquired Claim:
                                                                                 1R
       Basis of Claim:                                                   Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                          1R
       Total Amount of Claim:                                            Includes Interest or Charges:
              6HH$QQH[                                                          1RQH
       Has Priority Claim:                                               Priority Under:
              1R
       Has Secured Claim:                                                 Nature of Secured Amount:
              1R                                                          Value of Property:
       Amount of 503(b)(9):                                               Annual Interest Rate:
              1R
                                                                          Arrearage Amount:
       Based on Lease:
              1R                                                          Basis for Perfection:
       Subject to Right of Setoff:                                        Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+DUERXU9HVW'RYHU6WUHHW,;,QYHVWPHQW/3E\+DUERXU9HVW3DUWQHUV,UHODQG/LPLWHGLWV$OWHU
       Company:
              ,QY)XQG0JUE\+DUERXU9HVW3DUWQHUV/3LWV'XO\$SSRLQWHG,QYHVWPHQW0DQDJHUE\+DUERXU9HVW3DUWQHUV//&LWV*HQ3WU



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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                           Chapter 11

 Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                       Debtor.




                                 ANNEX TO PROOF OF CLAIM

          1.   This annex (the “Annex”) is part of and is incorporated by reference into the

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          2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

 Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

 Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

 11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

 January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

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 Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

 (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

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 (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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 bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

 associated with the management of, and transactions relating to, Acis, including transactions

 with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

 03078(SGJ), Dkt. No. 157].

        3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

 by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

 officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

 includes, but is not limited to, financial harm resulting from, among other things (i) court orders

 in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

 refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

 (ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

 See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

        4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

 remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

 connection with and relating to the foregoing harm, including for any amounts due or owed

 under the various agreements with the Debtor in connection with HCLOF (including, but not

 limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

 Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

 Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

 Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

 action relating to the foregoing harm.

        5.      The Claimant has not attached the documentation supporting this Claim to this

 Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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 documents.    However, any requested relevant documents will be provided to the Official

 Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

 event of a dispute regarding this Proof of Claim and will be made available for review by other

 parties in interest as appropriate upon reasonable request and after consultation with the Debtor

 and execution of appropriate confidentiality agreements.

        6.      This Proof of Claim is filed with a full reservation of rights, including the right to

 amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

 time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

 release of any of the Claimant’s rights against any person, entity or property accruing to it

 against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

 § 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

 Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

 any of the claims described herein, or any objection or other proceeding commenced with respect

 to any of the claims described herein, or any other proceeding commenced in the Debtor’s

 chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

 of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

 proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

 orders entered only after de novo review by a United States District Judge; (f) an election of

 remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

 withdrawal of the reference with respect to any matter, including, without limitation, any matter

 relating to this Proof of Claim.

        7.      Claimant’s express reservation of all rights and causes of action, includes, without

 limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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 as well as defenses, offsets and counterclaims. This description and classification of claims by

 the Claimant is not a concession or admission as to the correct characterization or treatment of

 any such claims or a waiver of any rights of the Claimant.

        8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

 of claim for additional claims that may be based on the same or additional documents or facts or

 other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

 (b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

 this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

 defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

 payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

 claims or rights of payment described above and any additional amounts; and (e) seek recovery

 through any relevant third parties, including any of the Debtor’s insurance coverage providers.

        9.      This Proof of Claim does not encompass all claims that the Claimant or its

 affiliates may have that arise after the Petition Date and are entitled to administrative priority,

 and the Claimant expressly reserves its right to file such claim or any similar claim at the

 appropriate time, including any such post-petition claims arising under these service contracts.

        10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

 additional proofs of claim or requests for payment with respect to any other indebtedness,

 liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

 amendment or other action, waive any rights with respect to any scheduled claim.

        11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

 supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

 for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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 other relationships between the Claimant and the Debtor), as well as the right to file any separate

 or additional proofs of claim with respect to the claims set forth herein or otherwise, including

 for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

 to file additional proofs of claim in respect of additional amounts or for any other reason.

        12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

 jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

 than with respect to this Proof of Claim against the Debtor, and does not waive or release any

 rights or remedies against any other person or entity that may be liable for all or part of this

 Proof of Claim.

        13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

 Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

        14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

 address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                 ***




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                                                         33 of 505
                                                      09/11/23                213#153 Date Filed: 4/8/2020
                                                                                   PageID  3243
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HV International VIII Secondary L.P.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HV International VIII Secondary L.P.                                            See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                        ¨1¤}HV4$( 002919 ay«                              page 1
                                                                                                                            1934054200408000000000065
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                        ¨1¤}HV4$( 002920 ay«                    page 2
                                                                                                            1934054200408000000000065
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HV International VIII Secondary L.P.,                                              by HIP
                                  Company                    by HarbourVest GP LLC, its General Partner, by HarbourVest Partners, LL
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
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                             Document    Electronic
                                  Exhibits 1-13Filed
                                       18-14      PageClaim
                                                        36 of Filing
                                                     09/11/23 505PageSummary
                                                                      179 of 213 PageID 3246
                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
               +LJKODQG&DSLWDO0DQDJHPHQW/3
       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                          Has Supporting Documentation:
               +9,QWHUQDWLRQDO9,,,6HFRQGDU\/3                              <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               $WWQ(ULFD:HLVJHUEHU                                     Related Document Statement:
               'HEHYRLVHDQG3OLPSWRQ//3
                                                                          Has Related Claim:
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              E-mail:
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              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                      Amends Claim:
                                                                                  1R
                                                                          Acquired Claim:
                                                                                  1R
       Basis of Claim:                                                    Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                           1R
       Total Amount of Claim:                                             Includes Interest or Charges:
              6HH$QQH[                                                           1RQH
       Has Priority Claim:                                                Priority Under:
              1R
       Has Secured Claim:                                               Nature of Secured Amount:
              1R                                                        Value of Property:
       Amount of 503(b)(9):                                             Annual Interest Rate:
              1R
                                                                        Arrearage Amount:
       Based on Lease:
              1R                                                        Basis for Perfection:
       Subject to Right of Setoff:                                      Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+9,QWHUQDWLRQDO9,,,6HFRQGDU\/3E\+,3(39,,,$VVRFLDWHV/3LWV*HQHUDO3DUWQHU
       Company:
              E\+DUERXU9HVW*3//&LWV*HQHUDO3DUWQHUE\+DUERXU9HVW3DUWQHUV//&LWV0DQDJLQJ0HPEHU



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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                           Chapter 11

 Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                       Debtor.




                                 ANNEX TO PROOF OF CLAIM

          1.   This annex (the “Annex”) is part of and is incorporated by reference into the

 attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

 detail the claims of HV International VIII Secondary L.P. (the “Claimant”) against the debtor

 Highland Capital Management, L.P. (the “Debtor”).

          2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

 Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

 Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

 11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

 January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

 former employee, Joshua Terry, who served as portfolio manager for Debtor’s collateral loan

 obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions of Law in

 Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

 (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

 detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of

 Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan

 (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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 bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

 associated with the management of, and transactions relating to, Acis, including transactions

 with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

 03078(SGJ), Dkt. No. 157].

        3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

 by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

 officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

 includes, but is not limited to, financial harm resulting from, among other things (i) court orders

 in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

 refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

 (ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

 See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

        4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

 remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

 connection with and relating to the foregoing harm, including for any amounts due or owed

 under the various agreements with the Debtor in connection with HCLOF (including, but not

 limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

 Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

 Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

 Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

 action relating to the foregoing harm.

        5.      The Claimant has not attached the documentation supporting this Claim to this

 Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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 documents.    However, any requested relevant documents will be provided to the Official

 Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

 event of a dispute regarding this Proof of Claim and will be made available for review by other

 parties in interest as appropriate upon reasonable request and after consultation with the Debtor

 and execution of appropriate confidentiality agreements.

        6.      This Proof of Claim is filed with a full reservation of rights, including the right to

 amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

 time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

 release of any of the Claimant’s rights against any person, entity or property accruing to it

 against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

 § 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

 Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

 any of the claims described herein, or any objection or other proceeding commenced with respect

 to any of the claims described herein, or any other proceeding commenced in the Debtor’s

 chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

 of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

 proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

 orders entered only after de novo review by a United States District Judge; (f) an election of

 remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

 withdrawal of the reference with respect to any matter, including, without limitation, any matter

 relating to this Proof of Claim.

        7.      Claimant’s express reservation of all rights and causes of action, includes, without

 limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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 as well as defenses, offsets and counterclaims. This description and classification of claims by

 the Claimant is not a concession or admission as to the correct characterization or treatment of

 any such claims or a waiver of any rights of the Claimant.

        8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

 of claim for additional claims that may be based on the same or additional documents or facts or

 other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

 (b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

 this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

 defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

 payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

 claims or rights of payment described above and any additional amounts; and (e) seek recovery

 through any relevant third parties, including any of the Debtor’s insurance coverage providers.

        9.      This Proof of Claim does not encompass all claims that the Claimant or its

 affiliates may have that arise after the Petition Date and are entitled to administrative priority,

 and the Claimant expressly reserves its right to file such claim or any similar claim at the

 appropriate time, including any such post-petition claims arising under these service contracts.

        10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

 additional proofs of claim or requests for payment with respect to any other indebtedness,

 liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

 amendment or other action, waive any rights with respect to any scheduled claim.

        11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

 supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

 for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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 other relationships between the Claimant and the Debtor), as well as the right to file any separate

 or additional proofs of claim with respect to the claims set forth herein or otherwise, including

 for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

 to file additional proofs of claim in respect of additional amounts or for any other reason.

        12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

 jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

 than with respect to this Proof of Claim against the Debtor, and does not waive or release any

 rights or remedies against any other person or entity that may be liable for all or part of this

 Proof of Claim.

        13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

 Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

        14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

 address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                 ***




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                                        18-14      Page          Page 186 ofClaim
                                                         43 of 505
                                                      09/11/23                213#154 Date Filed: 4/8/2020
                                                                                   PageID  3253
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HarbourVest Skew Base AIF L.P.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HarbourVest Skew Base AIF L.P.                                                  See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
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                                                                                                                            1934054200408000000000064
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                        ¨1¤}HV4$( 002930 `k«                    page 2
                                                                                                            1934054200408000000000064
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                                     18-14      Page  45 of 505
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HarbourVest Skew Base AIF L.P., by HarbourVes
                                  Company                    Fund Manager, by HarbourVest Partners L.P., its Duly Appointed Investme
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
                                                                                                                          ¨1¤}HV4$( 002931 `k«                      page 3
                                                                                                                              1934054200408000000000064
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                                  Exhibits 1-13Filed
                                       18-14      PageClaim
                                                        46 of Filing
                                                     09/11/23 505PageSummary
                                                                      189 of 213 PageID 3256
                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
               +LJKODQG&DSLWDO0DQDJHPHQW/3
       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                         Has Supporting Documentation:
               +DUERXU9HVW6NHZ%DVH$,)/3                                   <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               $WWQ(ULFD:HLVJHUEHU                                    Related Document Statement:
               'HEHYRLVHDQG3OLPSWRQ//3
                                                                         Has Related Claim:
               7KLUG$YHQXH
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              86$
              Phone:                                                     Filing Party:
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              Phone 2:

              Fax:

              Email:
              HZHLVJHUEHU#GHEHYRLVHFRP
       Disbursement/Notice Parties:
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              Phone:
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              Phone 2:

              Fax:

              E-mail:
              DJRUHQ#KDUERXUYHVWFRP
              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                                 1R
                                                                         Acquired Claim:
                                                                                 1R
       Basis of Claim:                                                   Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                          1R
       Total Amount of Claim:                                            Includes Interest or Charges:
              6HH$QQH[                                                          1RQH
       Has Priority Claim:                                               Priority Under:
              1R
       Has Secured Claim:                                                Nature of Secured Amount:
              1R                                                         Value of Property:
       Amount of 503(b)(9):                                              Annual Interest Rate:
              1R
                                                                         Arrearage Amount:
       Based on Lease:
              1R                                                         Basis for Perfection:
       Subject to Right of Setoff:                                       Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+DUERXU9HVW6NHZ%DVH$,)/3E\+DUERXU9HVW3DUWQHUV,UHODQG/LPLWHGLWV$OWHUQDWLYH,QY
       Company:
              )XQG0DQDJHUE\+DUERXU9HVW3DUWQHUV/3LWV'XO\$SSRLQWHG,QYHVWPHQW0DQDJHUE\+DUERXU9HVW3DUWQHUV//&LWV*HQ
              3WU



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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                            Chapter 11

 Highland Capital Management, L.P.                 Case No. 19-34054 (SGJ)

                       Debtor.




                                 ANNEX TO PROOF OF CLAIM

          1.   This annex (the “Annex”) is part of and is incorporated by reference into the

 attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

 detail the claims of HarbourVest Skew Base AIF L.P. (the “Claimant”) against the debtor

 Highland Capital Management, L.P. (the “Debtor”).

          2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

 Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

 Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for

 chapter 11 in the United States Bankruptcy Court for the Northern District of Texas (the

 “Court”) on January 30, 2018. The Acis bankruptcy filing resulted from a dispute between

 Debtor and its former employee, Joshua Terry, who served as portfolio manager for Debtor’s

 collateral loan obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions

 of Law in Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy

 Petition (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in

 more detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final

 Approval of Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended

 Joint Plan (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings




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 in the Acis bankruptcy cases, there has been extensive litigation regarding alleged improper

 conduct associated with the management of, and transactions relating to, Acis, including

 transactions with and related to HCLOF. See, e.g., id.; Second Amended Complaint [Case No.

 18-03078(SGJ), Dkt. No. 157].

        3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

 by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

 officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

 includes, but is not limited to, financial harm resulting from, among other things (i) court orders

 in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

 refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

 (ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

 See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

        4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

 remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

 connection with and relating to the foregoing harm, including for any amounts due or owed

 under the various agreements with the Debtor in connection with HCLOF (including, but not

 limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

 Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

 Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

 Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

 action relating to the foregoing harm.

        5.      The Claimant has not attached the documentation supporting this Claim to this

 Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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 documents.    However, any requested relevant documents will be provided to the Official

 Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

 event of a dispute regarding this Proof of Claim and will be made available for review by other

 parties in interest as appropriate upon reasonable request and after consultation with the Debtor

 and execution of appropriate confidentiality agreements.

        6.      This Proof of Claim is filed with a full reservation of rights, including the right to

 amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

 time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

 release of any of the Claimant’s rights against any person, entity or property accruing to it

 against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

 § 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

 Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

 any of the claims described herein, or any objection or other proceeding commenced with respect

 to any of the claims described herein, or any other proceeding commenced in the Debtor’s

 chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

 of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

 proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

 orders entered only after de novo review by a United States District Judge; (f) an election of

 remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

 withdrawal of the reference with respect to any matter, including, without limitation, any matter

 relating to this Proof of Claim.

        7.      Claimant’s express reservation of all rights and causes of action, includes, without

 limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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 as well as defenses, offsets and counterclaims. This description and classification of claims by

 the Claimant is not a concession or admission as to the correct characterization or treatment of

 any such claims or a waiver of any rights of the Claimant.

        8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

 of claim for additional claims that may be based on the same or additional documents or facts or

 other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

 (b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

 this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

 defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

 payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

 claims or rights of payment described above and any additional amounts; and (e) seek recovery

 through any relevant third parties, including any of the Debtor’s insurance coverage providers.

        9.      This Proof of Claim does not encompass all claims that the Claimant or its

 affiliates may have that arise after the Petition Date and are entitled to administrative priority,

 and the Claimant expressly reserves its right to file such claim or any similar claim at the

 appropriate time, including any such post-petition claims arising under these service contracts.

        10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

 additional proofs of claim or requests for payment with respect to any other indebtedness,

 liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

 amendment or other action, waive any rights with respect to any scheduled claim.

        11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

 supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

 for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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 other relationships between the Claimant and the Debtor), as well as the right to file any separate

 or additional proofs of claim with respect to the claims set forth herein or otherwise, including

 for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

 to file additional proofs of claim in respect of additional amounts or for any other reason.

        12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

 jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

 than with respect to this Proof of Claim against the Debtor, and does not waive or release any

 rights or remedies against any other person or entity that may be liable for all or part of this

 Proof of Claim.

        13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

 Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

        14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

 address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                 ***




                                                  5
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                                                         53 of 505
                                                      09/11/23                213#149 Date Filed: 4/8/2020
                                                                                   PageID  3263
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HarbourVest Partners L.P. on behalf of funds and accounts under management
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page                                                                See summary page
   creditor be sent?
                                 Name                                                                            Name
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone       2129096000                                                  Contact phone       6173483773
                                 Contact email       eweisgerber@debevoise.com                                   Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                        ¨1¤}HV4$( 002939 ]A«                              page 1
                                                                                                                            1934054200408000000000061
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                        ¨1¤}HV4$( 002940 ]A«                    page 2
                                                                                                            1934054200408000000000061
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director
                                  Company                    HarbourVest Partners L.P., on behalf of funds and accounts under manage
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
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                                                                                                                              1934054200408000000000061
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                                  Exhibits 1-13Filed
                                       18-14      PageClaim
                                                        56 of Filing
                                                     09/11/23 505PageSummary
                                                                      199 of 213 PageID 3266
                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
               +LJKODQG&DSLWDO0DQDJHPHQW/3
       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                         Has Supporting Documentation:
               +DUERXU9HVW3DUWQHUV/3RQEHKDOIRIIXQGVDQGDFFRXQWV        <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               XQGHUPDQDJHPHQW                                          Related Document Statement:
               $WWQ(ULFD:HLVJHUEHU
               'HEHYRLVHDQG3OLPSWRQ//3                                Has Related Claim:
               7KLUG$YHQXH                                                 1R
                                                                         Related Claim Filed By:
               1HZ<RUN1<
              86$                                                    Filing Party:
              Phone:                                                            $XWKRUL]HGDJHQW
              
              Phone 2:

              Fax:

              Email:
              HZHLVJHUEHU#GHEHYRLVHFRP
       Disbursement/Notice Parties:
              +DUERXU9HVW3DUWQHUV/3FR+DUERXU9HVW3DUWQHUV//&

              2QH)LQDQFLDO&HQWHU

              %RVWRQ0$
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              Phone:
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              Phone 2:

              Fax:

              E-mail:
              DJRUHQ#KDUERXUYHVWFRP
              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                    Amends Claim:
                                                                                1R
                                                                        Acquired Claim:
                                                                                1R
       Basis of Claim:                                                  Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                         1R
       Total Amount of Claim:                                           Includes Interest or Charges:
              6HH$QQH[                                                         1RQH
       Has Priority Claim:                                              Priority Under:
              1R
       Has Secured Claim:                                                 Nature of Secured Amount:
              1R                                                          Value of Property:
       Amount of 503(b)(9):                                               Annual Interest Rate:
              1R
                                                                          Arrearage Amount:
       Based on Lease:
              1R                                                          Basis for Perfection:
       Subject to Right of Setoff:                                        Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU
       Company:
              +DUERXU9HVW3DUWQHUV/3RQEHKDOIRIIXQGVDQGDFFRXQWVXQGHUPDQDJHPHQWE\+DUERXU9HVW3DUWQHUV//&LWV*HQ3DUWQHU



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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 In re:                                            Chapter 11

 Highland Capital Management, L.P.                 Case No. 19-34054 (SGJ)

                       Debtor.




                                 ANNEX TO PROOF OF CLAIM

          1.   This annex (the “Annex”) is part of and is incorporated by reference into the

 attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

 detail the claims of HarbourVest Partners L.P. on behalf of funds and accounts under

 management (the “Claimant”) against the debtor Highland Capital Management, L.P. (the

 “Debtor”).

          2.   The Claimant manages investment funds that are limited partners in one of the

 Debtor’s managed vehicles, Highland CLO Funding, Ltd. (“HCLOF”).                  Acis Capital

 Management GP, L.L.C. and Acis Capital Management L.P. (together, “Acis”), the portfolio

 manager for HCLOF, filed for chapter 11 in the United States Bankruptcy Court for the Northern

 District of Texas (the “Court”) on January 30, 2018. The Acis bankruptcy filing resulted from a

 dispute between Debtor and its former employee, Joshua Terry, who served as portfolio manager

 for Debtor’s collateral loan obligations funds (“CLO”) business. See, e.g., Findings of Fact and

 Conclusions of Law in Support of Orders for Relief Issued After Trial on Contested Involuntary

 Bankruptcy Petition (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118].

 As noted in more detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A)

 Final Approval of Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third




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 Amended Joint Plan (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and

 related filings in the Acis bankruptcy cases, there has been extensive litigation regarding alleged

 improper conduct associated with the management of, and transactions relating to, Acis,

 including transactions with and related to HCLOF.      See, e.g., id.; Second Amended Complaint

 [Case No. 18-03078(SGJ), Dkt. No. 157].

        3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

 by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

 officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

 includes, but is not limited to, financial harm resulting from, among other things (i) court orders

 in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

 refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

 (ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

 See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

        4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

 remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

 connection with and relating to the foregoing harm, including for any amounts due or owed

 under the various agreements with the Debtor in connection with HCLOF (including, but not

 limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

 Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

 Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

 Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

 action relating to the foregoing harm.




                                                 2
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        5.      The Claimant has not attached the documentation supporting this Claim to this

 Proof of Claim because the documentation is voluminous and the Debtor has copies of such

 documents.    However, any requested relevant documents will be provided to the Official

 Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

 event of a dispute regarding this Proof of Claim and will be made available for review by other

 parties in interest as appropriate upon reasonable request and after consultation with the Debtor

 and execution of appropriate confidentiality agreements.

        6.      This Proof of Claim is filed with a full reservation of rights, including the right to

 amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

 time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

 release of any of the Claimant’s rights against any person, entity or property accruing to it

 against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

 § 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

 Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

 any of the claims described herein, or any objection or other proceeding commenced with respect

 to any of the claims described herein, or any other proceeding commenced in the Debtor’s

 chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

 of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

 proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

 orders entered only after de novo review by a United States District Judge; (f) an election of

 remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

 withdrawal of the reference with respect to any matter, including, without limitation, any matter

 relating to this Proof of Claim.




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        7.      Claimant’s express reservation of all rights and causes of action, includes, without

 limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,

 as well as defenses, offsets and counterclaims. This description and classification of claims by

 the Claimant is not a concession or admission as to the correct characterization or treatment of

 any such claims or a waiver of any rights of the Claimant.

        8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

 of claim for additional claims that may be based on the same or additional documents or facts or

 other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

 (b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

 this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

 defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

 payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

 claims or rights of payment described above and any additional amounts; and (e) seek recovery

 through any relevant third parties, including any of the Debtor’s insurance coverage providers.

        9.      This Proof of Claim does not encompass all claims that the Claimant or its

 affiliates may have that arise after the Petition Date and are entitled to administrative priority,

 and the Claimant expressly reserves its right to file such claim or any similar claim at the

 appropriate time, including any such post-petition claims arising under these service contracts.

        10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

 additional proofs of claim or requests for payment with respect to any other indebtedness,

 liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

 amendment or other action, waive any rights with respect to any scheduled claim.




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        11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

 supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

 for this Proof of Claim (including adding any additional contracts, agreements, obligations or

 other relationships between the Claimant and the Debtor), as well as the right to file any separate

 or additional proofs of claim with respect to the claims set forth herein or otherwise, including

 for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

 to file additional proofs of claim in respect of additional amounts or for any other reason.

        12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

 jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

 than with respect to this Proof of Claim against the Debtor, and does not waive or release any

 rights or remedies against any other person or entity that may be liable for all or part of this

 Proof of Claim.

        13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

 Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

        14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

 address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                 ***




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                                EXHIBIT 




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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
 John A. Morris (NY Bar No. 266326) (admitted pro hac vice)
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 Facsimile: (310) 201-0760

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 Dallas, TX 75231
 Telephone: (972) 755-7100
 Facsimile: (972) 755-7110

 Counsel for the Debtor and Debtor-in-Possession


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 §
 In re:                                                          § Chapter 11
                                                                 §
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                            § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §


           DEBTOR’S MOTION FOR ENTRY OF AN ORDER APPROVING
     SETTLEMENT WITH HARBOURVEST (CLAIM NOS. 143, 147, 149, 150, 153, 154)
            AND AUTHORIZING ACTIONS CONSISTENT THEREWITH


 TO THE HONORABLE STACEY G. C. JERNIGAN,
 UNITED STATES BANKRUPTCY JUDGE:


 1
   The last four digits of the Debtor’s taxpayer identification number are 6725. The headquarters and service address
 for the Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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         Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

 possession (“Highland” or the “Debtor”), files this motion (the “Motion”) for entry of an order,

 substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), approving a settlement agreement (the

 “Settlement Agreement”), 2 a copy of which is attached as Exhibit 1 to the Declaration of John A.

 Morris in Support of the Debtor’s Motion for Entry of an Order Approving Settlement with

 HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent

 Therewith being filed simultaneously with this Motion (“Morris Dec.”), that, among other things,

 fully and finally resolves the proofs of claim filed by HarbourVest 2017 Global Fund L.P.,

 HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV

 International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners

 L.P. (collectively, “HarbourVest”). In support of this Motion, the Debtor represents as follows:

                                              JURISDICTION

                  1.         This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

 in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                  2.         The statutory predicates for the relief sought herein are sections 105(a)

 and 363 of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 9019 of the

 Bankruptcy Rules.




 2
  All capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
 Agreement.

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                                          RELEVANT BACKGROUND

 A.         Procedural Background

                     3.       On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

 District of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

                     4.       On October 29, 2019, the official committee of unsecured creditors (the

 “Committee”) was appointed by the U.S. Trustee in the Delaware Court.

                     5.       On December 4, 2019, the Delaware Court entered an order transferring

 venue of the Debtor’s case to this Court [Docket No. 186]. 3

                     6.       On December 27, 2019, the Debtor filed that certain Motion of the Debtor

 for Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

 Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

 281] (the “Settlement Motion”). This Court approved the Settlement Motion on January 9, 2020

 [Docket No. 339] (the “Settlement Order”).

                     7.       In connection with the Settlement Order, an independent board of

 directors was constituted at the Debtor’s general partner, Strand Advisors, Inc., and certain

 operating protocols were instituted.

                     8.       On July 16, 2020, this Court entered an order appointing James P. Seery,

 Jr., as the Debtor’s chief executive officer and chief restructuring officer [Docket No. 854].

                     9.       The Debtor has continued in the possession of its property and has

 continued to operate and manage its business as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

 chapter 11 case.


 3
     All docket numbers refer to the docket maintained by this Court.

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 B.       Overview of HarbourVest’s Claims

                   10.       HarbourVest’s claims against the Debtor’s estate arise from its $80 million

 investment in Highland CLO Funding, f/k/a Acis Loan Funding, Ltd. (“HCLOF”), pursuant to

 which HarbourVest obtained a 49 percent interest in HCLOF (the “Investment”).

                   11.       In brief, HarbourVest contends that it was fraudulently induced into

 entering into the Investment based on the Debtor’s misrepresentations and omissions concerning

 certain material facts, including that the Debtor: (1) failed to disclose that it never intended to

 pay an arbitration award obtained by a former portfolio manager, (2) failed to disclose that it

 engaged in a series of fraudulent transfers for the purpose of preventing the former portfolio

 manager from collecting on his arbitration award and misrepresented the reasons changing the

 portfolio manager for HCLOF immediately prior to the Investment, (3) indicated that the dispute

 with the former portfolio manager would not impact investment activities, and (4) expressed

 confidence in the ability of HCLOF to reset or redeem the collateralized loan obligations

 (“CLOs”) under its control.

                   12.       HarbourVest seeks to rescind its Investment and claims damages in excess

 of $300 million based on theories of fraud, fraudulent inducement, fraudulent concealment,

 fraudulent misrepresentation, negligent misrepresentation, and breach of fiduciary duty (under

 Guernsey law), and on alleged violations of state securities laws and the Racketeer Influenced

 Corrupt Organization Act (“RICO”).

                   13.       HarbourVest’s allegations are summarized below. 4




 4
   Solely for purposes of this Motion, and not for any other reason, the facts set forth herein are adopted largely from
 the HarbourVest Response to Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
 Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation
 Claims [Docket No. 1057] (the “Response”).

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 C.      Summary of HarbourVest’s Factual Allegations

                  14.        At the time HarbourVest made its Investment, the Debtor was embroiled

 in an arbitration against Joshua Terry (“Mr. Terry”), a former employee of the Debtor and

 limited partner of Acis Capital Management, L.P. (“Acis LP”). Through Acis LP, Mr. Terry

 managed Highland’s CLO business, including CLO-related investments held by Acis Loan

 Funding, Ltd. (“Acis Funding”).

                  15.        The litigation between Mr. Terry and the Debtor began in 2016, after the

 Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

 Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

 ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

 he obtained an award of approximately $8 million (the “Arbitration Award”) on October 20,

 2017.

                  16.        HarbourVest alleges that the Debtor responded to the Arbitration Award

 by engaging in a series of fraudulent transfers and corporate restructurings, the true purposes of

 which were fraudulently concealed from HarbourVest.

                  17.        For example, according to HarbourVest, the Debtor changed the name of

 the target fund from Acis Funding to “Highland CLO Funding, Ltd.” (“HCLOF”) and “swapped

 out” Acis LP for Highland HCF Advisor, Ltd. as portfolio manager (the “Structural Changes”).

 The Debtor allegedly told HarbourVest that it made these changes because of the “reputational

 harm” to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

 that in lieu of redemptions, resetting the CLOs was necessary, and that it would be easier to reset

 them under the “Highland” CLO brand instead of the Acis CLO brand.

                  18.        In addition, HarbourVest also alleges that the Debtor had no intention of

 allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to “denude”


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 Acis of assets by fraudulently transferring virtually all of its assets and attempting to transfer its

 profitable portfolio management contracts to non-Acis, Debtor-related entities.

                  19.        Unaware of the fraudulent transfers or the true purposes of the Structural

 Changes, and in reliance on representations made by the Debtor, HarbourVest closed on its

 Investment in HCLOF on November 15, 2017.

                  20.        After discovering the transfers that occurred between Highland and Acis

 between October and December 2017 following the Arbitration Award (the “Transfers”), on

 January 24, 2018, Terry moved for a temporary restraining order (the “TRO”) from the Texas

 state court on the grounds that the Transfers were pursued for the purpose of rendering Acis LP

 judgment-proof. The state court granted the TRO, enjoining the Debtor from transferring any

 CLO management contracts or other assets away from Acis LP.

                  21.        On January 30, 2018, Mr. Terry filed involuntary bankruptcy petitions

 against Acis LP and its general partner, Acis Capital Management GP, LLC. See In re Acis

 Capital Management, L.P., Case No. 18-30264-sgj11 (Bankr. N.D. Tex. 2018) and In re Acis

 Capital Management GP, LLC, Case No. 18-30265-sgj11 (Bankr. N.D. Tex. 2018) (collectively,

 the “Acis Bankruptcy Case”). The Bankruptcy Court overruled the Debtor’s objection, granted

 the involuntary petitions, and appointed a chapter 11 trustee (the “Acis Trustee”). A long

 sequence of events subsequently transpired, all of which relate to HarbourVest’s claims,

 including:

         x    On May 31, 2018, the Court issued a sua sponte TRO preventing any actions in
              furtherance of the optional redemptions or other liquidation of the Acis CLOs.

         x    On June 14, 2018, HCLOF withdrew optional redemption notices.

         x    The TRO expired on June 15, 2018, and HCLOF noticed the Acis Trustee that it was
              requesting an optional redemption.




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         x    HCLOF’s request was withdrawn on July 6, 2018, and on June 21, 2018, the Acis
              Trustee sought an injunction preventing Highland/HCLOF from seeking further
              redemptions (the “Preliminary Injunction”).

         x    The Court granted the Preliminary Injunction on July 10, 2018, pending the Acis
              Trustee’s attempts to confirm a plan or resolve the Acis Bankruptcy.

         x    On August 30, 2018, the Court denied confirmation of the First Amended Joint Plan
              for Acis, and held that the Preliminary Injunction must stay in place on the ground
              that the “evidence thus far has been compelling that numerous transfers after the Josh
              Terry judgment denuded Acis of value.”

         x    After the Debtor made various statements implicating HarbourVest in the Transfers,
              the Acis Trustee investigated HarbourVest’s involvement in such Transfers, including
              extensive discovery and taking a 30(b)(6) deposition of HarbourVest’s managing
              director, Michael Pugatch, on November 17, 2018.

         x    On March 20, 2019, HCLOF sent a letter to Acis LP stating that it was not interested
              in pursuing, or able to pursue, a CLO reset transaction.

 D.      The Parties’ Pleadings and Positions Concerning HarbourVest’s
         Proofs of Claim

                  22.        On April 8, 2020, HarbourVest filed proofs of claim against Highland that

 were subsequently denoted by the Debtor’s claims agents as claim numbers 143, 147, 149, 150,

 153, and 154, respectively (collectively, the “Proofs of Claim”). Morris Dec. Exhibits 2-7.

                  23.        The Proofs of Claim assert, among other things, that HarbourVest suffered

 significant harm due to conduct undertaken by the Debtor and the Debtor’s employees, including

 “financial harm resulting from (i) court orders in the Acis Bankruptcy that prevented certain

 CLOs in which HCLOF was invested from being refinanced or reset and court orders that

 otherwise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; and (ii) significant

 fees and expenses related to the Acis Bankruptcy that were charged to HCLOF.” See, e.g.,

 Morris Dec. Exhibit 2 ¶3.

                  24.        HarbourVest also asserted “any and all of its right to payment, remedies,

 and other claims (including contingent or unliquidated claims) against the Debtor in connection

 with and relating to the forgoing harm, including for any amounts due or owed under the various

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 agreements with the Debtor in connection with relating to” the Operative Documents “and any

 and all legal and equitable claims or causes of action relating to the forgoing harm.” See, e.g.,

 Morris Dec. Exhibit 2 ¶4.

                  25.        Highland subsequently objected to HarbourVest’s Proofs of Claim on the

 grounds that they were no-liability claims. [Docket No. 906] (the “Claim Objection”).

                  26.        On September 11, 2020, HarbourVest filed its Response. The Response

 articulated specified claims under U.S. federal and state and Guernsey law, including claims for

 fraud, fraudulent concealment, fraudulent inducement, fraudulent misrepresentation, negligent

 misrepresentation (collectively, the “Fraud Claims”), U.S. State and Federal Securities Law

 Claims (the “Securities Claims”), violations of the Federal Racketeer Influenced and Corrupt

 Organizations Act (“RICO”), breach of fiduciary duty and misuse of fund assets, and an unfair

 prejudice claim under Guernsey law (collectively, with the Proofs of Claim, the “HarbourVest

 Claims”).

                  27.        On October 18, 2020, HarbourVest filed its Motion of HarbourVest

 Pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure for Temporary Allowance

 of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the “3018

 Motion”). In its 3018 Motion, HarbourVest sought for its Claims to be temporarily allowed for

 voting purposes in the amount of more than $300 million (based largely on a theory of treble

 damages).

 E.      Settlement Discussions

                  28.        In October, the parties discussed the possibility of resolving the Rule 3018

 Motion.

                  29.        In November, the parties broadened the discussions in an attempt to reach

 a global resolution of the HarbourVest Claims. In the pursuit thereof, the parties and their


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